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                                                                                                                              January 20, 2021


                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA

                                                      Case No.: 16-20897-CR-SEITZ

   UNITED STATES OF AMERICA

                            v.

   PRINCESS CRUISE LINES, LTD.,

                     Defendant.
   ________________________________/



                                                              QUARTERLY REPORT

                                     OF THE COURT APPOINTED MONITOR (JANUARY 2021)




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             Consistent with the Court’s Order of November 20, 2020, Dkt. No. 210, the Court

   Appointed Monitor (“CAM”)1 submits this Quarterly Report for the first two quarters of Year

   Four of the Environmental Compliance Plan (“ECP”) (“CAM January 2021 Quarterly Report” or

   “Report”).2 This Report focuses on developments since the CAM Third Annual Report.3

   I.         PRELIMINARY STATEMENT

             The CAM Third Annual Report of this monitorship was issued on July 13, 2020. At that

   point, the Company had already suspended all passenger cruises as of mid-March 2020, and was

   in the midst of seeking to return guests and crew to their home countries.

             That process of repatriation entailed moving over 300,000 people to more than 130

   countries. It took months to complete, and involved chartered aircraft, commercial flights,

   ground transportation, and the use of the Company’s own ships, as well as coordination with

   authorities around the globe. This was a prodigious effort, made more difficult by travel

   restrictions, and by the resistance of many countries to welcome home returning seafarers. Over

   the same time period, the Company reduced the size of its shoreside workforce by upwards of

   45%, and sold or arranged to sell several of its ships. Under these circumstances, the repatriation

   effort occupied a significant number of the Company’s available managers and employees.




   1
    Any terms not defined in this Report take the definitions provided in the ECP, the Joint
   Glossary of Terms, Dkt. No. 58-1 (Mar. 30, 2018) (“Joint Glossary”), or prior CAM Reports.
   2
        ECP Year Four is April 19, 2020, through April 18, 2021.
   3
     The CAM provided the Company and the United States (“U.S.”) Department of Justice
   (“DOJ”) a copy of this Report in advance of its submission for their review and comment. See
   FINAL Carnival Corp. Response CAM Quarterly Report (January 2021) and proposed
   supplemental edits (collectively, “Company Comments on Draft Report”). The CAM took the
   comments received into account; however, the comments did not alter the substance of the
   Report.

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          Perhaps as early as the spring of 2021, the Company intends to reverse that process. It

   will attempt to return crew members to ships, and passengers to cruising. As of this writing, it is

   not known exactly when the Company can resume even limited passenger cruises in the U.S.

   The majority of its ships are in “layup” status, operating with reduced crew levels, down to only

   those individuals who are necessary to maintain safe and compliant ship operations, referred to

   as “minimum (non-)operational manning.” As a result, ships designed for between

   approximately 500 and 4200 guests, which normally would require between approximately 300

   and 1400 crew members, are seeking to maintain their safety, compliance, and readiness with

   roughly 100 or so crew members per ship.

          At virtual status conferences held in April, July, and October 2020, the Company

   reiterated to the Court its “unwavering” commitment to compliance and environmental

   protection, despite its current challenges. See Status Conf. Tr. at 26-27 (Oct. 16, 2020); Status

   Conf. Tr. at 7 (July 29, 2020); Status Conf. Tr. at 14-15 (Apr. 24, 2020). It also stated its intent

   to use what it has called a “pause” in passenger cruises as an opportunity to “come back stronger,

   better, smarter.” Status Conf. Tr.. at 45 (Apr. 24, 2020).

          The impacts of COVID-19 occurred at what might have been a major inflection point for

   the Company’s compliance efforts, some three years into the term of probation. Before the

   pandemic, despite some ongoing challenges, the Company had made, or was on track to make,

   substantial progress in a number of areas, including: corporate governance, including at the

   Boards of Directors and top leadership levels; increased engagement and communications on

   compliance issues by the Boards and top leadership; training; food waste management; and

   continued development of the Environmental Officer program, including the newly launched

   Fleet Environmental Officer program and Environmental Officer training, knowledge, and



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   support. In certain critical areas—most notably, internal investigations and corporate

   compliance culture—the Company had accepted that these were issues that required greater

   attention and reform.

          The Company has continued to make efforts in these and other areas. Some have been

   more effective than others. The general status of these efforts is discussed in this Report.

   In the final year and a half of the ECP, the CAM, at the direction of the Court, will continue to

   examine the areas highlighted in this and prior CAM and Third Party Auditor (“TPA”)

   Reports—with an increasing focus on the Company’s capabilities for developing and

   maintaining, through continuous improvement, a sustainable compliance program and culture

   after probation ends.

          Crucial to this examination will be the capacity of the Company’s internal audit,

   investigation, and Ethics & Compliance programs to work in a unified way to provide

   meaningful information and analysis to both senior management and the Boards of Directors. A

   related factor will be the engagement of the Boards of Directors to hold the Company’s

   leadership accountable for compliance shortcomings. The Caremark court was careful to note

   that Boards of Directors are appropriately limited in their function—they do not manage the

   corporation.4 But Boards’ duties are informed by the nature of the compliance issues the

   corporation faces. Since the Company’s guilty plea in December 2016 and sentencing in April

   2017, the Company’s Boards of Directors are aware that repeated instances of compliance

   failures have persisted. The more than 1,000 pages of CAM and TPA reports make clear that


   4
     “Most of the decisions that a corporation, acting through its human agents, makes are, of
   course, not the subject of director attention. Legally, the board itself will be required only to
   authorize the most significant corporate acts or transactions: mergers, changes in capital
   structure, fundamental changes in business, appointment and compensation of the CEO, etc.” In
   re Caremark Int’l Inc. Derivative Litig., 698 A.2d 959, 968 (Del. Ch. 1996).

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   these compliance issues have occurred notwithstanding the good faith efforts of thousands of

   employees to seek to comply. The central underlying cause identified in these reports was the

   need for top leadership to more fully support and promote compliance efforts, both in word and

   deed. Particularly where the Company’s leadership has agreed to its shortcomings, as it did in

   pleading guilty to six probation violations in June 2019, the Boards are on notice that greater

   engagement, scrutiny, and accountability is needed.

          And the Boards have responded. They have taken steps to enhance their compliance

   expertise, including: establishing a new, permanent Compliance Committee, comprised of

   independent directors, to oversee the Ethics & Compliance Program; retaining a private law firm

   to provide the Compliance Committee with separate legal representation; hiring a new member

   of the Boards with significant corporate compliance expertise; and developing an annual training

   curriculum for members of the Boards and other senior management on corporate compliance

   topics. In addition, the Compliance Committee recently hired outside counsel to perform a

   review of issues related to the Company’s internal investigations function.

          However, the persistence of management and culture issues heightens the risk of future

   non-compliance. Ultimately, the leadership of the Company will determine whether that risk

   ripens into a liability. As has often been expressed by the Court, the hope is that the Company’s

   leadership emerges from the present crisis having propelled a culture of compliance throughout

   the Company’s operations.

          Some members of senior Company management have expressed concern to the CAM

   about the critiques of top leadership contained in CAM reports. They express the worry that

   such critical assessments may make it more difficult for them to earn the trust of employees.

   This concern misunderstands the origin of these observations. As the CAM has emphasized,



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   “the critical observations in CAM reports [as to top leadership] are rooted in the observations of

   the Company’s employees. Failing to raise these observations would not make them go away,

   and would undercut our ability to receive candid reports, as individuals would come to see that

   their concerns did not find expression in the CAM reports. Moreover, the CAM has an

   obligation to the Court to accurately report on information and observations of the Company’s

   employees.” CAM/Company Communication Recap (August 6, 2020, Bi-Weekly CAM/CECO

   Call) (Aug. 19, 2020), attached as Appendix B, at 2.

            The CAM recognizes that rebuilding corporate culture is difficult in any circumstances—

   particularly here, where the Company first saw its problem as an operational one (e.g., a need to

   “stop people from making mistakes” or to eliminate “bad apples”), and not as an organizational

   culture problem. It took over two years of probation and the findings of the Environmental

   Corporate Compliance Assessment for top leadership at the All Brands Group level to accept the

   scope of the Company’s culture problem and start taking steps to address it. Since then, the

   Company has made significant efforts toward standing up a centralized compliance organization

   designed to, among other things, drive a consistent culture of compliance. As Company

   leadership has stated, work on these efforts remains to be done. Now, these efforts are

   complicated by the existential crisis brought on by the pandemic. COVID-19 presents

   unprecedented challenges, but it is also an opportunity for leadership to undertake a

   transformational reset to support a culture of compliance mindset in the daily work of every

   employee.

   II.      INTRODUCTION

         A. Overview of Report

            This Report has a different format and structure than prior CAM reports, designed to

   deliver a more streamlined overview of core areas of focus. Part I provided the CAM’s

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    preliminary statement. Part II gives an overview of this Report, as well as the CAM Team’s

    methodology during ECP Year Four. Finally, Part III provides updates on the Company’s

    capabilities to meet ECP objectives, see ECP § VI.F.3.b, and its performance in other areas of

    focus identified by the Court and the CAM. The CAM Annual Report for ECP Year Four will

    provide a more detailed set of findings and assessments.

       B. CAM Team Methodology

       1. CAM Reporting and CAM/Company Communications

           In light of the extraordinary circumstances brought on by the global COVID-19

    pandemic, described in prior CAM reports, the CAM and the Company, with the Court’s

    approval, agreed to modify the process for CAM reporting and for CAM and TPA visits and

    audits. This included foregoing the CAM report for the first quarter of ECP Year Four, which

    would have been submitted in September 2020. See Order Amending Prior Court Orders [DE

    174 & DE 143], Dkt. No. 199 (Aug. 10, 2020). In lieu of that report, the CAM and the Company

    were directed to “engage in communications sufficient to allow the CAM to inform the Court of

    the Company’s compliance with the Terms and Conditions of Probation.” Id. These

    communications, which have continued to the present, include more frequent calls, interviews,

    workshops, presentations, and other discussions and exchanges, both formal and informal. In the

    CAM’s view, this has been a mutually productive process of increased interaction and

    engagement that is expected to continue.

           As part of this process, the CAM has provided several letters to the Company to provide

    prompt feedback, observations, or questions on notable developments and Company efforts.

    These “CAM Recap” letters are attached as Appendices to this Report, as well as being

    summarized in the relevant portions of Part III below.



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           As noted above, current circumstances made impossible the usual program of CAM and

    TPA visits and audits. The CAM and TPA Teams instead conducted a program of remote ship

    and shoreside visits, as discussed in Part II.B.2 below. The CAM Team continues to receive

    high levels of cooperation and engagement from Company employees, both ship and shore,

    during these difficult times. The CAM appreciates the efforts of the many dedicated individuals

    involved in supporting CAM Team visits, workshops, document requests, and other activities—

    with special thanks to the Environmental Corporate Compliance Manager and his talented team,

    as well as the impressive corps of shipboard Environmental Officers.

       2. CAM and TPA Visits and Audits

           In light of the COVID-19 crisis, both the CAM and TPA, with the Court’s approval,

    suspended all in-person ship and shoreside visits and audits in March 2020. See CAM March

    2020 Quarterly Report at 34. In accord with the Court’s Order of June 2, 2020, the CAM and the

    TPA have conducted an ongoing program of remote visits and audits, relying primarily on

    electronic document review and videoconferencing. See ORDER RE: COVID-19 Impacts and

    Probation Obligations, Dkt. No. 189 (June 2, 2020) (“Dkt. No. 189”). Between June and

    December 2020, the CAM Team performed:

           o 10 virtual ship visits (including one accompanying the TPA and one accompanying
             the Company’s internal Risk Advisory and Assurance Services (“RAAS”) auditors);
             and

           o 3 virtual shoreside office visits (including one accompanying the TPA and one
             accompanying RAAS).

           Overall, the CAM Team’s visits have run smoothly, with good cooperation from both

    ship crews and shoreside personnel, including information technology (“IT”) and administrative

    support staff. Remote visits carry some inherent limitations compared to in-person visits,

    however. Remote ship visits do not provide the same opportunity for in-person inspections or


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    observations of equipment, spaces, and processes (such as food waste separation). Remote ship

    and shore visits alike also must proceed in a more formal fashion because interactions are

    scheduled in advance. As a result, there are no informal, organic interactions.5 Notwithstanding

    these limitations, the virtual visits have continued to provide the CAM Team with valuable

    insights into CAM areas of focus, including support for, and barriers to, a sustainable compliance

    culture.

             The CAM Team will continue to conduct virtual visits for the foreseeable future, with the

    intent of resuming in-person ship and shoreside visits at an appropriate time, when it is safe to do

    so.

          3. Other CAM Team Activities

             In addition to the activities discussed above, the CAM Team has continued both to

    perform an ongoing review of documents produced by the Company and to receive confidential

    communications from individuals both within and outside of the Company. The CAM Team

    also remains in regular communication with the TPA and the Interested Parties,6 including DOJ

    and the Office of Probation, and reports to the Interested Parties and the Court as required by the

    Court and the ECP.




    5
      The nature of videoconferencing software can also increase the difficulty associated with
    interviewing individuals who do not speak English as their first language. The CAM Team has
    experimented with using a remote interpreter service for certain interviews (in particular, with
    non-officer crew members known as “ratings”), with generally positive results. This is one area
    where virtual visits provide an opportunity not available during in-person visits.
    6
     The Interested Parties are “[t]he Government, the United States Probation Office for the
    Southern District of Florida, the Seventh Coast Guard District (dp), and the U.S. Coast Guard
    Office of Investigations & Analysis.” ECP at § I.D.

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    III.       UPDATES ON ECP YEAR FOUR AREAS OF FOCUS AND COMPANY CAPABILITIES TO
               MEET ECP OBJECTIVES

              A.      COVID-19 Developments

           1. Background

          The COVID-19 pandemic continues to present the Company with extraordinary and
           unprecedented challenges. See CAM Third Annual Report at 27-64. Despite these impacts,
           the Company has a continuing obligation to comply with the terms and conditions of
           probation. The Company has expressed to the Court its commitment to compliance and
           environmental protection despite its present challenges. See Agreed Order on October 16,
           2020 Status Conference, Dkt. No. 207 (Oct. 21, 2020) (“Dkt. No. 207”) at 1; Status Conf. Tr.
           at 26-27, 35 (Oct. 16, 2020). The Court has expressed its interest and parallel obligation to
           monitor how the Company demonstrates this commitment in practice, including the concrete
           actions it takes to support its statements.

          The Court also has an interest in monitoring how COVID-19 response efforts affect both:
           (1) the safety and welfare of crew members who are responsible for operating ships
           compliantly; and (2) the ability of the CAM and TPA teams to safely visit ships and
           shoreside facilities in-person as part of their oversight responsibilities— not only with respect
           to their own health and safety, but also with respect to the health and safety of the ship crews
           and shoreside staff who would interact with them. See CAM Third Annual Report at 11-15.

          As discussed in Part III.B.2-3 below, in furtherance of its oversight and monitoring
           obligations, and given the limits on ship visits by the CAM, the TPA, and the Company’s
           internal auditors due to the pandemic, this Court issued an Order on October 21, 2020,
           requiring the Company to submit, for each Covered Vessel returning to the territorial waters
           of the U.S. (“U.S. Waters”), a certification signed by the Carnival Corp. Chief Executive
           Officer (“CEO”) as to the status of compliance-related items the Company had identified as
           priorities. See Dkt. No. 207 at 2.

           2. CDC Conditional Sailing Order

          Between March 14 and September 30, 2020, the U.S. Centers for Disease Control and
           Prevention (“CDC”) issued a series of No Sail Orders that, cumulatively, banned passenger
           cruises on large cruise ships in the U.S. through October 31, 2020. See Cruise Ship
           Guidance, https://www.cdc.gov/quarantine/cruise/index.html (Rev. Nov. 3, 2020). Both
           CDC and the U.S. Department of State have issued a Level 4 (“Very High”—the highest
           level) travel advisory recommending “that all people avoid travel on cruise ships.” See
           COVID-19 and Cruise Ship Travel, https://wwwnc.cdc.gov/travel/notices/covid-
           4/coronavirus-cruise-ship (Rev. Dec. 2, 2020).

          On October 30, 2020, CDC issued a Framework for Conditional Sailing Order for cruise
           ships operating or seeking to operate in U.S. Waters that introduces a phased approach for
           resuming passenger cruises. See Framework for Conditional Sailing and Initial Phase


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        COVID-19 Testing Requirements for Protection of Crew, 85 Fed. Reg. 70,153 (Nov. 4, 2020)
        (“Conditional Sailing Order”).

       The Conditional Sailing Order establishes several initial phases that must occur before
        passenger cruises may resume. These include:

           o A 28-day period of reporting COVID-19 surveillance data to CDC before a ship may
             enter U.S. Waters;

           o A 60-day period of crew testing (which may overlap with the 28-day reporting
             period);

           o A period of simulated voyages, with details regarding the timing and requirements for
             these voyages yet to be determined; and

           o An application to CDC for a Conditional Sailing Certification, which must be
             obtained before a ship may sail with passengers. See id.

       After these initial phases, restricted passenger cruises may begin, subject to a number of
        health and safety protocol requirements, such as passenger and crew testing—many details of
        which are still to be determined. See id.

       The CAM Team understands that questions remain regarding the timelines and requirements
        laid out in the Conditional Sailing Order, including the requirements for cruise company
        public health and safety protocols, and that the industry is awaiting further guidance from the
        CDC. See id.; see also Employee Interview/Call Notes. The CAM also understands that the
        Cruise Lines International Association (“CLIA”), an industry trade group that includes the
        Company’s brands as members, has established a working group with representatives from
        several major cruise companies, including Carnival Corp., to engage with CDC on these
        issues. Apart from CLIA, representatives from Carnival Corp. have separate regular calls
        with CDC. See Employee Interview/Call Notes.

       To date, the Company has developed and regularly revised on an ongoing basis two
        corporate-wide sets of public health and safety instructions for mitigating COVID-19 risk to
        crew members. The Company reports that it has aligned these to relevant CDC guidance.
        See id.:

           o In April 2020, the Company issued protocols for mitigating COVID-19 risk to crew
             members remaining onboard (regardless of the ship’s geographic location) during the
             pause. See IN HEA/04/2020 Prevention, Control and Surveillance of Acute
             Respiratory Diseases (ARDs) including COVID-19 during the Pause in Guest
             Operations (Rev. Oct. 14, 2020). The protocols “do[] not apply to ships conducting
             guest operations.” Id. They include, among other items, instructions and guidance
             for: pre-embarkation screening of crew, contractors, and shoreside employees;
             onboard public health measures, such as face masks; onboard health surveillance,
             health checks, and reporting; precautions for quarantine and isolation, including cabin



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               ventilation, room service, laundry, and cleaning; and training on COVID-19
               prevention, mitigation, and response. See id.; and

           o In October 2020, the Company issued protocols for mitigating COVID-19 risk to
             crew members operating ships in U.S. Waters. See IN HEA/07/2020 Mitigation of
             COVID-19 among Cruise Ship Crew operating in or under the jurisdiction of the
             United States (Rev. Dec. 30, 2020). The protocols require, among other measures,
             that the “completed and updated CDC Technical Instructions must be followed.” See
             id. It also sets out CDC status criteria and thresholds for “Green” ships (e.g., no
             confirmed COVID-19 or COVID-19-like case for 28 days), “Yellow,” ships (e.g., one
             or more COVID-19 or COVID-19 cases, pending test results), and “Red” ships (e.g.,
             one or more confirmed COVID-19 or COVID-19 cases), along with the public health
             and safety measures required at each of these levels. See id.

                   The protocols also include measures for contractors and other visitors who will be
               onboard for seven nights or less. Although such individuals are not required to
               complete a 14-day onboard quarantine upon embarkation, they must follow a set of
               precautions, including: testing on the day of embarkation; taking all meals in their
               cabin; having no interaction with crew except to perform duties; maintaining physical
               distancing with crew as far as possible at all times; and returning to their cabin when
               not working. Any crew members who have to work with the contractor/visitor for a
               cumulative total of more than 15 minutes in a 24-hour period must quarantine for 14
               days after the work is completed. See id. at § 1.6.

       The Company has not issued corporate-wide public health and safety protocols for ships
        resuming passenger cruises.7 The CAM Team understands that the Company has established
        a working group that is engaging with CDC, CLIA, and other internal and external
        stakeholders to develop such protocols for ships returning to service in the U.S. See
        Employee Interview/Call Notes.

        3. Status of Company Passenger Cruise Operations

       In September and October 2020, two of the Company’s brands, Costa and AIDA,
        respectively, resumed limited passenger cruises in European waters on a small number of
        ships (none of which are Covered Vessels). Both brands subsequently announced additional
        suspensions of, and/or alterations to, planned itineraries due to COVID-19 resurgences in
    7
      Two of the Company’s brands, Costa and AIDA, developed brand-specific public health and
    safety protocols in connection with the resumption of limited passenger cruises in European
    waters in the fall of 2020. The Company reports that these protocols were based on the
    European Union’s “Healthy Gateways” guidance, and were audited and confirmed by third-
    parties. See November 2020 Probation Supervision Report, Attachment 5, PCL_ECP00177593-
    94 at PCL_ECP00177593; see also EU HEALTHY GATEWAYS Joint Action, Interim advice
    for restarting cruise ship operations after lifting restrictive measures in response to the COVID-
    19 pandemic (June 30, 2020), available at
    https://www.healthygateways.eu/Portals/0/plcdocs/EU_HEALTHY_GATEWAYS_COVID-
    19_RESTARTING_CRUISES.pdf.

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        Europe and corresponding governmental travel restrictions. See, e.g., October 2020
        Probation Supervision Report, Attachment 5, PCL_ECP00175649-52 at PCL_ECP00175649;
        see also https://www.costacruises.com/cruising-soon.html. As noted below, all Costa and
        AIDA cruises are suspended through February 2021.

       Along with other CLIA members, the Company voluntarily suspended passenger cruises in
        the U.S. through December 31, 2020. See CLIA Ocean-Going Cruise Line Members -
        Reaffirming Commitment to Stringent Protocols - Voluntarily Extend Suspension of U.S.
        Operations (Nov. 3, 2020), https://cruising.org/en/news-and-research/press-
        room/2020/november/clia-cruise-line-members-voluntarily-extend-suspension-of-us-
        operations.

       The Company’s individual brands have announced additional suspensions, including:

           o AIDA: all cruises cancelled through February 2021, with additional cancellations on
             a ship-specific basis. See Current Information from AIDA Cruises,
             https://www.aida.de/kreuzfahrt/angebote-buchen/wichtiger-reisehinweis.40233.html
             (Rev. Jan. 8, 2021); AIDA Cruises extends pause of its cruise season until end of
             February 2021 (Jan. 8, 2021), https://www.carnivalcorp.com/news-releases/news-
             release-details/aida-cruises-extends-pause-its-cruise-season-until-end-february;

           o Carnival Cruise Line: all cruises cancelled through at least March 31, 2021, with
             additional cancellations on a ship-specific basis. See Carnival Cruise Line Notifies
             Guests of Cruise Cancellations (Jan. 6, 2021), https://www.carnivalcorp.com/news-
             releases/news-release-details/carnival-cruise-line-notifies-guests-cruise-cancellations;

           o Costa: all cruises cancelled through February 2021, with additional cancellations on
             a ship-specific basis. See https://www.costacruises.com/cruising-soon.html;

           o Cunard: cruises cancelled through various dates in May and June 2021 on a ship-
             specific basis. See Cunard Extends Pause in Operations (Dec. 9, 2020),
             https://www.carnivalcorp.com/news-releases/news-release-details/cunard-extends-
             pause-operations-0;

           o Holland America Line: all cruises cancelled through at least April 30, 2021, with
             additional cancellations on a ship-specific basis; all cruises of eight days or longer to
             U.S. ports cancelled through November 1, 2021. See Holland America Line Extends
             Cruise Pause to Include All Departures Through March 31, 2021, as it Prepares for
             CDC Requirements to Resume Cruising (Nov. 20, 2020),
             https://www.carnivalcorp.com/news-releases/news-release-details/holland-america-
             line-extends-cruise-pause-include-all-departures; Holland America Line Extends
             Pause in Cruise Operations (Jan. 6, 2021), https://www.carnivalcorp.com/news-
             releases/news-release-details/holland-america-line-extends-pause-cruise-operations;

           o P&O Cruises UK: cruises cancelled through various dates in April and May 2021
             on a ship-specific basis. See Find a Cruise, https://www.pocruises.com/find-a-cruise;



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             o Princess: all cruises cancelled through at least May 14, 2021; all cruises of eight
               days or longer to U.S. ports cancelled through November 1, 2021; all cruises to
               Japanese ports cancelled through June 25, 2021. See Princess Cruises Extends Pause
               of Global Ship Operations into 2021 (Nov. 20, 2020),
               https://www.carnivalcorp.com/news-releases/news-release-details/princess-cruises-
               extends-pause-global-ship-operations-2021; Princess Cruises Extends Pause of Guest
               Cruise Vacations Through May 14, 2021 (Jan. 6, 2021),
               https://www.carnivalcorp.com/news-releases/news-release-details/princess-cruises-
               extends-pause-guest-cruise-vacations-through; and

             o Seabourn: cruises cancelled through various dates in 2021 on a ship-specific basis.
               See Seabourn Announces Additional 2021 Voyage Cancellations (Nov. 20, 2020),
               https://www.carnivalcorp.com/news-releases/news-release-details/seabourn-
               announces-additional-2021-voyage-cancellations.

          4. Covered Vessel List Updates

         Between March and December 2020, approximately 19 ships were removed from the
          Covered Vessel list, either because they were sold (10 ships) or because they no longer have
          plans to sail to the U.S. before the end of probation (nine ships). Over the same time period,
          two new Covered Vessels were added to the Company’s fleet. As of the date of the Report,
          there are 57 Covered Vessels, compared to 74 at the time of the CAM March 2020 Quarterly
          Report.8

          5. Financial Updates

         As of November 30, 2020, the Company has around $9.5 billion in liquidity, having raised
          about $19 billion since March 2020 through a series of financial transactions. The Company
          reports that this liquidity can “sustain [it] throughout 2021, even in a zero-revenue
          environment.” Carnival Corporation & plc Provides Preliminary Financial Information For
          The Fourth Quarter (Jan. 11, 2021), https://www.carnivalcorp.com/news-releases/news-
          release-details/carnival-corporation-plc-provides-preliminary-financial. The monthly
          average cash burn rate for the fourth quarter of Fiscal Year 20209 was around $500 million,
          which the Company expects to increase to about $600 million for the first quarter of Fiscal
          Year 2021, due in part to costs associated with preparing ships to resume passenger cruises.
          See id.

         The Company also announced that it plans to dispose of 19 ships (representing about 13% of
          its fleet capacity before the pause), 15 of which have already left the fleet. The Company
          expects to add only one more new ship to its fleet in Fiscal Year 2021, compared to five
          ships that were originally scheduled for delivery this year. Id.


    8
     There are no longer any Covered Vessels operated by Costa Group, which manages the AIDA
    and Costa brands.
    9
        The Company’s fiscal year begins on December 1 and ends on November 30.

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        6. COVID-19 Impacts on ECP Compliance

       In April 2020, the Company notified the Interested Parties, CAM, and TPA that “the
        COVID-19 pandemic is impacting the Company’s ability to comply with certain” ECP
        requirements. See CAM Third Annual Report at 81-82 (quoting Letter from Environmental
        Corporate Compliance Manager to Interested Parties).

       On December 23, 2020, the Company provided an update on these impacts, along with “a
        proposed set of alternative requirements” designed to “achiev[e] a similar outcome of what
        the original ECP requirement was designed to achieve . . . until such time upon which the
        original ECP requirements can be re-implemented based upon easing of the COVID-19
        pandemic.” Letter from Environmental Corporate Compliance Manager to Interested Parties,
        Notice of COVID-19 Impact Update (Dec. 23, 2020) at 1.

       The identified compliance challenges and proposed solutions in the December 2020 update
        relate to ECP requirements for:

           o Annual in-person training of Environmental Officers, with the Company proposing to
             conduct this training, previously provided in-person at CSMART, “remotely using
             online tools,” as well as requesting a “one-time three month extension” of the time for
             Environmental Officers to complete the training. Id. at 1-2;

           o Onboard in-person environmental trainings of crew members who join a ship on a
             new contract, with the Company proposing to provide this training remotely via a
             computer-based training module, as well as requesting a 14-day extension of the time
             period for this training (which currently must be provided within seven days of the
             crew member commencing their duties), to account for 14-day onboard quarantine
             periods. Id. at 2-3;

           o Internal audits of Covered Vessels performed by RAAS and internal investigations of
             incidents on Covered Vessels performed by the Incident Analysis Group, with the
             Company proposing to perform the majority of these audits and investigations
             remotely. Id. at 4; and

           o Annual testing of oily bilge water management equipment, with the Company
             proposing to allow certain testing, previously performed by third-party vendors, to be
             performed by onboard engineers, as well as to allow certain other testing, which is
             required to be witnessed in-person by a shoreside representative, to be witnessed
             remotely. Id. at 3-4; see also IN ENV/05/2020 Management of Environmental
             Requirements for Ships during the Pause in Guest Operations (Rev. Dec. 17, 2020).

        B. Efforts in Support of Continued Compliance During the Pause

        1. Pause Priorities Plan

       In April 2020, the Company reported that it was developing a Pause Priorities Plan, described
        as “a list of priorities the Operating Lines want to focus on during the layup period . . . to
        ensure that when the ships return to service, they will come back stronger and better
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         equipped.” CAM Third Annual Report at 52 (quoting April 2020 Probation Supervision
         Report, Attachment 5) (emphasis added).

        On June 17, 2020, the Company submitted a draft of its Pause Priorities Plan to the Interested
         Parties, CAM, and TPA, as required by the Court’s Order of June 2, 2020. See CAM Third
         Annual Report at 53; see also Dkt. No. 189. The plan has since been revised several times,
         most recently on November 30, 2020. See, e.g., Coming Back Stronger “Pause Priorities
         Plan” (Nov. 30, 2020), PCL_ECP00177469 (“Pause Priorities Plan”).10 The draft plan, as
         well as its subsequent revisions, sets forth “programmatic priorities, as well as the timeline
         for implementation (short, mid and longer terms)” under four categories: (1) Environmental;
         (2) Investigations; (3) Culture; and (4) Training. CAM Third Annual Report at 53 (quoting
         Draft Pause Priorities Plan Cover Letter).11

        The environmental initiatives in the Pause Priorities Plan are designed to apply to “ships that
         are expected to return to [passenger] service.” Pause Priorities Plan, PCL_ECP00177469 at
         3. However, the Company acknowledges that ships not expected to return to passenger
         service “are still bound by the company’s Environmental Management System and
         applicable regulations,” and represents that “those ships will continue to comply with those
         requirements.” CAM Third Annual Report at 53 (quoting Company Comments on Draft
         Report).

        The Company has provided the CAM Team with regular updates on the general status of the
         Pause Priorities Plan actions at a summary (non-ship specific) level. See, e.g., Pause
         Priorities Plan November 30th Updates, PCL_ECP00178297-339.

         2. Court Order of October 21, 2020

        On October 21, 2020, following review of the Company’s most recent Pause Priorities Plan
         status update submission, and in consideration of the Company’s stated “commitment to
         compliance and environmental protection despite its present challenges,” the Court issued an
         Order requiring the Company to submit a certification signed by the Carnival Corp. CEO,
         based on a reasonable inquiry, as to the status of 12 specific items from the Pause Priorities
         Plan in advance of, or shortly after, a Covered Vessel’s planned entry to U.S. Waters.12 Dkt.
    10
      Citations in this Report are to the November 30, 2020, version of the Pause Priorities Plan,
    unless otherwise noted.
    11
       As the CAM has observed, many of the environmental initiatives in the Pause Priorities Plan
    relate to basic compliance support for ships on issues identified since the beginning of the ECP,
    indicating that at the time the COVID-19 crisis emerged, well into ECP Year Three, the
    Company was still struggling to comprehensively address important compliance issues that arose
    long before the pandemic. See CAM Third Annual Report at 138-41.
    12
       Following the Company’s passenger and crew repatriation efforts, most of its ships have been
    docked or anchored outside U.S. Waters in layup status. See CAM Third Annual Report at 44-
    46. Ships in layup are at “minimum (non-)operational manning levels,” down to only those crew
    who are necessary to maintain safe and compliant ship operations, based on regulatory, flag
    state, and other requirements. Id. at 44-45 (citations omitted).

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         No. 207 at 1-2; see also Agreed Order Extending Deadline for Certifications, Dkt. No. 211
         (Dec. 22, 2020); Order Amending Agreed Order Extending Deadline for Certifications, Dkt.
         No. 212 (Dec. 26, 2020).

        The 12 items required in each ship-specific certification relate to pollution prevention
         equipment, spare parts, staffing, IT support/voyage planning, and waste offload support. See
         Dkt. No. 207 at 2. To the extent “the status of any item is incomplete, the certification must
         include a detailed explanation, including a specific plan . . . and timeframe for addressing the
         item.” Id.

        Along with the certification, the Company must submit “a list of all outstanding or
         postponed” planned maintenance items for the Covered Vessel. Id. at n.8.13

         3. Certifications Pursuant to the Court Order of October 21, 2020

                a. OVERVIEW

        By December 31, 2020, the Company had provided Notices of Intent to Enter U.S. Waters
         for 30 Covered Vessels that planned to enter U.S. Waters on or before December 31, 2020.
         On January 7, 2021, the Company provided a Notice of Intent to Enter U.S. Waters for one
         Covered Vessel that plans to enter U.S. Waters on or before February 16, 2021. These
         Notices have been followed by certifications for all 31 Covered Vessels. See Certifications
         Pursuant to the Oct. 21, 2020 Order.14

                b. CAM AND TPA REVIEW

        The CAM Team and the TPA are reviewing the certifications received to date. Based on the
         face of those certifications, including the definitions provided by the Company which set the
         scope of the certifications, the Company appears to have largely achieved, or provided a plan
         and timeframe for achieving, the 12 compliance actions for each ship.15


    13
      “Planned maintenance” refers to routine, preventive maintenance tasks performed to keep
    systems and equipment in working order (such as inspections, cleanings, alarm testing, or filter
    replacements), as opposed to maintenance tasks performed in response to an unexpected
    equipment breakdown, accident, emergency, or other incident. Planned maintenance tasks are
    entered into a ship’s planned maintenance management system software, which generates
    automatic work orders when a task becomes due. The work orders include deadlines by which
    the task must be completed, unless postponed or suspended.
    14
      The 31 Covered Vessels include 17 Carnival Cruise Line ships and 14 Holland America Group
    ships. See id.
    15
      However, on spare parts, while most of the certifications indicate that the ship has a full set of
    environmental critical spare parts, several ships are missing one or more of these parts. For such
    ships, the certifications do not provide a specific plan and timeframe for achieving the full
    inventory. Holland America Group reports that purchase orders are in place, or are being
    worked out with vendors, for the outstanding environmental critical spare parts on its ships.
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        However, the CAM has expressed to the Company that: (1) some of the definitions provided
         by the Company may require additional clarification; and (2) many of the statements
         regarding the compliance status of certain actions require additional supporting information
         for the CAM Team and TPA to properly assess the compliance status of the ship. See Email
         from CAM to Environmental Corporate Compliance Manager and Deputy, Follow-up Re:
         Certification/Disclosures Pursuant to the Oct. 21, 2020 Order (Jan. 5, 2021). The CAM
         Team is continuing to engage with the Company to clarify these items. See Email from
         Deputy Environmental Corporate Compliance Manager to CAM, Follow-up Re:
         Certification/Disclosures Pursuant to the Oct. 21, 2020 Order (Jan. 14, 2021) and
         attachments.

                c. ONGOING CAM TEAM EXAMINATION

        The CAM Team will continue to monitor the Company’s efforts to meet its stated
         commitment to compliance and environmental protection during the pause, and to ensuring
         ships “come back stronger and better equipped.” See supra, Part III.B.1. As part of this
         review, the CAM Team will continue to work with the TPA to assess and, as necessary, vet
         the certifications for ships entering U.S. Waters, though both teams are operating within the
         limits imposed by COVID-19.

        As discussed in the following section, a major focus of the CAM Team and TPA will be the
         Company’s evolving approach to managing planned maintenance items onboard its ships,
         both during the pause and as ships resume passenger cruises.

         4. Outstanding Planned Maintenance Items

                a. OVERVIEW

        On any given day, a ship may have from 75 to 200 planned maintenance tasks, which, as
         noted above, can range from inspections to filter changes. See Company Comments on Draft
         Report. During the pause, however, ships are operating with reduced crew levels, down to
         about 100 crew members per ship. While the ships do not have thousands of guests to
         provide for, and not all equipment needs to be operated during the pause,16 certain
         maintenance remains necessary for the ship to operate and to maintain compliance.

        The ability to complete planned maintenance items during the pause has been hampered by a
         number of factors, including: certain equipment not being in use during the pause; reduced
         crew size; travel and quarantine restrictions that constrain the ability of third-party
         contractors or vendors to come onboard to perform work; and logistical challenges in


    Carnival Cruise Line reports that it monitors on a weekly basis the status of requisitions and
    purchase orders of environmental critical spare parts below the minimum required stock level,
    and that it keeps “a long term storage of ECP spares in Miami” which “greatly reduces the lead
    time” on delivering the parts to ships. See Company Comments on Draft Report.
    16
      For example, some sewage treatment systems may be taken out of operation if there is not the
    usual volume of sewage to process. See Company Comments on Draft Report.

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        sourcing and transporting necessary equipment and parts to the ships. See
        Employee/Interview Call Notes.

       These impacts have resulted in backlogs of overdue, postponed, and/or suspended planned
        maintenance items (collectively, “outstanding planned maintenance items”). Importantly,
        these categories do not all carry the same risk level. For example, a postponed or suspended
        item may carry less risk than an overdue item if it has been determined that the postponed or
        suspended item does not need to be performed while the ship is in layup. See id.

       As discussed in the following sections, the TPA and RAAS have made audit findings related
        to planned maintenance backlogs, and the Company is taking various actions in response.
        The Company reports that it is prioritizing planned maintenance tasks during the pause based
        on risk level, giving priority to tasks required by regulation, Company policy, or to maintain
        classification society certification. See id.

               b. TPA AND RAAS FINDINGS

       The TPA and RAAS have made audit findings regarding planned maintenance backlogs
        during the pause. For example:

           o From July through December 2020, the TPA issued audit findings for at least 15
             Princess ships because of the existence of outstanding planned maintenance items.
             See TPA Audit Reports. The TPA observed that the Company will need to have “a
             plan in place to address the significant number of maintenance backlog items before
             resuming sailing.” See id.; and

           o On August 17, 2020, RAAS issued an audit finding for Carnival Cruise Line
             regarding its implementation of the process for postponing planned maintenance
             items required by Company procedure, including that the process lacked evidence of
             formal risk assessment or a formal approach to applying postponement criteria, and
             that the approach to postponements for the same type of maintenance was
             inconsistent across the fleet. See 2020 Carnival Cruise Line Office ISM/ISPS/ISO
             14001/OHSAS 18001 Internal Audit (Aug. 2020) at 10.

       Notably, the CAM Team understands that outstanding items related to the ECP or pollution
        prevention equipment have generally remained lower than other (non-ECP/environmental)
        items. See, e.g., Global Planned Maintenance Dashboards, PCL_ECP00177686-715,
        PCL_ECP00177725-34 (indicating percentages of environmental overdue items out of total
        overdue items ranging from approximately 3% to 14%, varying by brand, as of December 20,
        2020); see also PMS Process During Pause in Operations, CAM and TPA Workshop (Dec.
        17, 2020), PCL_ECP00177434-67 (“Workshop Presentation”); see also Employee
        Interview/Call Notes.

       Though the number of outstanding ECP/environmental work orders has remained
        comparatively low, the TPA and RAAS audit findings raise concerns about the Company’s
        overall management of planned maintenance items during the pause, including: (1) the
        build-up of a backlog of work orders that ships must complete before resuming passenger

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         cruises; (2) the incomplete implementation of the postponement process, including gaps in
         the documentation of risk assessments and approvals for modifying work order due dates;
         and (3) the inconsistent implementation of the postponement process, both within and
         between brands.

                c. RAAS OPERATIONAL PAUSE RISK ASSESSMENT

        Apart from its audit function, RAAS recently completed a risk assessment to evaluate risks
         associated with the pause. See Emerging Stronger: Advisory Services to Support Success
         During the Operational Pause (Nov. 5, 2020), PCL_ECP000174904 (“Operational Pause
         Risk Assessment Presentation”). Among other findings, the assessment identified risks
         associated with the inconsistent approaches taken by the brands to postponing planned
         maintenance items. See id. at 6. Notably, RAAS observed that recent audits have identified
         “key” environmental maintenance requirements “that have not been performed.” Id.
         Echoing the concerns of the CAM Team and TPA, RAAS also observed that “[n]on-key
         postponed maintenance will create a large maintenance backlog resulting in increased cost,
         complexity and/or out-of-service equipment.” Id.

        RAAS has coordinated with All Brands Group management on certain actions designed to
         mitigate these issues. For example, the Chief Maritime Officer requested that RAAS develop
         a status report to identify maintenance “that should have been carried out but has not.” Id.
         RAAS completed this report in December 2020 and will provide it on a monthly basis to the
         Chief Maritime Officer. See Employee Interview/Call Notes; see also Emerging Stronger:
         Advisory Services to Support Success During the Operational Pause 1Follow-Up Status as of
         January 5, 2021, PCL_ECP00177716-24 (“Operational Pause Risk Assessment Updates
         Presentation”) at PCL_ECP00177719; Global Planned Maintenance Dashboards,
         PCL_ECP00177686-715, PCL_ECP00177725-34; see also infra, Part III.C.4.b.

                d. COMPANY WORKSHOPS

        In two workshops held in October and December 2020, representatives from the Company’s
         brands/operating groups presented to the CAM Team on their strategies for addressing the
         issues raised by the TPA and RAAS. The workshops reinforced that each brand/operating
         group is seeking to prioritize the continued completion of “essential maintenance” during the
         pause, which the Company defines as maintenance related to regulatory, Company, and/or
         classification society requirements.17 Other maintenance not deemed essential (such as
         maintenance on equipment that is not currently being operated) may be postponed or
         suspended.

        The workshops also illuminated, perhaps unintentionally, the decentralized nature of the
         Company’s approach to operations, as illustrated through the differing methods that the


    17
       Where certain regulatory or classification society requirements cannot be met, the brands seek
    to coordinate with flag states or classification societies to obtain regulatory extensions or other
    accommodations. See IN HMP/02/2020 General Global HESS Procedure Amendments for Ships
    during the Pause in Guest Operations (Rev. Oct. 6, 2020).

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         brands/operating groups are taking to manage outstanding planned maintenance items. For
         example:

            o Carnival Cruise Line is implementing corrective and preventive actions in response to
              the RAAS audit finding noted above, including requiring a formal risk assessment for
              each planned maintenance task to be postponed, which will be documented and
              reflected in its planned maintenance system software. See Workshop Presentation at
              PCL_ECP00177448-52; and

            o Holland America Group is implementing a different review process for postponing or
              suspending what is deemed to be non-essential maintenance. Under this process, a
              crew member who seeks to have a planned maintenance item postponed must seek
              approval from designated ship and shoreside personnel. The CAM Team
              understands, however, that a formal risk assessment is not performed or documented
              for each postponement or suspension. See Planned Maintenance Strategy
              Explanation HA-Group (Sept. 2020), PCL_ECP00173768.

        The varying approaches taken by the brands/operating groups also raises the issue of whether
         the Company is consistently defining and identifying the same types of maintenance tasks as
         “essential” for completion during the pause. As noted above, RAAS audits have identified
         key environmental maintenance items that were not completed during the pause. This
         includes items that were not captured in the brand/operating group designations of “essential”
         maintenance. See Operational Pause Risk Assessment Presentation, PCL_ECP000174904 at
         6.

        The workshops also highlighted a potential area for improvement in managing the designated
         “essential” maintenance during the pause. While the brands/operating groups appear to be
         considering and prioritizing risk in making decisions about postponing or suspending
         planned maintenance items, there does not appear to be a systematic way in which the
         Company is tracking and prioritizing the age and risk of overdue items.18 That said, the
         Company explained during the workshops that ship superintendents are in regular
         communication with the ships on the status of planned maintenance items, including overdue
         items. See Employee Interview/Call Notes.

        As noted above, these issues will be a continuing subject of CAM and TPA review,
         particularly as the Company approaches the time when it will resume passenger-carrying
         operations.




    18
      As stated during the workshops, the brands/operating groups strive for zero overdue planned
    maintenance items. However, the CAM Team and TPA are aware that overdue items are an
    operational reality. It is also true that some overdue items might be completed only hours or a
    day after the due date. There can be a significant difference, in terms of compliance risks,
    between a maintenance item that has been overdue for one day, versus an item that has been
    overdue for 30 days, for instance.

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               e. PLANNING FOR RESUMPTION OF GUEST OPERATIONS

       The brands/operating groups have begun to consider a coordinated approach to managing the
        potential surge of work that will be required to address planned maintenance backlogs as
        ships resume passenger service. Crew members from various ranks and departments have
        indicated to the CAM Team that they believe it will take no less than 60 days, once full deck
        and technical crews are onboard, to complete backlogged maintenance. They have further
        indicated that the ability to complete much of this work may depend on the availability of
        third-party contractors and parts and equipment, and that many contractors are shared across
        the brands. See Employee Interview/Call Notes.

       To address these issues, and following a recommendation by RAAS, the brands/operating
        groups initiated brand-level resource planning meetings in November 2020 to review
        maintenance plans, determine what goods or services will be needed and when, and plan to
        ensure resources are available. See Operational Pause Risk Assessment Presentation,
        PCL_ECP000174904 at 7. The results of these meetings will be shared cross-brand to
        identify global opportunities and best practices for resource sharing. Id.; see also
        Operational Pause Risk Assessment Updates Presentation at PCL_ECP00177720-21.

               f. REVISION TO PAUSE PRIORITIES PLAN

       On December 28, 2020, the Company, “[b]ased upon concerns raised by the TPA and the
        CAM,” added a new action to the Pause Priorities Plan that requires Operating Line
        Compliance Managers to review planned maintenance items for each ship before it resumes
        service “for level of completion of essential, regulatory, company and ECP-required
        environmental work orders.” Coming Back Stronger “Pause Priorities Plan” [Redline]
        (Nov. 30, 2020), PCL_ECP00177470 at 5; see also Pause Priorities Plan November 30th
        Updates, PCL_ECP00178297-339 at PCL_ECP00178309.

               g. ONGOING CAM TEAM EXAMINATION

       The CAM Team understands that the Company’s existing planned maintenance systems were
        not designed with a pause scenario in mind, and that the brands/operating groups have
        articulated their efforts to address outstanding planned maintenance issues. Many of the
        challenges that have arisen appear to be attributed, at least in part, to the lack of a corporate-
        wide management of change process. See infra, Part III.C.3.b. As the Company moved into
        the pause, there does not appear to have been a systematic, coordinated process for re-
        evaluating how planned maintenance tasks would be managed.

       The CAM Team will continue to monitor the Company’s approaches to managing planned
        maintenance items, including backlogs of outstanding items, both during and after the pause,
        and the degree to which the ships are receiving the necessary support for these efforts.




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        C. Corporate Compliance Organization

        1. Background

       In ECP Year One, the CAM found that the Company had failed to provide the Environmental
        Corporate Compliance Manager with ECP-required authority, and that the Company’s
        complex corporate structure, including the lack of centralization and lack of clarity as to
        responsibility, accountability, and authority for environmental compliance, was an
        unresolved barrier to environmental compliance. See CAM First Annual Report at 4-5, 25-
        30. The Company did not act to remedy these findings until it faced the revocation of its
        probation near the end of ECP Year Two. See CAM Second Annual Report at 46-49, 91-92.

       In pleading guilty in June 2019 to a violation of probation for “failing to provide sufficient
        responsibility and authority to the [Environmental Corporate Compliance Manager] to
        implement the ECP,” the Company “acknowledge[d] that it failed to establish [an
        Environmental Corporate Compliance Manager] with authority (including resources, budget,
        and staff) as required to implement the ECP,” and committed to build up and restructure its
        corporate compliance function. See Proposed Agreement for the Court’s Consideration
        Resolving Superseding Petition for Summons for Offender Under Supervision Dated April,
        26, 2019, Dkt. No. 134 (June 3, 2019) (“Dkt. No. 134” or “Probation Revocation
        Agreement”) at 2, 10.

       Since the Probation Revocation Agreement, the Company has made substantial efforts
        toward putting in place people, funding, structures, and systems for the corporate compliance
        function. Notable achievements discussed in prior CAM reports include:

           o Appointing a Chief Ethics & Compliance Officer (a newly created position) who
             reports directly to the Carnival Corp. CEO and to the Health, Environment, Safety &
             Security (“HESS”), Audit, and Compliance Committees of the Boards of Directors.
             This individual officially began duties in August 2019;

           o Promoting the Environmental Corporate Compliance Manager to a more senior
             position within the Company;

           o Developing an action plan for re-structuring its corporate compliance function, which
             included creating a new Ethics & Compliance Department at All Brands Group that is
             part of a broader Ethics & Compliance Program extending throughout the
             brands/operating groups;

           o Establishing a charter, strategic plan, and financial plan (for Fiscal Years 2019 and
             2020) for the Ethics & Compliance Department and Program;

           o Appointing or hiring people to fill leadership positions in the Ethics & Compliance
             Department, including an: Incident Analysis Group (Investigations) Leader;
             Compliance Training Leader; Compliance Risk Management Leader; Compliance
             Communications Leader; and Data Privacy Leader;



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           o Conducting, in January 2020, a series of ship visits by Ethics & Compliance Program
             personnel that included townhall-style sessions where crew members could discuss
             compliance issues and concerns. Plans for additional visits were indefinitely
             postponed due to the pandemic;

           o Taking steps to bolster its compliance risk management function, including
             developing a risk assessment strategy and a draft baseline compliance risk
             assessment, as discussed in Part III.C.4.a below;

           o Hiring a new member of the Boards of Directors with significant corporate
             compliance experience;

           o Establishing a new, permanent Compliance Committee of the Boards of Directors;

           o Hiring outside counsel to advise the Compliance Committee of the Boards of
             Directors; and

           o Developing and delivering corporate compliance training sessions for the Boards of
             Directors and senior executives. See CAM Third Annual Report at 94-107.

       While recognizing these accomplishments, the CAM made a finding at the end of ECP Year
        Three that “unresolved weaknesses in the corporate compliance function persist.” CAM
        Third Annual Report at 76. The CAM observed that the following findings from ECP Year
        One “largely still stand”:

           o (1) The compliance function remains decentralized in many ways, a symptom of the
             Company’s generally decentralized operations, with ownership and accountability
             over compliance-related initiatives tending to reside in the brands/operating groups,
             rather than All Brands Group—an approach that “results in delayed, uncoordinated,
             and ineffective solutions to some of the Company’s most serious and long-standing
             compliance challenges, including the need to improve its compliance culture and
             internal investigations program.” Id. at 76, 174-75; and

           o (2) The Company does not yet appear to have provided the Environmental Corporate
             Compliance Manager with the authority required by the ECP, or to have provided
             either the Environmental Corporate Compliance Manager or the Chief Ethics &
             Compliance Officer (a position not created until ECP Year Three) with the authority
             required by the settlement of the Probation Revocation Petition. Id. at 76-77, 176-79.

                  Relatedly, there remain unclear relationships and lines of authority between the
               Ethics & Compliance Program (established in ECP Year Three) and the Chief
               Maritime Officer organization, which oversees marine operations. Id. at 178-79.

       The CAM has observed some progress on these issues, including significantly higher levels
        of involvement from All Brands Group in affirming support for compliance, engaging on
        culture change efforts, and taking steps to begin to rebuild the internal investigations
        program. Despite progress, work remains to be done to enhance the Company’s compliance
        performance, and to develop and support a centralized, empowered, and effective corporate

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         compliance organization. As the Carnival Corp. CEO has recognized: “[W]e know we have
         a ways to go . . . I know we have room for improvement, and I’m reminded of that by our
         flash reports and our conversations here [in court].” Status Conf. Tr. at 35-37 (Oct. 16,
         2020).

        In particular, until the draft baseline risk assessment, discussed in Part III.C.4.a below, is
         finalized and the Company determines lines of accountability for compliance risks, the CAM
         Team (and the Company) is unable to fully evaluate the efficacy of the Company’s corporate
         compliance program.19 The CAM Team notes that the ability to systematically and
         holistically identify and prioritize the highest risks across the Company is even more
         important during economically challenging times when resources are limited. Without such
         an ability, the Company lacks critical information to determine which of the many serious
         risks it faces is in greatest need of additional resources.

         2. Personnel Changes

        Several changes in key leadership and compliance-related positions in the Company occurred
         during ECP Year Four. These include:

            o Carnival Corp. Chief Operations Officer: In June 2020, the Company appointed a
              new Chief Operations Officer of Carnival Corp. (a position that had not existed at the
              Company since December 2016), who reports directly to the Carnival Corp. CEO and
              has “oversight of major operational functions, including global maritime, global ports
              and destinations, global sourcing, global IT and global auditing [RAAS].” CAM
              Third Annual Report at 50 (quoting Carnival Corp. press release). The individual in
              this position previously served as President of Carnival UK, the operating group that
              oversees the Cunard and P&O Cruises UK brands. See id.;

            o Carnival Corp. Senior Advisor to the CEO and to the Chairman: On December
              1, 2020, the former CEO of Holland America Group was named to a new role as
              senior advisor to the Carnival Corp. CEO and to the Carnival Corp. Chairman of the
              Boards of Directors. See Carnival Corporation Announces Stein Kruse in New Role
              as Senior Advisor to the Chairman and to the CEO (Dec. 1, 2020),
              https://www.carnivalcorp.com/news-releases/news-release-details/carnival-
              corporation-announces-stein-kruse-new-role-senior;

            o Holland America Group President: With the move of the former CEO of Holland
              America Group, the former President of Princess Cruises was named Group President
              of Holland America Group, with responsibility for Princess Cruises, Holland America
              Line, Seabourn, and P&O Australia, as well as for Holland America Princess Alaska
              Tours and inter-group operations. See Carnival Corporation Announces Jan Swartz

    19
       DOJ’s guidance on evaluating corporate compliance programs recommends that companies
    tailor their compliance programs to their individual risk profile, as identified through a risk
    assessment, and allocate resources based on risk level. See DOJ, Evaluation of Corporate
    Compliance Programs (Updated June 2020), available at https://www.justice.gov/criminal-
    fraud/page/file/937501/download (“DOJ Corporate Compliance Program Guidance”) at 1-3.

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               as Group President, Holland America Group (Dec. 1, 2020),
               https://www.carnivalcorp.com/news-releases/news-release-details/carnival-
               corporation-announces-jan-swartz-group-president;

           o Holland America Line and Seabourn Brand Presidents: In May 2020, the former
             Presidents of the Holland America Line and Seabourn brands (part of the Holland
             America Group operating group) left the Company. The current Holland America
             Line President is the former Chief Operations Officer at Carnival Cruise Line, while
             the current Seabourn President is the former Chief Strategy Officer at All Brands
             Group. See CAM Third Annual Report at 50 (citing Carnival Corp. press releases);

           o Deputy Chief Ethics & Compliance Officer and Head of Incident Analysis
             Group: On September 25, 2020, the former Operating Line Compliance Manager for
             Carnival UK was named as the Deputy Chief Ethics & Compliance Officer and the
             Head of the Incident Analysis Group. In addition to overseeing the internal
             investigations function, this individual will “play an integral role in supporting the
             overall implementation of the ethics and compliance program,” including overseeing
             compliance risk activities. See Carnival Corporation Appoints Peter Hutchison as
             Senior Vice President, Deputy Chief Ethics and Compliance Officer (Sept. 16, 2020),
             https://www.carnivalcorp.com/news-releases/news-release-details/carnival-
             corporation-appoints-peter-hutchison-senior-vice; see also infra, Part III.F.2.a; and

           o Operating Company Ethics & Compliance Officers and Operating Line
             Compliance Managers: Since the formation of the Ethics & Compliance Program,
             three out of the four Operating Line Compliance Managers have moved to other
             positions in the Company (two to become Operating Company Ethics & Compliance
             Officers, and one to become the Deputy Chief Ethics & Compliance Officer/Head of
             the Incident Analysis Group, as noted above), with new individuals appointed to these
             positions. In addition, four new Operating Company Ethics & Compliance Officer
             positions were established. The individuals currently serving in these positions
             continue to have significant maritime and/or compliance experience and display a
             commitment to environmental compliance. See CAM First Annual Report at 14.
             Brief bios for these individuals are attached as Appendix A.

        3. Notable Initiatives

               a. MANAGEMENT ACCOUNTABILITY

       In ECP Year One, the CAM found that, among other factors, the lack of clarity as to
        responsibility, accountability, and authority for environmental compliance was an unresolved
        barrier to compliance. See CAM Third Annual Report at 76. As discussed in prior CAM
        reports, management accountability at the highest levels is critical to an effective ethics and
        compliance function, including one that can provide the Boards of Directors with clarity as to
        how and in what ways the most senior and powerful leaders are performing on compliance
        management. See CAM March 2020 Quarterly Report at 42; CAM Third Annual Report at
        105-06, n.64. As the Environmental Compliance Culture Assessment illuminated, personal
        responsibility and leadership from the Company’s top leadership are necessary to develop a

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        culture of compliance, where information and feedback—positive and negative—are heard,
        valued, and acted upon in a meaningful way. Id. at 107.

       The CAM Team understands that the recently appointed Carnival Corp. Chief Operations
        Officer is leading an “accountability exercise” to establish senior management accountability
        at the All Brands Group level. The CAM has observed that “a management of change
        process could help with the effort to enhance accountability, as it requires an assessment of
        how changes in processes, materials, budgets, and staffing impact a range of pre-existing
        obligations.” CAM/Company Communication Recap (August 6, 2020, Bi-Weekly
        CAM/CECO Call) (Aug. 19, 2020), attached as Appendix B, at 2. The Company reports that,
        as of January 2021, “[p]rogress is being made amongst the Ethics & Compliance, RAAS,
        Maritime and the Legal department in more clearly delineating accountabilities amongst
        these functions, to help ensure that appropriate leadership is identified across [the
        Company’s] actions and activities.” Company Comments on Draft Report.

               b. MANAGEMENT OF CHANGE

       Throughout the ECP period, crew members from across the Company’s brands/operating
        groups have reported concerns to the CAM Team about the additional workload and
        demands associated with new Company procedures and initiatives. See, e.g., CAM March
        2020 Quarterly Report at 134-36. The CAM has observed that, though initiatives may be
        well-intentioned, the Company’s senior management does not apply a management of change
        process to “evaluate[] at the outset what new challenges or trade-offs might result, in light of
        existing staffing levels and workloads on the ships.” Id. at 135 (citing Holland America
        Group Workload Study).

       As described by the American Bureau of Shipping, a management of change system:

           is a combination of policies and procedures used to evaluate the potential impacts of a
           proposed change so that it does not result in unacceptable risks. Developing an effective
           [Management of Change] strategy requires establishing, documenting, and successfully
           implementing formal policies to evaluate and manage both temporary and permanent
           modifications in the facility or ship including equipment, materials, operating procedures
           and conditions, and personnel.

        American Bureau of Shipping, Guidance Notes on Management of Change for the Marine
        and Offshore Industries (Feb. 2013) at 1.

       By early 2020, the Company had recognized this shortcoming, and had begun an effort to
        develop a corporate-wide management of change procedure. See CAM March 2020
        Quarterly Report at 135-36; CAM Third Annual Report at 100. The Company’s initial
        internal deadline of April 20, 2020, for finalizing the procedure was pushed back due to the
        pandemic. See CAM Third Annual Report at 100.

       As of January 2021, the Company reports that an initial procedure will be published at the
        end of the month. This initial procedure will include “material to introduce the concept and
        principles of Management of Change,” and will focus on “technical installations on board the

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         ships as it is recognized as the highest area of risk.” Company Comments on Draft Report.
         Further expansion and supplementation of the initial procedure is expected. Id.

                c. STREAMLINING SHORE/SHIP COMMUNICATIONS

        Since the start of probation, officers and other crew members have shared their frustration
         with the massive volume of communication that flows largely uncontrolled from shoreside
         offices to the ships. They have described “a tidal wave of communication from shore,
         including uncoordinated and unprioritized email inquiries.” CAM First Annual Report at 72.
         These communications come through a variety of channels, such as emails, newsletters,
         bulletins, case studies, surveys, reports, and notices, including Instructional Notices
         announcing procedure changes.20 The flow of these communications, which may be well-
         intentioned, contributes to a sense that rules and expectations are in flux in a manner that is
         unnerving at times to those onboard. Further, these communication channels may differ by
         brand/operating group and, as a whole, are not governed in a systematic way. This lack of
         coordination and prioritization of shoreside communications has led to concerns from
         shipboard officers about their ability to know the demands being made of themselves and of
         other officers and crew. See Employee Interview/Call Notes.

        The CAM Team understands that there is a recognition of this communication flow problem
         at the upper levels of the Company, and the Health, Safety, & Security Corporate
         Compliance Manager has begun an effort to review ways to streamline and govern the
         various pathways of shore/ship communication that exist. See id. The Company reports that
         a cross-brand Working Group was established in November 2020 that has been meeting on a
         weekly basis. The Working Group expects to generate a recommended action plan “to
         reduce, simplify and adjust reporting requirements” by the end of March 2021. Company
         Comments on Draft Report.

                d. OTHER INITIATIVES

        Other Ethics & Compliance Program initiatives planned or underway include:

            o Virtual Ethics & Compliance Ship Visits: As noted above, Ethics & Compliance
              Program personnel conducted a series of in-person ship visits in January 2020 that
              included townhall-style sessions with crew members. Plans for additional visits were
              indefinitely postponed due to the pandemic. The Company reports that, as of January
              2021, the Ethics & Compliance team is coordinating with human resources (“HR”)
              leads to “develop a comprehensive agenda” for virtual ship visits, and is also
              exploring the possibility of holding virtual “office hours” where crew members could
              ask questions, raise concerns, or seek advice from shoreside ethics and compliance



    20
      Instructional Notices are notifications that are sent to the ships containing new or revised
    procedural requirements that require “immediate” implementation “before these changes are
    reflected in Global HESS.” INT 1005 Development, Approval, Release, and Implementation of
    Documents.

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               personnel. Id. The current plan is to move forward with the virtual ship visits in
               February 2021. Id.;

           o HESS Ship Surveys: The Environmental Corporate Compliance Manager and his
             team are developing a new survey tool to solicit “input, guidance and perspective on
             HESS challenges” from the ships. Pause Priorities Plan, PCL_ECP00177469 at 10.
             Implementation of this initiative was delayed, in part due to feedback, noted above,
             from operating group personnel that a number of channels for ship/shore
             communication (including a variety of surveys) already exist. See Employee
             Interview/Call Notes. As of January 2021, the Company reports that it has “pilot
             tested the survey tool and will be developing a project to conduct surveys in 2021.”
             Company Comments on Draft Report; and

           o “Stop Work” Authority for HESS Compliance: The Chief Ethics & Compliance
             Officer and his team are evaluating possible mechanisms for empowering crew
             members (from officers to ratings) with “stop work” authority, typically seen in
             safety programs, in the HESS compliance context—i.e., empowering crew members
             to intervene to stop an operation they know or suspect is not compliant. See
             Employee Interview/Call Notes. The Company has acknowledged that such authority
             is not currently explicit in its internal procedures. See CAM December 2019
             Quarterly Report at 67, n.48; Cf. OHS-1001 Job Safety Review (stating that “[e]very
             crew member has the authority and duty to stop work that they deem to be unsafe”).
             The Company reports that introducing this concept into its internal procedures “is on
             the agenda” for an Operational Health & Safety Working Group meeting scheduled
             for later in January 2021. Company Comments on Draft Report.

        4. Risk Assessment Function

               a. ETHICS & COMPLIANCE BASELINE RISK ASSESSMENT

       Pursuant to the commitment in its Ethics & Compliance Strategic Plan, the Company began
        developing a baseline risk assessment in the fall of 2019 to “include information regarding
        the Company’s risk profile, existing controls designed to mitigate risks, and
        recommendations for enhancements to controls.” See CAM March 2020 Quarterly Report at
        72-75 (quoting Baseline Compliance Risk Assessment Plan). In June 2020, the Company
        provided the CAM Team with the first draft of the baseline risk assessment. See [Draft]
        Compliance Risk Assessment for FY 2020 (June 15, 2020). The CAM previously provided
        high level observations on the draft assessment, including that it relied primarily on
        qualitative factors over quantitative data, and did not include risks associated with corporate
        culture or the impacts of COVID-19 on operations. See CAM Third Annual Report at 101-
        02.

       Further work on the draft risk assessment was put on hold during the pause. The Company
        has acknowledged that the first draft was incomplete, and recently informed the CAM Team
        that it plans to supplement the draft assessment as it relates to environmental risk by January
        2021, with other areas to follow thereafter. With respect to cultural risks, which were not
        identified in the June 2020 draft, the Company indicated that it is relying on the Culture

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         Action Plan to address those risks. See Employee Interview/Call Notes; see also infra, Part
         III.D.2.

        As noted above, until the baseline risk assessment is finalized, it is not possible to fully
         evaluate the Company’s compliance program.

                b. RAAS OPERATIONAL PAUSE RISK ASSESSMENT

        Recognizing that it faced new and different risks during the pause compared to normal
         operations, the Company directed RAAS to prepare an assessment of the risks created by
         moving its ships into a pause status. See Employee Interview/Call Notes. RAAS, through
         discussions with senior management at All Brands Group and the brands/operating groups,
         identified five areas for analysis that are believed to be most impacted by the change in
         operations: (1) Human Capital (Ship/Shore); (2) IT Security; (3) Ship Security/Terrorism;
         (4) Repair & Maintenance; and (5) Health/Pandemic. See Operational Pause Risk
         Assessment Presentation, PCL_ECP000174904 at 2. The purpose of the risk assessment was
         to: inventory risks related to these selected key areas; identify ways to mitigate those risks;
         and highlight opportunities to improve tracking and reporting of mitigation efforts. See
         Emerging Stronger: Risk Assessment as a Tool to Support Lay-Up and Re-Entry Success
         (Apr. 21, 2020), PCL_ECP00166222-24 at PCL_ECP00166223.

        In its assessment, RAAS found that, while “[m]anagement’s overall identification of pause-
         related risk has been thorough,” there were opportunities “[w]ith intense crisis management
         behind us” to “revisit decisions with enhanced analysis and planning.” See Operational
         Pause Risk Assessment Presentation, PCL_ECP000174904 at 3. RAAS also identified
         recommended actions to senior management at All Brands Group and the brands/operating
         groups to mitigate risk for each of the five key areas analyzed.

        Of particular relevance to the ECP, RAAS identified risks associated with the inability to
         perform all critical maintenance onboard the ships during the pause, as discussed in Part
         III.B.4.c above. See id. at 3, 6. According to the Company, this is the most significant new
         environmental risk to emerge due to the pause. See Employee Interview/Call Notes.21
         RAAS provided recommended action items to the Company to mitigate the new risks
         identified during the pause, some of which have been completed and others that are in
         progress. RAAS is tracking implementation of those recommendations. See Operational
         Pause Risk Assessment Updates Presentation at PCL_ECP00177716-24.

                c. INTEGRATION OF RISK ASSESSMENT APPROACHES

        The Company acknowledges that it does not have a formal Enterprise Risk Management
         program to integrate the multiple risk management approaches across the Company, some of
         which are described above. See Employee Interview/Call Notes. Without a holistic
         framework to assess and manage risk, the Company’s current siloed approach may result in
         unintended consequences, such as increased costs due to duplication of efforts by different

    21
      The Company reports that monitoring existing (pre-pause) environmental risks continues to be
    done through operations reporting, such as weekly flash reports. See id.

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        departments or a greater likelihood of overlooking certain risks if one business area believes
        another business area is addressing those risks. See e.g., J. Deloach, Think Holistically When
        Managing Risk (Mar. 27, 2015), https://www.corporatecomplianceinsights.com/think-
        holistically-when-managing-risk; K. Jones and L. Jarvis, Breaking Down Silos to Improve
        Risk Assessments in Foreign Jurisdictions (Sept. 3, 2020),
        https://www.corporatecomplianceinsights.com/silos-risk-assessments-foreign-jurisdictions/.
        Further, risk management is done separately from the Company’s strategic planning
        processes, which could leave leaders with incomplete information when making strategic
        business decisions.

       The Company reports that it is in the early stages of considering how to formally assess and
        manage risks holistically across the corporation, going beyond just compliance and HESS
        risks, as well as how to establish clear accountability for risk mitigation, particularly in areas
        such as environmental risk where compliance and operational responsibilities overlap. See
        Employee Interview/Call Notes. This is an area the CAM Team will continue to monitor
        closely.

        5. Ongoing CAM Team Examination

       The CAM Team will continue to monitor the Company’s efforts to develop and support its
        corporate compliance organization.

       Areas of focus will include:

           o The existence (or lack) of concrete and observable ways in which:

                      Top leadership takes personal responsibility for and leads the promotion of a
                       culture of compliance, including concrete actions that value behaviors that
                       support compliance as much as behaviors that support other business
                       imperatives; and

                      The Chief Ethics & Compliance Officer and Environmental Corporate
                       Compliance Manager are empowered to exercise authority in support of
                       compliance—including through support and backing by the Carnival Corp.
                       CEO and Boards of Directors;

           o Support for compliance, including funding, staffing, and other resources in light of
             COVID-19 impacts;

           o The extent to which the compliance organization is able to address the culture and
             other systemic issues (including lack of a comprehensive and actionable risk
             assessment) that drive the Company’s compliance challenges; and

           o Relationships and lines of authority between the Ethics & Compliance Program and
             the new Chief Operations Officer organization, which will oversee major operational
             functions, including the Chief Maritime Officer organization and the internal audit
             function performed by RAAS.


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        D. Culture

        1. Background

       When accepting the Company’s guilty plea in December 2016, the Court stated that it wanted
        to know “what was in the culture” because “there obviously was a culture, at least on [the
        Caribbean Princess], if not on other Princess Cruise Lines ships, that promoted dishonesty
        and the willingness to help each other out in getting around doing the right thing.” See Plea
        Hearing Tr. at 32 (Dec. 20, 2016). At the sentencing hearing in April 2017, the Court
        observed that “the culture really needs to be changed and [I’m] looking to [the CAM] to
        assist.” Sentencing Hearing Tr. at 13 (Apr. 19, 2017). The Company appeared to agree,
        stating that “we’re committed to working with the court-appointed monitor and the third-
        party auditor over the next five years to continue to enhance our compliance program even
        more, and our focus is a culture of compliance.” Id. at 36. This effort also supports the
        CAM’s broad mandate to monitor the Company’s compliance with the ECP, see ECP
        § VI.A, and to assess whether the Company has adequate systems in place to ensure
        regulatory compliance, correct non-compliance, and prevent future non-compliance. See
        ECP § VI.B.2; see also CAM First Annual Report at 24; CAM Second Annual Report at 53;
        CAM Third Annual Report at 86.

       On August 28, 2019, the CAM’s retained maritime culture survey expert, Propel Sayfr
        (“Propel”), provided the Company and the CAM with a final report of its assessment of the
        Company’s environmental compliance culture. See Propel, Environmental Compliance
        Culture Assessment of Carnival Corporation 2018/2019 (Aug. 28, 2019) (“Environmental
        Compliance Culture Assessment”). The assessment was based on a survey of over 70,000
        Company employees and evaluated the Company’s environmental compliance culture. A
        first-of-its-kind effort, it was designed to illuminate both the strengths and opportunities for
        improvement in the Company’s environmental compliance culture.

       As discussed in prior CAM reports, the assessment found that “employees across all of
        Carnival, from its [All Brands Group] to the various brands, have identified the Company as
        having a compliance culture with a low level of maturity and significant potential for
        improvement.” Id. at 3. In particular, the report indicated that the Company’s greatest
        opportunities for improvement, as evidenced by low scores, are in the areas of Trust, Care,
        and Openness. See id. at 19-21. The assessment also noted that “[s]ignificant leadership
        efforts will be required to create a mature and sustainable compliance culture.” Id. at 3.
        While prescriptive measures were outside the scope of work, the report described “a roadmap
        approach that has successfully been used in connection with other [Propel] assessments.” Id.
        at 4. The assessment also identified “a list of key success factors” that are important for
        implementing a meaningful culture change program. Id. at 42. These include:

           o “Top Management takes ownership for compliance failures;”

           o “Top Management accepts that changes are needed;”

           o “Management dedicates necessary time and resources to implement cultural
             changes;”

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           o “Top Management takes ownership of strengthening compliance culture;”

           o “Culture changes are linked to the company strategy”; and

           o “Systems and governance are aligned to support the change.” Id.

       The Company has recognized that the findings of the Environmental Compliance Culture
        Assessment are consistent with those of other studies commissioned by the Company, and
        has stated that it accepts these findings. See CAM Third Annual Report at 88-90. For
        instance, during the January 8, 2020, Status Conference, the Carnival Corp. CEO stated:
        “[T]he Propel Study, the reason why we haven’t debated it is because we agree with it. We
        have other studies that suggested those same things, and we’ve had personal experience in
        talking to our crew and stuff to know that.” Status Conf. Tr. at 87 (Jan. 8, 2020).

       In September 2019, the Company retained an outside consultant, the Ethics & Compliance
        Initiative (“ECI”), to support its efforts to address the Environmental Compliance Culture
        Assessment findings, including to develop “an action plan addressing the areas of
        improvement discussed in [Propel’s] culture survey report.” See January 2020 Probation
        Supervision Report, Attachment 3, PCL_ECP00157092-103 at PCL_ECP00157092.

       With the support of ECI, and as an initial step to improve the Company’s culture, the
        Company crafted a new Carnival Corp. Vision Statement, which currently reads:

               At Carnival Corporation & plc, our highest responsibility and top priorities are to be
               in compliance everywhere we operate in the world, to protect the environment and the
               health, safety and well-being of our guests, the people in the communities we touch
               and our shipboard and shoreside employees. On this foundation, we aspire to deliver
               unmatched joyful vacations for our guests, always exceeding their expectations and in
               doing so driving outstanding shareholder value. We are committed to a positive and
               just corporate culture, based on inclusion and the power of diversity. We operate
               with integrity, trust and respect for each other—communicating, coordinating and
               collaborating while seeking candor, openness and transparency at all times. And we
               aspire to be an exemplary corporate citizen leaving the people and the places we
               touch even better. Vision, Mission & History,
               https://www.carnivalcorp.com/corporate-information/mission-and-history.

        2. Culture Action Plan

               a. OVERVIEW

       In February 2020, the Company provided the CAM Team an initial draft of the action plan,
        developed in consultation with ECI, for improving the Company’s culture. See [Draft]
        Carnival Corporation Culture Action Plan (Jan. 29, 2020), PCL_ECP00154952-59. A
        revised draft was provided in August 2020. See Carnival Corporation Culture Action Plan
        for 2020-2021 (Aug. 2020), PCL_ECP00168638 (“Culture Action Plan”); see also Appendix
        – Work Plan for Culture Action Plan (Aug. 2020), PCL_ECP00168629.



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       The Culture Action Plan identifies four “drivers of culture”:

           o “One is the tone that is perceived by employees as coming from ‘the top’ (the Board,
             CEO, brand presidents, division and ship/shore location leaders);

           o A second is the support of that tone (or lack thereof) that is given by each
             employee’s most immediate authority (generally a supervisor);

           o A third is the extent to which employees believe they can or cannot raise concerns
             without fear of retaliation; and

           o A fourth is the extent to which employees believe there is accountability for
             behaviors that step outside those desired values, attitudes, and expectations.” Culture
             Action Plan at 1-2 (emphasis in original).

       The Culture Action Plan also states that the Company “has committed to using the ‘pause
        period’ to develop plans and take preliminary actions to enable the brands to implement the
        Culture Action Plan when they resume guest operations.” Id. at 3. It specifies 12 activities,
        split into two phases: activities during the pause and activities after the pause.

           o Activities during the pause are: (1) a Bring Back selection strategy to incorporate
             ethics and compliance considerations into re-hiring decisions; (2) measures to
             promote team wellness for shipboard crews; and (3) a Culture Essentials framework
             of “key actions and behaviors” to strengthen corporate culture. See id. at 3-6; and

           o Activities after the pause are: (4) welcome back sessions for all employees;
             (5) Boards of Directors and executive leadership training and oversight; (6) self-
             assessments for leadership and Ethics & Compliance Program personnel (using ECI’s
             High-Quality Program assessment tool, see https://www.ethics.org/hqp/);
             (7) performance evaluations for leadership “to ensure their adoption and promotion of
             key actions and behaviors;” (8) leadership training for brand leaders and managers
             “on their role in the culture change effort;”(9) manager-led training that emphasizes
             the Corporate Vision Statement, Brand Core Values, and Culture Essentials;
             (10) developing a peer-to-peer “ambassador program” to “support employee
             engagement and issue spotting;” (11) improving communication methods and
             messages; and (12) sharing feedback from the Environmental Compliance Culture
             Assessment and developing/implementing a Culture Survey Plan to include monthly
             “pulse” surveys, quarterly “panel” surveys, and an annual “all-employee culture
             survey.” See Culture Action Plan at 6-10.

               b. GOVERNANCE

       The Company recently provided the CAM Team with a document that lays out: the new
        Carnival Corp. Vision Statement; the Culture Action Plan initiatives; and an “outline [of] the
        governance surrounding these efforts,” including “roles, responsibilities and accountabilities”
        of the Boards of Directors, Executive Leadership and Brand Leaders, HR Leadership Teams,
        Ethics & Compliance Teams, and Brand Functional Leaders (e.g., heads of Communications,

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        Learning & Development, and HR). See Coordinating our Efforts to Further Strengthen our
        Culture Across Carnival Corporation (Jan. 7, 2021), PCL_ECP00178127-48 (“Culture
        Summary Governance Document”) at PCL_ECP00178127-33.

       At its outset, the Culture Summary Governance Document observes that, historically, many
        brands “have done good work to undertake various initiatives and implement certain actions
        to strengthen culture,” but “these efforts were often done independently or unilaterally, with
        no (or limited) coordination across the Corporation.” Id. at PCL_ECP00178127. It notes
        that, in recent months, the “Executive Leadership Team has conveyed the need for more
        consistency for more progress” by adopting the Vision Statement and endorsing the Culture
        Action Plan efforts. Id.

       The Culture Summary Governance Document establishes the following “roles,
        responsibilities and accountabilities”:

           o The Boards of Directors are responsible “to oversee and safeguard culture” and “to
             set clear expectations for what it expects [the Company’s] senior leaders to achieve,
             and what concrete goals will be accomplished.” Id. at PCL_ECP00178132;

           o The Executive Leadership Team and Executive Leaders in the brands/operating
             groups “are ultimately accountable for setting the strategy and delivering the results.”
             Id.;

           o The HR Leadership Team will “oversee[] the execution with the brands,” with
             responsibility for “developing clear expectations and implementation steps that
             include key performance indicators (‘KPIs’) for each Culture Essential behavior,”
             including “ensuring that all on-going culture efforts prioritize and foster
             improvements in [diversity, equity, and inclusion (‘DEI’)].” Id.;

           o The Ethics & Compliance Team will “monitor the implementation and execution
             efforts to ensure timely progress, general consistency between brands, the sharing of
             information and best practices, as well as to assess overall effectiveness.” Id. at
             PCL_ECP00178133; and

           o Brand Functional Leaders will be responsible for “implementation and execution.”
             Id.

       The Culture Summary Governance Document also states that “the principles of [DEI] will be
        a central pillar of our broader culture improvement efforts.” Id. at PCL_ECP00178128; see
        also infra, Part III.E.

               c. UPDATES

       The Company presented to the CAM Team on the status its Culture Action Plan activities in
        a series of workshops in September and November 2020.

       Updates on activities during the pause include:


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           o Bring Back Selection Strategy: The Culture Action Plan defines this as a “common
             set of criteria to be used in re-hiring (ship and shore-side) employees that reflect the
             priorities within the Corporate Vision Statement and the Culture Essentials ‘including
             commitment to safety, environmental protection; ethics & compliance.’” Culture
             Action Plan at 3. Much of this work was completed by the brands before the Culture
             Action Plan was launched. For example, Holland America Group created a
             competency matrix, which includes the Culture Essentials attributes discussed below,
             for shoreside employees to use to score shipboard officers to determine who should
             be brought back during restart. The CAM Team understands that some other
             brands/operating groups have adopted this competency matrix (or a similar evaluation
             tool) as well, while other brands “already had similar evaluation processes in place
             that included similar behaviors that matched the Culture Essentials that were used to
             evaluate employees who would be separated.” See Culture Summary Governance
             Document at PCL_ECP00178129. Holland America Group also created an interview
             tool tied to the Culture Essentials attributes to be used by the Company’s Global
             Talent Partners22 when re-staffing non-officer shipboard positions. See Employee
             Interview/Call Notes;

           o Promoting Team Wellness: Each brand/operating group was tasked with
             developing activities to promote team wellness onboard the ships during the pause,
             and reporting back on those activities to All Brands Group. Activities that have been
             put in place include: free internet to communicate with friends and family; free
             mental health counseling resources; training for shipboard leadership on warning
             signs for mental health issues; moving crew to guest cabins to be more comfortable;
             and outdoor activities for crew, such as games and movie screenings. See id.; and

           o Culture Essentials: The Culture Essentials are “key actions and behaviors” that
             “everyone across all brands needs to remember to help [the Company] live out the top
             priorities from [its] Vision Statement, as well as [its] shared core values.” Culture
             Action Plan at 4. Key actions and behaviors for everyone (including leaders) are:
             Speak Up; Respect and Protect; and Improve. Id. Additional key actions and
             behaviors for leaders are: Communicate; Listen & Learn; and Empower. Id. at 5.
             The Company rolled out these Culture Essentials the week of October 26, 2020, with
             messages from the Carnival Corp. CEO, Chief Ethics & Compliance Officer, and
             brand/operating group leaders. See Culture Communications, PCL_ECP00175606 at
             4. Parallel efforts are ongoing at the brands/operating groups to incorporate the




    22
       Global Talent Partners are agencies, generally referred to as “manning agencies” in the
    maritime industry, located around the world that cruise lines and other companies use to recruit
    and train many of the (typically non-officer) crew members on their ships. Holland America
    Group has moved from calling these businesses “manning agencies” to “Global Talent Partners,”
    to shift from an overtly gendered nomenclature to one that focuses on the notion that the
    individuals hired from these agencies provide needed skills or talent, and that the agencies are
    partners in the Company’s efforts. In support of that effort, CAM reports adopt that term.

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                Culture Essentials attributes into their respective materials and initiatives. See
                Employee Interview/Call Notes.

        Updates on activities for after the pause include:

            o Training: At the All Brands Group level, the Company is working on a revamped
              Code of Conduct training, and is coordinating with relevant personnel across the
              brands/operating groups to integrate their feedback. See id. The Company is also
              revamping certain shipboard compliance trainings, as discussed in Part III.I.4 below.
              See Culture Summary Governance Document at PCL_ECP00178130.

                    Brands/operating groups have also been developing or updating leadership
                trainings to integrate the Culture Essentials attributes. For example, before the
                pandemic, Holland America Group developed a Management Essentials training,
                which has been updated to include a module on the Culture Essentials. See Employee
                Interview/Call Notes;

            o Performance Evaluations: Each brand/operating group is expected to integrate
              Culture Essentials attributes into the HR lifecycle, including performance evaluations
              for both ship and shoreside employees. See Culture Action Plan at 8. The CAM
              Team understands that Carnival Cruise Line will be the first brand to implement these
              new performance evaluations, using them for 2020 end of year reviews. See
              Employee Interview/Call Notes; and

            o Ambassador Program: Holland America Group started developing a peer-to-peer
              ambassador program in 2019 for shoreside employees. Under this program, Holland
              America Group Ethics & Compliance Program personnel identify employees who are
              interested in receiving additional training on the Code of Conduct, and who are
              willing to serve as resources for other employees. These ambassadors receive initial
              training and are sent “awareness builder” slide decks on a monthly basis. Right now,
              the program is active only at Holland America Group for shoreside employees, but
              the CAM Team understands that it will be expanded across brands/operating groups
              and to the ships. See id.; and

            o Self-Assessments and Surveys: ECI is administering, or planning to administer,
              various self-assessments and surveys, including a High-Quality Program self-
              assessment of the Ethics & Compliance Program and a series of monthly “pulse”
              surveys to small, random groups of ship and shoreside employees “to measure the
              progress of [the Company’s] culture change efforts” in response to the findings of the
              Environmental Compliance Culture Assessment. See Culture Action Plan at 10. The
              CAM Team has raised questions regarding these efforts and is engaging with ECI and
              the Company on these questions.23



    23
       The CAM Team has also requested information about the validity and reliability of the
    relevant survey and assessment instruments.

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        From these workshops, it is clear that the brands/operating groups have been actively leading
         efforts to improve culture and implement the Culture Action Plan, and have been
         increasingly working in tandem with All Brands Group personnel over the past 6-8 months.
         The CAM Team recognizes the hard work and dedication of the involved personnel during
         these challenging times, and will continue to monitor these initiatives with interest.

         3. Ongoing CAM Team Examination

        The CAM Team will continue to monitor how the Company uses its resources to build a
         stronger, sustainable compliance culture, including efforts to respond to the findings of the
         Environmental Compliance Culture Assessment. The Company’s response to date indicates
         a wide range of activity, including promising, significant initiatives that are largely driven by
         the brands/operating groups. At the same time, it reflects the Company’s historically
         decentralized, uncoordinated approach to addressing barriers to compliance. The Company’s
         recent Culture Summary Governance Document recognizes the need for increased
         coordination of culture change efforts, and establishes roles, responsibilities, and
         accountabilities for top leadership, including at the All Brands Group and Boards of
         Directors levels. The CAM Team looks forward to observing how this governance
         framework will function in practice.

         E. Diversity, Equity, and Inclusion

         1. Background

        By the end of ECP Year Two, the CAM Team’s interviews with Company employees and
         business partners around world identified the signal opportunity to support compliance
         efforts through enhancing diversity and inclusion24 among the Company’s ship officers,
         particularly in the engine and deck departments. See CAM Second Annual Report at 54-63.
         At the end of ECP Year Three, the CAM again observed the largely untapped opportunity to
         widen the range of countries and nationalities from which the Company recruits and develops
         future ship officers. See CAM Third Annual Report at 236-43.25

        The Company, including the Carnival Corp. CEO, has acknowledged that there is a
         meaningful connection between creating a diverse, equitable, and inclusive work force and
         building a sustainable culture of compliance. The Company has also stated its intent to
         “strive to increase the diversity of its shipboard workforce across certain positions.” See

    24
      The Company recently expanded its diversity and inclusion efforts to also focus on equity.
    According to the Company’s definitions: diversity is “the representation of a range of
    backgrounds, traits, and experiences in a company’s workforce;” equity is “the fair treatment,
    access, opportunity, and advancement for all people;” and inclusion is “creating an environment
    of involvement, respect, participation and connection.” See Carnival Corporation Diversity,
    Equity, and Inclusion – Scope and Strategy (Jan. 7, 2021) (“DEI Presentation”) at 4. As noted
    above, diversity, equity, and inclusion are collectively referred to as DEI.
    25
      The CAM Team’s focus is primarily on DEI issues impacting shipboard crew, rather than
    shoreside personnel.

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        Status Report by Princess Cruise Lines, Ltd., Dkt. No. 148 (July 12, 2019) at 6; see also
        Employee Interview/Call Notes. Joining the CEO, members of top leadership have made
        public statements about the importance of a diverse and inclusive workforce, including the
        value of diversity as a business imperative. See CAM Third Annual Report at 239-40. The
        Company has also revised its Corporate Vision Statement to include a commitment to “a
        positive and just corporate culture, based on inclusion and the power of diversity.” See
        Corporate Vision Statement, https://www.carnivalcorp.com/leading-responsibly/corporate-
        vision-statement (emphasis added).

       In the past, there had not been a significant, coordinated, centralized effort by All Brands
        Group to launch a long-term program to build a diverse officer corps across the Company’s
        ships. See CAM Third Annual Report at 236.

       Recently, the Company took steps toward greater centralization of its DEI approach. HR
        leaders from across the Company’s brands/operating groups, in coordination with the All
        Brands Group Ethics & Compliance Department and other All Brands Group leaders, have
        developed a proposal for a centralized framework to incorporate DEI into the broader
        corporate culture framework. See supra, Part III.C.2 (discussing the broader Culture Action
        Plan). As discussed in Part III.E.5 below, the framework is a laudable achievement, and the
        individuals involved in its development have expressed passion and commitment to DEI
        goals. The CAM Team looks forward to monitoring whether and how it will be backed up
        by specific timeframes, concrete actions, clear accountabilities, and measurable goals and
        milestones.

        2. Link to Compliance and Business Performance

       The role of DEI in supporting compliance is recognized by the Company’s culture
        consultant, ECI. See e.g., ECI, How to Leverage Workplace Diversity to Increase Regulatory
        Compliance (June 22, 2018), https://www.ethics.org/how-to-leverage-workplace-diversity-
        to-increase-regulatory-compliance/. As DEI becomes the norm throughout an organization,
        it helps to “minimize[] [the organization’s] risk for compliance failure,” while allowing
        individual employees to “improve their immediate, everyday workplace experience.” Id.

           o The findings of the Environmental Compliance Culture Assessment, discussed in Part
             III.D.1 above, indicate that DEI values are not the norm across the Company, as in
             many companies and industries. One theme among free text responses to the culture
             survey was the “need to eliminate harassment or discrimination” onboard, including
             preferential treatment by supervisors for those who share the same nationality or
             those with whom supervisors have romantic relationships. CAM Third Annual
             Report at 241-42 (quoting Environmental Compliance Culture Assessment).

           o These findings are backed up by comments made to the CAM Team throughout the
             ECP by crew members from various positions across the Company, who have
             expressed frustration and disappointment over the longstanding and continuing lack
             of ethnic, racial, and gender DEI within the shipboard officer ranks—including
             allegations of racism and retaliation. See id. at 241.


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       Separate from the moral and compliance imperatives, research indicates that DEI norms
        support a pathway to increase an organization’s profitability, innovativeness, and problem-
        solving abilities. See e.g., World Economic Forum, The Business Case for Diversity in the
        Workplace is Now Overwhelming (Apr. 29, 2019),
        https://www.weforum.org/agenda/2019/04/business-case-for-diversity-in-the-workplace/.

           o The Carnival Corp. CEO has recognized these links, stating that “diversity of thinking
             is a business imperative and competitive advantage . . . In my experience, that diverse
             group will out-solution a homogenous group of people every time, which enables us
             to continually improve in everything we do to provide our guests extraordinary
             vacations at a great value.” M. Juliano, Carnival’s Arnold Donald: ‘Always more to
             do’ on diversity; Coronavirus disruption provides perfect opportunity for cruise
             sector to do better, according to the Society for Diversity, (Oct. 30, 2020),
             https://www.tradewindsnews.com/cruise-and-ferry/carnivals-arnold-donald-always-
             more-to-do-on-diversity/2-1-895969.

        3. Maritime Industry Context

       As described in prior CAM reports, the Company, like others in the cruise industry and the
        maritime industry more broadly, had faced challenges in recent years to recruit and retain
        individuals for shipboard officer positions due to a global shortage of qualified individuals,
        especially engineering officers. See CAM Third Annual Report at 237-38.

       It has been observed that this shortage is connected to issues of ethnicity, race, and gender:

           o Historically, officer positions on cruise ships have been filled predominantly by men
             from Western European countries, while non-officer positions have been filled
             predominantly by men from Asian, South American, or other non-Western European
             countries. See id. at 237 (citing W. C. Terry, Geographic limits to global labor
             market flexibility: The human resources paradox of the cruise industry, 42 Geoforum
             660, 62 (2011)).

           o In addition, the number of women seafarers in the maritime industry across all
             positions has historically been low. According to the International Transport
             Workers’ Foundation, women comprise just 1% of “the global supply of seafarers
             available for service on internationally trading ships.” International Chamber of
             Shipping, ICS Diversity Tracker (Nov. 2020) at 12. On cruise ships, females make up
             on average approximately 20% of the workforce, primarily “represented in service-
             oriented positions.” E. E. T. Bolt and C. Lashley, All at sea: Insights into crew work
             experiences on a cruise liner, 5:2 Research in Hospitality Management 199, 200
             (2015) (citations omitted). It has further been observed that, while “typical” in the
             industry, such conditions “are not an inevitable feature of cruise ship working life,”
             but are “by-products of company recruitment policies and procedures at a corporate
             level; and of shipboard management sensitivity to crew stresses and strains.” Id. at
             206.



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            o It has been recognized that the current shortage of qualified officers is really a
              shortage of qualified European male officers. At a cruise industry conference held in
              the Philippines in late 2018 and attended by Company personnel, attendees raised
              concerns about “the availability of skilled deck officers and engineers, most of
              who[m] until now were sourced in Europe.” J. Boonzaier, Cruise industry concerned
              about skills shortage (Nov. 5, 2018),
              https://www.tradewindsnews.com/passengerships/1624041/cruise-industry-
              concerned-about-skills-shortage. Attendees further noted that “it is becoming
              increasingly challenging to recruit younger generations of Europeans as seafarers as
              there are good job opportunities ashore that fit in with their lifestyle expectations.”
              Id. Panel experts “stressed the need to widen the source base for officers and
              engineers, and to begin investing in training right now.” Id. (emphasis added).

        The CAM has observed that the Company has “an extraordinary opportunity to be a leader in
         addressing historic ethnic, racial, and gender employment disparities in the maritime
         industry, and to address compliance challenges related to labor supply,” through its strong,
         long-standing relationships with many of its Global Talent Partners, including agencies in the
         Philippines, Indonesia, and India. See CAM Second Annual Report at 61; CAM Third
         Annual Report at 238.

        As of 2019, the Company reported that it continued to source its shipboard officers primarily
         from European countries (Italy, the UK, the Netherlands, Germany, and Norway), while the
         remaining (non-officer) crew positions “are sourced from around the world, with the largest
         contingent from the Philippines, Indonesia and India.” Carnival Corp. Securities and
         Exchange Commission Form 10-K (2019) at 20. The Company has asserted “that there are
         limitations created by labor laws, union agreements, and various flag state requirements that
         constrain the company’s ability rapidly to make major changes to the composition of its
         workforce.” CAM March 2020 Quarterly Report at 153 (quoting Company Draft Report
         Comments).26 Overcoming historic barriers and entrenched traditions to achieve diversity
         among its shipboard officer ranks will require a long-term, sustained endeavor at every level
         of leadership.

        Although recent disruptions to the maritime and cruise industries from COVID-19 may
         temporarily ameliorate the global shortage of available qualified ship officers, any sudden

    26
       As of the date of this Report, the Company’s Covered Vessels are registered in five different
    flag states: Bahamas, Bermuda, Netherlands, Panama, and United Kingdom. See November
    2020 Probation Supervision Report, Attachment 4, PCL_ECP00177586-92. The CAM Team’s
    prior review indicated that none of these flag states restrict officer nationality (with the limited
    exception of the Netherlands, which generally requires that ship Captains be either Dutch or
    European Union citizens, but does not appear to restrict the nationalities of other officers). See
    CAM March 2020 Quarterly Report at 153-54. However, these flag states may only accept
    certain Standards of Training, Certification, and Watchkeeping (“STCW”) officer endorsements
    from specified countries. Notably, countries from which STCW officer endorsements are
    accepted generally appear to include countries from which many of the Company’s non-officer
    personnel are recruited, such as the Philippines, Indonesia, and India. See id.

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         glut of available qualified officers due to ships being taken out of service (or to reduced
         staffing levels) is not likely to last. The Company and the industry continue to face the
         likelihood of a long-term (European) officer shortage. Therefore, if there is a true
         commitment to fostering DEI in the officer corps, the need to create a pipeline of talent from
         which the Company can recruit and train officers remains as critical as ever. See CAM Third
         Annual Report at 242.

         4. COVID-19 Impacts

        As a result of COVID-19, the Company has made significant staff reductions, both shipboard
         and shoreside. The CAM Team will continue to seek to learn more about how DEI
         considerations were factored into decisions about who to retain, let go, or furlough, as well as
         how DEI is being considered in decisions about which crew members to bring back to the
         ships. See supra, Part III.D.2.c (discussing the Company’s Bring Back initiative as part of
         the Culture Action Plan).

        The CAM Team will also seek to understand any impacts to employee diversity as a result of
         these staffing decisions, including the extent to which there is a structured, coordinated
         rehiring process that values the rehiring of diverse personnel.

         5. New Centralized C.A.R.E. Framework

        As noted above, the Company’s DEI efforts have historically been led by the
         brands/operating groups, without a centralized, coordinated plan led by All Brands Group.
         Throughout the first three years of the ECP, DEI efforts at the All Brands Group level
         remained unclear, and efforts across the brands/operating groups did not appear consistent or
         coordinated—despite examples of laudable efforts spearheaded by individual brands. See
         CAM Third Annual Report at 240-41.27

        It was not until ECP Year Four that the Company took concrete steps toward centralizing its
         DEI approach. In recent months, HR leaders from across the Company’s brands/operating
         groups were directed to develop a centralized framework for incorporating DEI into the
         broader corporate Culture Action Plan framework, discussed in Part III.D.2 above.

        In December 2020, the Company provided the CAM Team with a presentation on the HR
         leaders’ coordinated proposal for a DEI framework, called the C.A.R.E. framework. The
         framework is designed to require the systematic consideration of DEI or culture impacts
         when making business decisions, and for those decisions to be re-evaluated if there are
         unintended DEI or culture impacts. C.A.R.E means: Consider intended goal to achieve; Ask



    27
      For example, before COVID-19, Costa and Carnival Cruise Line implemented programs to
    source new officers from non-traditional areas, including regions outside of Europe. See id. at
    241; see also Carnival Cruise Line, Diversity & Inclusion, PCL_ECP00173770-810; Costa,
    Costa D&I; Holland America Group, Diversity & Inclusion (Oct. 2020); Carnival UK, Carnival
    UK Diversity and Inclusion initiatives 2017 – 2020.

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         if there is any unintended culture/DEI impact; Rethink actions to mitigate DEI impact; and
         Evaluate how to proceed if mitigation does not fully address. DEI Presentation at 8.28

        The CAM Team understands that this is the first substantial effort to create a coordinated
         approach to DEI across the brands/operating groups, and recognizes the significant efforts
         undertaken to create a collective framework for integrating DEI into decision making
         processes—as well as the passion and commitment to DEI demonstrated by the individuals
         involved in its development. As noted above, the framework itself is a laudable
         achievement, though questions remain about how it will be implemented, including details
         about timeframes, concrete actions,29 accountabilities, and goals and milestones. For
         instance, the CAM Team understands that, in accordance with the Culture Summary
         Governance Document, brand/operating group leaders will oversee “implementation and
         execution” of the framework in each brand, while the All Brands Group Ethics &
         Compliance Department will “monitor the implementation and execution efforts,” including
         for “overall effectiveness” and “to ensure timely progress, general consistency between
         brands,” and “the sharing of information and best practices.” See Culture Summary
         Governance Document at PCL_ECP00178132-33; see also supra, Part III.D.2.b. Until the
         goals of the framework and everyone’s roles within it are better defined, the framework runs
         the risk of not being concrete enough to be impactful.

        It will, of course, take more than a framework to make change—change requires action.
         Examples of corporate best practices for actions to support DEI include: ensuring the
         representation of diverse talent; strengthening leadership accountability and capabilities for
         DEI; enabling equality of opportunity through fairness and transparency; promoting openness
         and upholding a zero-tolerance policy for discriminatory behavior, including through
         effective internal investigations;30 and fostering belonging through unequivocal support for

    28
       To illustrate the C.A.R.E. framework, the Company used the following example of onboard
    firefighters: The Company’s goal is for every firefighter to be able to carry required equipment.
    It proposes a new rule that every firefighter onboard must be able to carry a 50-pound load. An
    examination of the goal indicates an unintended DEI impact: it will likely disproportionately
    affect women. The Company then looks for ways to mitigate the DEI impact. It evaluates the
    weight firefighters need to carry when firefighting, and determines the average is no more than
    25 pounds. Therefore, the Company alters the proposed rule to require every firefighter to be
    able to carry 25 pounds individually, or 50 pounds between two people. See Employee
    Interview/Call Notes.
    29
      “Operational actions” identified in the proposal include: establishing gender-neutral job titles
    and criteria; ensuring DEI is reflected in all training materials; and establishing transparent job
    and promotion criteria. See DEI Presentation at 13. Other, more nebulous, actions include
    developing a communication plan to “raise conscious awareness,” “set expectations,” “trigger
    engagement,” “established DEI as a priority,” and “share best practices across brands.” See id.
    30
      As the CAM has observed, even when the Company’s internal investigators learn of possible
    discrimination or harassment issues, follow-up opportunities may be missed. In one
    investigation, a senior engineer told the investigator that a junior engineer involved in the
    incident “is the only female engineer and may feel excluded.” CAM Third Annual Report at
    195-96 (quoting Incident Analysis Group investigation report). Based on the available records, it
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        multivariate diversity (going beyond gender and ethnicity). See S. Dixon-Fyle, et al.,
        McKinsey & Company, Diversity Wins: How Inclusion Matters (May 19, 2020),
        https://www.mckinsey.com/featured-insights/diversity-and-inclusion/diversity-wins-how-
        inclusion-matters#.

        6. Ongoing CAM Team Examination

       The CAM Team will continue to examine the Company’s efforts to create and implement a
        centralized DEI framework across the Company’s brands. The CAM Team will also
        continue to monitor individual brand/operating group DEI efforts (including programs to
        recruit, train, retain, and promote non-traditional officer candidates), as well as DEI impacts
        resulting from COVID-19-related personnel changes.

        F. Investigations

        1. Background

       In ECP Year One, the CAM made a finding that the “Company’s internal investigations are
        critically flawed.” See CAM First Annual Report at 5, 33-40. The CAM made similar
        findings in ECP Years Two and Three. See Second Annual Report at 43-46; CAM Third
        Annual Report at 180-201. The TPA has made analogous findings. See TPA First Annual
        Report at 3; TPA Second Annual Report at 21-22; TPA Third Annual Report at 5. These
        CAM and TPA findings generally focused on: (1) the lack of (adequate) procedures,
        guidance, or training on causal analysis and basic investigative techniques for All Brands
        Group and brand/operating group-level investigations; (2) the tendency of investigation
        reports to focus on identifying human error rather than also identifying broader systemic,
        organizational causes; (3) the limited independence and authority of the Company’s
        investigative unit to direct and determine investigation assignments and scope, including the
        continued dominant role played by the Chief Maritime Officer (an operations, not
        compliance, function); and (4) the lack of (adequate) procedures, processes, and tools for
        fostering continuous improvement, such as through the tracking and trending of investigation
        findings and the auditing of the internal investigations function. See e.g., CAM First Annual
        Report at 5, 33-40; CAM Second Annual Report at 43-46; CAM Third Annual Report at 180-
        201; Employee Interview/Call Notes.

       These persistent problems have also more broadly impacted the Company’s compliance
        efforts. Without effective analysis of compliance failures, the Company has lacked clarity
        about the nature and scope of the compliance problems it has faced and sought to remedy. A
        remedy must be driven by understanding the many and often varied causes of a problem. For
        instance, was a voyage planning error that led to an improper discharge a training issue, a
        workload issue, an issue arising from unclear procedures, and/or a management of change
        issue in which shoreside personnel did not fully consider the impact of their actions on


    does not appear that the investigator followed up on this potential issue, and the comment was
    not included in the final report. The root cause in the final report was identified as the junior
    engineer’s “attention slip.” Id.

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         ships?31 Under a just culture approach, an organization, while appropriately holding
         individuals accountable, also holds itself accountable for how systems or approaches it
         designs and implements contribute to unwanted behaviors and adverse events. See CAM
         First Annual Report at 30, n.26.32 Without an effective and independent investigations
         function capable of facilitating such an approach, the Company has been impeding its
         compliance efforts.

        As detailed in prior CAM reports, the Company’s efforts to revamp its internal investigation
         program have been subject to repeated delays and detours. See, e.g., id. at 182-83. Since the
         CAM’s Third Annual Report was released in July 2020, however, the Company has made
         progress under the leadership of the newly-appointed head for the corporate-level
         investigations unit, called the Incident Analysis Group. Many initiatives to address the CAM
         and TPA’s concerns are planned or underway, including several that implement
         recommendations recently proposed by an outside law firm engaged to investigate concerns,
         internally reported by Company personnel, about the Incident Analysis Group’s structure and
         independence, discussed in Part III.F.4 below.

        The Company also recently provided the CAM Team with a revised plan for improving its
         internal investigations function. See Carnival Corp., A Revised Plan (“Roadmap”) for
         Improving HESS Investigations at Carnival Corporation & Plc and its Brands (Jan. 7, 2021)
         (“Roadmap”). The Roadmap establishes that the “primary mandates” for the Incident
         Analysis Group are “to conduct high-quality and rigorous investigations (through a ‘just and
         fair’ methodology) that will deliver timely reports that avoid the rush to blame and achieve
         the dual goals of ‘learning’ and ‘accountability.” Id. at 1. It also sets out “specific changes”
         that have been implemented and timeframes “for other improvements that are underway.”
         Id. Relevant aspects of the Roadmap are discussed in the following sections. The CAM
         Team looks forward to continuing to monitor its implementation. It will be crucial to see
         how these efforts are carried out in the coming weeks and months.




    31
      For example, one internal investigation report attributed the cause of an illegal sewage
    discharge to an oversight failure by a bridge officer who was distracted, in part, by “an IT project
    team visit to the Bridge.” See CAM December 2019 Quarterly Report at 50, n.34 (quoting HESS
    Report to the Boards of Directors). The report identifies several corrective actions, including re-
    briefing of relevant personnel on “maintaining situational awareness and avoiding distractions,”
    but fails to include any causal findings or corrective actions related to the deployment and
    scheduling of project teams by shoreside personnel. See id.
    32
       As the CAM has observed, “individual accountability is important (especially if there has been
    intentional wrongdoing), but a focus on individual errors without also identifying or addressing
    potential systemic causes can foster a culture of blame and fear, attributes of the Company’s
    culture found throughout its brands in the Propel Environmental Compliance Culture
    Assessment.” CAM Third Annual Report at 196.

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        2. Personnel Updates

               a. NEW INCIDENT ANALYSIS GROUP HEAD

       In September 2020, the Company appointed a new individual to lead the Incident Analysis
        Group, whose formal job title is Senior Vice President, Deputy Chief Ethics & Compliance
        Officer and Head of the Incident Analysis Group (“Incident Analysis Group Head” or
        “Head”). See Job Description. The individual appointed to this position previously served as
        the Operating Line Compliance Manager for Carnival UK and has a background in
        “maritime, investigations and governance.” Roadmap at 1.

       The new Incident Analysis Group Head has “a clear mandate to carefully examine the past
        challenges, to review the current capabilities and processes, and to develop a plan to further
        strengthen” the Incident Analysis Group function. Id. The job description states that the
        position will have “full authority to carry out independent investigations throughout the
        corporation that involve the maritime Health, Environmental, Safety and Security areas.”
        Job Description at 1. The Roadmap further specifies that the Head “has the authority to
        identify investigation teams and assign investigation responsibilities based on the incident
        severity level, arrange for any additional expertise needed to assist with the Investigation
        such as subject matter experts or externally sourced consultants, oversee the development of
        recommendations from investigations and, importantly, to ensure that the investigation work
        performed is independent.” Roadmap at 1-2. At the October 16, 2020, Status Conference,
        the Incident Analysis Group Head informed the Court that he “own[s] [the Incident Analysis
        Group] in terms of the . . . product . . . in terms of assigning, investigators, in terms of
        deciding what’s going to be investigated, at what level, that will be my decision.” Status
        Conf. Tr. at 45 (Oct. 16, 2020).

       In addition to leading the Incident Analysis Group, the Head will oversee the compliance risk
        function, and assist the Chief Ethics & Compliance Officer as Deputy “by supporting the
        open communications with operating companies, as well as helping to implement the overall
        [Ethics & Compliance] Program.” Job Description at 1.

       The CAM Team has heard positive reports from Company personnel regarding the leadership
        and engagement of the new Incident Analysis Group Head. See Employee Interview/Call
        Notes.

               b. INCIDENT ANALYSIS GROUP STRUCTURE

       As discussed in Parts III.F.3-4 below, in response to concerns about Incident Analysis Group
        structure and independence, the group is now positioned directly under the Chief Ethics &
        Compliance Officer, who has direct communication and a reporting line to the Compliance
        Committee of the Boards of Directors.

               c. OTHER PERSONNEL UPDATES

       The Incident Analysis Group currently has seven investigators. See Employee Interview/Call
        Notes. Three former investigators were let go during pandemic-related cutbacks, and one

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         new investigator was recently hired. Id. In addition, in August 2020, the Incident Analysis
         Group seconded a RAAS manager to assist with investigations. Id. The Company plans to
         hire at least two more investigators in the coming months. See Roadmap at 2.

        Other positions that have been added, or approved in the 2021 financial plan, are: Director of
         Incident Analysis Group Training (added in October 2020, to be converted to a 12-month
         contract in February 2021); Director of Program Implementation and Quality Assurance (to
         be advertised); Superintendent, Technical Editor (advertised); and Administration Support (to
         be advertised). See id. The Company is also evaluating whether a new position “is needed to
         help investigators to strengthen the investigative techniques that are provided through more
         traditional law enforcement training.” Id.

         3. CAM and TPA Concerns Regarding Response to Hotline Complaints

                a. CAM CONCERNS ABOUT COMPANY RESPONSE TO HOTLINE COMPLAINTS REGARDING
                   INCIDENT ANALYSIS GROUP STRUCTURE AND INDEPENDENCE

        In July 2020, the Company received hotline complaints which alleged concerns about the
         structure and independence of the Incident Analysis Group function (“Incident Analysis
         Group Hotline Complaints”). See, e.g., Environmental Open Report #41-2020,
         PCL_ECP00167625021-28.33

        The Company hired an outside law firm to investigate these complaints. The law firm
         prepared a final investigation report that was directed to the Carnival Corp. General Counsel
         and the Carnival Corp. Vice President, Global Ethics & Compliance. It was submitted to the
         Interested Parties, CAM, and TPA on September 25, 2020. See Outside Counsel, Hotline
         Complaints: Report and Recommendations (Sept. 24, 2020).

        The CAM Team found this initial report to be deficient in numerous respects, including that
         it appeared to be narrowly scoped, internally inconsistent, and to contain unsupported
         opinion-based assertions.34 On October 8, 2020, the CAM sent a letter to the Company
         outlining these concerns, and requesting documents and information related to the complaints
         and the Company’s investigation process. See Letter from CAM to Chief Ethics &
         Compliance Officer Regarding Incident Analysis Group (IAG) and Recent Hotline
         Complaints Assessment (Oct. 8, 2020), attached as Appendix F.35

        On October 15, 2020, the Company informed the CAM that the Compliance Committee of
         the Boards of Directors had engaged a new outside law firm to “conduct a fresh review of the

    33
      Another related complaint was received in October 2020. See Environmental Open Report
    #44-2020.
    34
     The CAM notes that the initial investigation occurred before the new Incident Analysis Head
    was appointed.
    35
      On December 16 and 22, 2020, the CAM Team received numerous emails and records in
    response to the October 8, 2020, document and investigation request. The CAM Team is
    reviewing these materials.

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         work that had been done by the [prior] firm, to supplement the initial investigation as
         necessary, and to prepare a report that, among other things, addresses the concerns raised” by
         the CAM. See Letter from Outside Counsel to CAM, United States v. Princess Cruise Lines,
         Ltd., No. 1:16-cr-20897 (S.D. Fla.) (Oct. 15, 2020). At the October 16, 2020, Status
         Conference, the Court sought a “postmortem on how that first decision was made, as to who
         was selected to do the investigation and what were the lessons learned from that.” Status
         Conf. Tr. at 51 (Oct. 16, 2020).

        On December 14, 2020, the CAM Team received the final investigation report prepared by
         the second law firm, which includes a series of findings and recommendations, as discussed
         in Part III.F.4 below. See Outside Counsel, Internal Investigation Report: Issues Related to
         the Incident Analysis Group, Prepared for the Compliance Committee of Carnival
         Corporation’s Board of Directors (Dec. 15, 2020) (“Outside Counsel Report on Incident
         Analysis Group Issues”).

        The scope of the Outside Counsel Report on Incident Analysis Group Issues does not include
         “a post-mortem on the [initial] report.” Id. at n.1. The analysis sought by the Court is being
         conducted by outside counsel for the Compliance Committee of the Boards of Directors.
         Results are pending. See Company Comments on Draft Report.

                b. TPA CONCERNS ABOUT COMPANY RESPONSE TO OTHER RECENT HOTLINE
                   COMPLAINTS

        The TPA has expressed concerns to the Company regarding its response to other recent
         hotline complaints, including concerns that:

            o While the ECP requires the Incident Analysis Group to investigate environmental
              hotline complaints, see ECP § III.C.1.b, the Incident Analysis Group appeared to
              “stand down” from investigating a hotline complaint alleging an oil leak from a
              Company ship after communications from senior operations personnel that the
              substance was soot, not oil. See Letter from TPA to Chief Ethics & Compliance
              Officer, #ABSG/CC-062 (Oct. 18, 2020) at 1;

            o Investigations, in particular hotline investigations, “may be too narrowly scoped”—
              for instance, by primarily focusing on substantiating if allegations were correct—
              which “ultimately limits the ability to review issue[s] that may be raised by the
              complaint.” Id.; and

            o Investigations did not appear to examine all issues raised by the complaints. See id.
              at 1-3; see also Letter from TPA to Chief Ethics & Compliance Officer, #ABSG/CC-
              058 (Aug. 21, 2020); Letter from TPA to Incident Analysis Group Head, #ABSG/CC-
              035 (Dec. 9, 2020).36



    36
      The CAM notes that the investigations at issue in the TPA’s letters occurred before the new
    Incident Analysis Head was appointed.

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        The Incident Analysis Group Head has responded to the TPA that:

            o Outside counsel would undertake a new investigation of the alleged oil leak, which
              would address a number of the TPA’s inquiries. See Letter from Incident Analysis
              Group Head to TPA, Response to Request for Additional Information (Oct. 28,
              2020);37

            o Going forward, the Incident Analysis Group will be assigned to investigate all
              environmental hotline complaints, pending further review and clarification of
              differing interpretations within the Company of the relevant ECP provision. Id. at 2;
              and

            o Efforts are being made to reinforce a message that the primary focus of investigations
              is not to “to substantiate if the allegations were correct.” Letter from Incident
              Analysis Group Head to TPA, Investigation Reports (Jan. 18, 2021) at 2. For
              example, in October 2020, a three-day continuous improvement workshop was held
              with the Incident Analysis Group, and Continuous Improvement workshops are
              scheduled to take place every two months beginning in February 2021 where “this
              critical point will continue to be reinforced.” Id.; see also Roadmap at 6.

         4. Outside Counsel Report on Incident Analysis Group Issues

                a. OVERVIEW

        The Outside Counsel Report on Incident Analysis Group Issues reviews the Incident
         Analysis Group Hotline Complaints and addresses certain of the CAM and TPA concerns
         discussed above. Ultimately, the report recommends that the Company provide the Incident
         Analysis Group with independence from the corporate operations function, while still
         allowing designated operational personnel to provide technical expertise in a consultant-like
         manner. See Outside Counsel Report on Incident Analysis Group Issues at 3.

        In addition, the report recommends a structure in which the Incident Analysis Group falls
         directly under the leadership of the Incident Analysis Group Head, the Chief Ethics &
         Compliance Officer, and, importantly, the Compliance Committee of the Boards of
         Directors. See id. at 3, 23. The CAM Team understands that this recommended structure is
         in place. The CAM Team will continue to monitor how this structure, along with other
         changes in response to the report’s findings and recommendations, impacts the independence
         and effectiveness of the internal investigations function.

                b. FINDINGS AND RECOMMENDATIONS

        The report’s other findings and recommendations can be categorized under the following
         topics: (1) Incident Analysis Group independence; (2) blame culture; (3) root cause analysis;
         (4) overall quality of investigations and reports; (5) hotline complaint investigations, and

    37
      The outside counsel for this investigation is the same outside counsel that conducted the
    second investigation into the Incident Analysis Group Hotline Complaints.

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       (6) brand/operating group-level investigator training and independence. They include the
       following recommendations:

          o Limit and Define Distribution of Draft Reports and Comments. The distribution of
            draft investigation reports should be limited to a defined set of stakeholders. See id.
            at 3-4;

          o Conduct a Bi-annual Review of Global Issues. Every six months, designated
            personnel, including representatives from the Boards of Directors, should meet to
            review “global” issues identified in investigation reports from the prior two years,
            including similar incidents, preventive actions, and opportunities for modifications to
            training and procedures. See id. at 4;

          o Designate Subject Matter Experts to Review Investigation Reports. A list of internal
            subject matter experts should be formalized that investigators can contact for
            appropriate input and advice. See id.;

          o Reinforce a Constructive Tone at the Top. Those in senior management must take
            care not to foster a blame culture in any way, including in the wording of constructive
            criticism. See id. at 8, 10;

          o Clarify the Definition of Root Cause. The term should be defined to mean: “All
            contributing factors to an incident in order of priority, if priority can be established.”
            See id. at 7, 21, 29;

          o Expand the Incident Analysis Group Investigator Ranks with Former Federal
            Agents and a Mix of Investigative Backgrounds. The Incident Analysis Group
            should hire classically trained investigators, such as former federal agents, to
            supplement the existing Incident Analysis Group investigators, who have primarily
            maritime backgrounds. See id. at 5;

          o Provide Classic Investigative Training for Incident Analysis Group Investigators.
            Investigators should receive classic investigative training, such as that received by
            former FBI agents. See id. at 5-6;

          o Create a Single Investigative Guidelines Manual. The Incident Analysis Group
            should create one investigative guidelines manual which should address, among other
            areas: basic investigative techniques; identification and prioritization of contributing
            factors, including systemic causes; and implementation and verification of corrective
            action plans. See id. at 29-30;

          o Address Broader Systemic or Fleetwide Issues in Separate Incident Analysis Group
            Reviews. The Incident Analysis Group should identify issues with fleet-wide
            implications that may not be appropriate for a single report, and separately address
            them or bring them to the attention of management and/or the Boards of Directors.
            See id. at 6;



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            o Designate Brand/Operating Group and Ship Personnel to Assist in Investigations.
              Brand/operating group and ship personnel should receive basic investigative training,
              be assigned to appropriate Incident Analysis Group investigations, and report directly
              to the Incident Analysis Group for such investigations. See id. at 8;

            o Place Oversight Over Corrective Actions with the Ethics & Compliance Program.
              The Ethics & Compliance Program should oversee and monitor corrective action
              plans and due dates. See id. at 25; and

            o Designate the Incident Analysis Group as the Default Investigative Body for All
              Environmental Issues. For any incident involving environmental issues, whether a
              hotline complaint or otherwise, the default investigators should be the Incident
              Analysis Group. Id. at 8. If an incident is reassigned, the newly assigned
              investigator(s) must affirm in writing that they have accepted the matter. See id.38

         5. Other Initiatives

                a. INVESTIGATION MANUAL AND PROCEDURES

        The Company is in the process of crafting an investigations manual, for use by all HESS
         investigators who conduct Level 3 and Level 2 investigations,39 that will include basic
         investigative techniques and guidance, as recommended in the Outside Counsel Report on
         Incident Analysis Group Issues. See Employee Interview/Call Notes; Roadmap at 5. The
         Company expects to complete the manual by March 2021. See Company Comments on
         Draft Report. An abbreviated version of the manual will be created for shipboard use.
         Roadmap at 5.

        In response to additional recommendations from the Outside Counsel Report on Incident
         Analysis Group Issues, the Company plans the following revisions to its internal
         investigation procedures:

            o Specifying “a documented stakeholder review process for individual investigation
              reports” by the end of February 2021. Id. at 4;



    38
      This recommendation is reiterated in the supplemental review performed by outside counsel in
    response to the TPA’s concerns, noted above, about the Company’s handling of a hotline
    complaint alleging an oil leak. See Outside Counsel, Supplemental Report (Dec. 31, 2020) at 5.
    39
      The Company’s internal procedures establish three levels of incident/event severity. Level 3
    incidents are the highest level and are assigned to the Incident Analysis Group. Level 2 incidents
    are typically assigned to brand/operating group investigators (although, as discussed below, the
    Company is providing Level 2 investigations training to Environmental Officers). Level 1
    incidents are typically assigned to shipboard investigators. See CAM Third Annual Report at
    183-84.



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           o Establishing a roster of subject matter experts by the end of January 2021 that will be
             “kept up to date within Global HESS,” with any input from these experts “limited to
             correcting any factual errors or omissions.” Id.;

           o Formalizing the Incident Analysis Group’s role in maintaining “line of sight” over
             brand/operating group investigations by requiring that the Incident Analysis Group
             “sign off” on draft reports for Level 2 investigations. Id. at 6. Relatedly, the Incident
             Analysis Group will begin holding monthly meetings with investigation leads within
             the brands/operating groups in January 2021. Id.;

           o Reviewing, and, if necessary, revising existing procedures “to ensure that global
             issues such as proposed significant policy changes may be discussed and agreed” by
             the end of March 2021. Id. at 5. The review will include consultation with ships “to
             solicit input on methods of disseminating lessons learned.” Id. In addition, the
             Incident Analysis Group plans to “establish a regular program to engage with selected
             ships to ensure open communications and direct feedback from the fleet about how to
             improve ship-board HESS investigations.” Id. at 6; and

           o Reviewing existing procedures and collaborating with RAAS on agreed protocols to
             “ensure that [corrective] action plan completion is monitored and verified” by the end
             of February 2021. Id. at 5.

       As noted above, following concerns raised by the TPA, the Company revised its internal
        investigation procedures in November 2020 to assign all environmental hotline complaints to
        the Incident Analysis Group. See id.; Letter from Incident Analysis Group Head to TPA,
        Response to Request for Additional Information (Oct. 28, 2020) (noting that, pending further
        review, the Incident Analysis Group will investigate all environmental hotline complaints);
        see also Letter from Incident Analysis Group Head to TPA, Investigation Reports (Jan. 18,
        2021) (noting that “a draft set of Hotline procedures” is expected to be finalized by the end of
        January 2021). This partially implements the recommendation from the Outside Counsel
        Report on Incident Analysis Group Issues to assign any incident involving environmental
        issues, whether a hotline complaint or otherwise, to the Incident Analysis Group by default.
        See Outside Counsel Report on Incident Analysis Group Issues at 8.

       The CAM Team understands that the Company continues to revise and refine its
        investigation procedures. See Roadmap at 4-5. In future reports, the CAM plans to assess
        how the Company incorporates recommendations from the Outside Counsel Report on
        Incident Analysis Group Issues into these revisions.

               b. TRAINING AND COMPETENCIES

       The Company continues to conduct its Environmental Excellence training for Environmental
        Officers. The most recent iteration of this course, which is being delivered virtually during
        the pause, provides Level 2 investigations training to Environmental Officers. The CAM
        Team’s observations on this course are detailed in Part III.I.2.b below and in Appendix C.
        The Company reports that it is “also exploring possible ways to improve investigative
        training for other nominated ranks onboard and personnel ashore who are responsible for

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        conducting Level 1 & Level 2 investigations.” Roadmap at 6. This review is expected to be
        completed by the end of January 2021. Id.

       The Company has hired, on a contract basis, a Director of Training to develop competency
        frameworks for Incident Analysis Group investigators. The competency frameworks will
        define requirements for new investigators (such as particular skills or training), as well as
        outline requirements for the continued professional development of existing investigators.
        See Employee Interview/Call Notes; Roadmap at 3.

       The new Director of Training is also working with third-party vendors on a report writing
        training that is expected to begin in February 2021. See Employee Interview/Call Notes;
        Roadmap at 3. This training will be accompanied by “a standard investigation report
        template and report writing procedures which will be published by January 31, 2021.”
        Roadmap at 3.

       In response to a recommendation from the Outside Counsel Report on Incident Analysis
        Group Issues, the Company is also “planning to develop a training course that will strengthen
        the investigation techniques that are often provided in more traditional law enforcement
        training programs.” Id.

       The Company reports that “[a]dditional courses and training will be continuously
        developed,” including in response to feedback from the bi-monthly Incident Analysis Group
        Continuous Improvement workshops that will begin in February 2021. See id. at 3, 6.

       In future reports, the CAM plans to assess how the Company incorporates recommendations
        from the Outside Counsel Report on Incident Analysis Group Issues into its competency
        models and training.

               c.   DATA MANAGEMENT AND TRACKING

       The Company launched a new software database platform in December 2020 to assign and
        track Incident Analysis Group investigations, including investigation descriptions, root cause
        analysis findings, and corrective and preventive actions. The CAM Team understands that
        the Incident Analysis Group has begun to populate the database with data from recent
        investigations, and is working to identify resources to backfill data from older investigations.
        The database will link to other software designed to enable the creation of unique dashboards
        to track, trend, and communicate data. While the database has the functionality to track and
        trend data from brand/operating group and ship investigations (i.e., Level 1 and Level 2
        investigations), the Company has not yet decided whether the platform will be used for this
        purpose. See Employee Interview/Call Notes. The database is expected to go live by the end
        of February 2021. Roadmap at 5. If successfully implemented, the database could help the
        Company trend data to better identify, manage, and prevent repeat incidents.

       The CAM Team understands that Level 1 and Level 2 investigations will continue to be
        tracked in SeaEvent. SeaEvent includes a tool, known as the Root Cause Analysis Map,
        designed to facilitate causal analysis of these lower-level incidents. During ship and
        shoreside visits, however, personnel have reported to the CAM Team that SeaEvent, and the

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         Root Cause Analysis Map, is difficult to navigate, time-consuming, and does not provide the
         appropriate depth of analysis. See Employee Interview/Call Notes. In response to these
         concerns, the Company is working to develop a streamlined version of the Root Cause
         Analysis Map, which would simplify the terms used and make it easier to navigate the
         platform. The Company reports that the revised module is being rolled out on a staggered
         basis across the brands/operating groups and All Brands Group, with full roll-out expected to
         be complete by early February 2021. See Pause Priorities Plan, PCL_ECP00177469 at 15;
         Company Comments on Draft Report; see also infra, Part III.J.3.e.

                d. INVESTIGATIONS WORKING GROUP

        The Company announced in an early version of the Pause Priorities Plan that it would
         establish an Advisory Council, made up primarily of brand/operating group representatives,
         to “oversee” the Incident Analysis Group. See CAM Third Annual Report at 189 (quoting
         Draft Pause Priorities Plan). The CAM expressed concerns that placing oversight of
         investigations under the control of an Advisory Council would be unlikely to produce an
         independent and effective investigative function, along with concerns that there was no
         guidance or criteria setting forth the Council’s mandate or defining the scope of the Council’s
         oversight. See id. at 189-90.40 In response to these concerns, the Company changed the
         name of the Advisory Council to a Working Group to “clarify that the purpose[] of the group
         is to provide guidance on investigative process, not to oversee the work of [the Incident
         Analysis Group], or to influence any particular investigations.” CAM Third Annual Report
         at 190 (quoting Company Comments on Draft Report).

        The Working Group continues to meet quarterly. It is chaired by the new Incident Analysis
         Group Head, and its members are comprised of brand/operating group investigation
         coordinators. The CAM Team understands that the Working Group’s main goals are to
         facilitate the sharing of best practices among the brands/operating groups and to promote
         consistency in brand/operating group support of Incident Analysis Group investigations. See
         Employee Interview/Call Notes.

                e. CONTINUOUS IMPROVEMENT

        As noted above, a program of bi-monthly Incident Analysis Group Continuous Improvement
         workshops will begin in February 2021. See Roadmap at 6.

        The Company “will also explore the option” of having the Incident Analysis Group
         investigation process externally certified to an international standard (known as the “ISO-




    40
       These concerns are reflected in the recommendation from the Outside Counsel Report on
    Incident Analysis Group Issues to provide the Incident Analysis Group with independence from
    the corporate operations function. See, e.g., Outside Counsel Report on Incident Analysis Group
    Issues at 3, 10.

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         9001 Quality Management System” standard). Id.41 This review is expected to be completed
         by the end of the second quarter of Fiscal Year 2021. Roadmap at 6.

                f. AUDITING THE INTERNAL INVESTIGATIONS FUNCTION

        As the CAM has observed, it is critical that the Company implement a comprehensive
         process for evaluating the effectiveness of its investigations function. See CAM Third
         Annual Report at 197-98. The Company has targeted the third quarter of Fiscal Year 2021
         for RAAS to begin auditing the Incident Analysis Group. Roadmap at 6. The CAM Team
         will continue to monitor this effort.

         6. Ongoing CAM Team Examination

        The CAM Team will continue to monitor the Company’s efforts to improve its internal
         investigations function. A key area of focus will be the Company’s efforts to review and
         implement recommendations from the Outside Counsel Report on Incident Analysis Group
         Issues. The CAM Team’s examination will include: (1) the function and structure of the
         Incident Analysis Group, including its independence, authority, and resources; (2) the
         revision, implementation, and effectiveness of investigation procedures; (3) the process for
         identifying and classifying matters for investigation, including individuals responsible for
         making such determinations and the timeframes for making them; (4) training for the
         Incident Analysis Group, brand/operating group, and ship investigators; (5) the guidance and
         training for causal analysis used by the Incident Analysis Group, brand/operating group, and
         ship investigators; (6) the implementation of corrective and preventative actions and how
         these actions are monitored for effectiveness; and (7) the process for disseminating
         investigation results and lessons learned to corporate leadership, including the Boards of
         Directors, and relevant All Brands Group, brand/operating group, and ship personnel across
         the fleet.

        The CAM Team acknowledges that reviewing and implementing the recommendations in the
         Outside Counsel Report on Incident Analysis Group Issues will require the investment of
         funds, resources, and time. The CAM will look to the Company to provide firm timelines,
         action plans, and accountabilities for implementing applicable recommendations.




    41
      The ISO-9001 standard “sets out the criteria for a quality management system” and is “based
    on a number of quality management principles,” including “the motivation and implication of top
    management, the process approach and continual improvement.” See ISO 9000 Family Quality
    Management, https://www.iso.org/iso-9001-quality-management.html.

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         G. Food Waste Management (Prohibiting Plastic and Non-Food Item Discharges)

         1. Background

        In June 2019, the Company pleaded guilty to a probation violation for an illegal discharge
         into the ocean of non-food items—including plastic—mixed with food waste,42 along with a
         failure to accurately record this discharge. Dkt. No. 134 at 11. These actions violated the
         International Convention for the Prevention of Pollution from Ships (“MARPOL”), which
         generally prohibits the discharge of all garbage,43 including all plastics, into the sea. See
         MARPOL Annex V, Reg. 3.1-3.2.44 Further review confirmed that the discharge of food
         waste comingled with non-food items was a Company-wide issue. See CAM March 2020
         Quarterly Report at 90-91. Further review also revealed that the food waste stream is not the
         only mechanism through which plastics and other non-food items are discharged to the sea.
         Such items may also be discharged via grey water systems, as discussed in Part III.G.4.e
         below.45

        As discussed in prior CAM reports, as early as February 2018, in responses to the ECP-
         required Fleet Engineering Survey, the Company’s employees identified the problem of
         ongoing discharges of plastics and other non-food items commingled with food waste, due to
         inadequate onboard waste sorting and disposal processes. See CAM March 2020 Quarterly
         Report at 89-90. However, the Company’s top leadership did not focus on this issue until it
         faced probation revocation in March 2019. See id.; CAM Third Annual Report at 108, n.66.

        Failing to recognize and address this problem sooner reflects a tendency by the Company’s
         top leadership to view incidents as discrete acts by individual actors, and not as the result of
         inadequate systems and processes. Such a view is compounded by the Company’s



    42
       References to food waste in this section generally refer to “soft” food waste (such as wet food
    scraps and other digestible items), and not to “hard” food waste (such as bones, shells, and tough
    fruit/vegetable skins).
    43
      Garbage is broadly defined under MARPOL to include, among other things, “domestic wastes
    and operational wastes” and “all plastics,” with certain exceptions that do not apply here. See
    MARPOL Annex V, Reg. 1.9.
    44
      Although MARPOL permits the discharge of food waste under specified conditions, see, e.g.,
    MARPOL Annex V, Reg. 4.1.1-4.1.2, whenever food waste or other garbage is “mixed with or
    contaminated by other substances prohibited from discharge [e.g., plastics] or having different
    discharge requirements, the more stringent requirements shall apply.” MARPOL Annex V, Reg.
    4.4. Therefore, a food waste discharge that would otherwise be permitted under MARPOL is not
    permitted if the food waste is contaminated with plastics or other non-food items that cannot be
    legally discharged.
    45
      Plastics and other solid items may also be dropped, thrown, blown, or otherwise lost
    overboard, whether intentionally or accidentally—a separate issue beyond the scope of this
    section.

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         longstanding lack of robust systems for internal investigations (including root cause
         analysis), risk assessment, data management and analysis, and management accountability.

        In connection with its guilty plea, the Company admitted the need to improve the
         management of food waste on its ships to prevent discharges of plastics and other non-food
         items, and agreed to take actions to prioritize this issue, including:

            o Establishing a Food Waste Task Force and two Food Waste Tiger Teams;46

            o Implementing a three-part program to improve its food waste management practices,
              which addresses: (1) training, supervision, staffing, and culture improvements;
              (2) reducing single-use plastics and food waste onboard; and (3) technology and
              design improvements;

            o Committing to: (1) reduce the purchase and consumption of single-use plastic items
              onboard its ships by 50% by December 31, 2021; and (2) reduce the total weight of
              food waste generated onboard its ships by 10% by December 31, 2021;

            o Committing a minimum of $20 million in capital expenditures throughout the
              remainder of probation to optimize food waste management; and

            o Submitting a range of plans, reviews, and assessments, including: (1) a Food Waste
              Management Implementation Plan for developing improved procedures, training,
              signage, and media; (2) a Food Waste Technical Review of food waste disposal
              technologies; (3) a Food Waste Optimization Plan for optimizing food waste
              management, including food waste disposal systems and processes; (4) a third-party
              Food Waste Workload Assessment of the staffing levels for both the operational and
              compliance aspects of food waste management; and (5) a Food Waste Workload
              Assessment Response Plan in response to the third-party assessment. See CAM Third
              Annual Report at 73-74, 107-22.

        At the end of ECP Year Three, the CAM made a finding that, by early 2020, “under the
         leadership of the Environmental Corporate Compliance Manager, the Company was making
         tangible progress on improving its food waste management.” Id. at 73. Before the onset of
         the pandemic, the Company’s preliminary data from January 2020 indicated that it was on
         track to meet its Probation Revocation Agreement commitments to reduce single-use plastics
         and food waste weight onboard. The Company had also begun a program to install food
         waste digesters on the majority of its ships, which the Company’s prior reviews and



    46
      Tiger Team” is a term of art that arose from aeronautics in the 1960s to describe a team of
    technical experts who are given unrestricted freedom to track down and assess all possible
    sources of failure in a system, and to develop solutions. The term is “generally applied to a high-
    functioning team of specialists who come together to complete a specific project.” See What is a
    Tiger Team Approach?, https://trextel.com/what-is-a-tiger-team-approach-how-to-successfully-
    launch-technology-and-save-space-missions-too/.

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        assessments had concluded were the best technology option for addressing its food waste
        management challenges. See id.

       Other notable accomplishments discussed in prior CAM reports include:

           o Developing and implementing a revised procedure on food waste segregation and
             disposal that streamlines and standardizes aspects of food waste management across
             the Company’s brands/operating groups, based on feedback from Food Waste Tiger
             Team ship visits;

           o Implementing enhanced reporting and tracking of food waste management
             performance through food waste dashboards; and

           o Hosting a “Food Waste Shuffle” music video competition, with over 70 videos
             submitted from ships and shoreside offices across the Company’s brands/operating
             groups. See id. at 116-17.

       The pandemic continues to have major impacts on nearly all aspects of ship operations,
        including food waste management, which is likely to result in significant changes in the
        processes for preparing, serving, and disposing of food and associated wastes. See id. at 111-
        12. The full nature and extent of these impacts, including whether they may affect the
        Company’s ability to meet its Probation Revocation Agreement commitments, is still
        evolving, as discussed in the following sections.

        2. Progress Toward Single-Use Plastic Reduction Goal

               a. BACKGROUND

       Before the pandemic, the Company’s preliminary data from January 2020 indicated that it
        was on track to meet its Probation Revocation Agreement commitment to reduce single-use
        plastics onboard by 50% by December 31, 2021. See id. at 110.

       The Company describes single-use plastic items as including “straws, cups, lids, stir sticks,
        cutlery, cocktail picks, tooth picks, butter packets, serving sauce packets, honey packets,
        sugar packets, sweetener packets, plastic bags in retail stores, Company provided Q-tips,
        Company-provided individual shampoo bottles, plastic garbage bags in cabins, and balloons
        used during outdoor events.” Dkt. No. 134 at 7.

       The Company is taking a two-tiered approach to reducing single-use items onboard its ships:

           o A first tier, which is complete, focused on removing small items and items with
             obvious substitutes, such as: plastic cutlery/cups/straws/stirrers/lids; plastic bags in
             retail stores; and balloons; and

           o A second tier, which is not yet complete, focused on removing all other single-use
             plastic items, such as: individual amenity bottles (e.g., lotion, shampoo); plastic
             garbage bin liners and laundry bags; individual sauce/condiment packets; individual


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               plastic yogurt containers; and plastic cling wrap. See CAM March 2020 Quarterly
               Report at 45, 98-100.

                  The Company reports that, due to the pandemic, its internal deadline for
               completing the second tier has been pushed back from October 2020 to October 2021.
               See Sustainability Single Use Items Global Meeting (Oct. 5, 2020),
               PCL_ECP00174038-50 at PCL_ECP00174039.

       As observed in the Company’s Food Waste Technical Review, reducing or eliminating
        single-use plastics onboard is an “important goal” because “the most effective way to stop
        plastic from being discharged into the ocean is to avoid using it onboard in the first place. If
        plastic ends up in a pulper/vacuum system, it will likely be macerated into smaller pieces that
        might be indistinguishable from the organic matter it is blended with.” Food Waste
        Technical Review at 2.

               b. UPDATES

       As of October 2020, the Company reported that, based on comparing aggregated
        procurement data from a 12-month baseline period in 2018 to the 12-month period of June
        2019 through May 2020, both plastic and non-plastic single use items have been reduced
        onboard by a fleetwide average of approximately 63%. See Sustainability Single Use Items
        Global Meeting (Oct. 5, 2020), PCL_ECP00174038-50 at PCL_ECP00174042. As of
        December 2020, this figure for the 12-month period of December 2019 through November
        2020 was approximately 88% (plastic items) and approximately 89% (non-plastic
        items). See Sustainability Single Use Items Global Meeting (Dec. 14, 2020),
        PCL_ECP00177292-305 at PCL_ECP00177294-95.

       This data indicates that the Company continues to be on track to meet its Probation
        Revocation Agreement goal of achieving a 50% reduction by the end of 2021.

       The Company reports that, although new COVID-19 public health and safety protocols may
        require the re-introduction of some single-use items (such as plastic bags for garbage bins or
        laundry, plastic cling wrap, individual sauce/condiment/sugar/butter packets, or individual
        yogurt containers), it expects “[m]inimal changes” to its current approach as a result. See id.
        at PCL_ECP00177302; Employee Interview/Call Notes. The Company expects that any
        increases in onboard single-use items as a result of health and safety protocols will be offset
        by reductions of other items, without compromising the Company’s ability to meet its
        Probation Revocation Agreement commitment. See id.

        3. Progress Toward Food Waste Weight Reduction Goal

               a. BACKGROUND

       Before the pandemic, the Company’s preliminary data from January 2020 indicated that it
        was on track to meet its Probation Revocation Agreement commitment to reduce the total
        weight of food waste generated on its ships by 10% by December 31, 2021. See CAM Third
        Annual Report at 110. The Company has set an internal goal of achieving a 20% reduction,

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        going beyond the Probation Revocation Agreement commitment. See ECP-MSM-A26: Food
        Waste Reduction Performance Update (Sept. 15, 2020).

       Company procedures require each ship to measure and report, on a quarterly basis, the
        weight of food waste generated on board over a consecutive 14-day period, to take place in
        January, April, July, and October each year. See ENV 1302 Segregation and Disposal of
        Food Waste at § 3.

           o Due to workload concerns and reduced staffing as a result of COVID-19,
             measurements for the second quarter of 2020 (based on April 2020 measurements)
             were not taken, while measurements for the third and fourth quarters of 2020 (based
             on July 2020 and October 2020 measurements, respectively) were based on a
             shortened period of seven days. See CAM Third Annual Report at 111, n.71;
             Employee Interview/Call Notes.

           o The Company expects to be able to return to a two-week measurement period in
             2021. See Employee Interview/Call Notes.

               b. UPDATES

       The Company reports that, based on the seven-day October 2020 measurement period,
        average fleetwide onboard food waste weight generation (per capita) decreased over 30%
        relative to the two-week October 2019 baseline. See Food Waste Reduction Performance
        Update (Nov. 6, 2020).

       This data indicates that the Company continues to be on track to meet its Probation
        Revocation Agreement goal of achieving a 10% reduction by the end of 2021, as well as its
        internal goal of achieving a 20% reduction.

       Based on the data, the Company also observed that the “best ships in a class have less than
        half the food waste of the ships with the greatest amount of food waste indicating continued
        opportunity to improve.” See ECP-MSM-A32: Food Waste Reduction Performance Update
        (Nov. 9, 2020) (emphasis added).

       As the Company acknowledges, due to the significant disruptions from COVID-19 (with the
        vast majority of ships sailing without passengers and with drastically reduced crew), the
        measurements from July 2020 and October 2020 “are not directly comparable” to the
        baseline figures from October 2019. Id. at 1; see also Carnival Corp., Health,
        Environmental, Safety and Security (HESS), Technical Regulatory and Sustainability Report,
        Fourth Quarter, FY2020 (Jan. 2021), PCL_ECP00178205-292 at PCL_ECP00178229. This
        is partly addressed by presenting the data on a per capita (rather than overall) basis. See
        Employee Interview/Call Notes. The data could become more directly comparable if
        passenger operations resume in 2021. See id.




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         4. Food Waste Digester Installations

                a. BACKGROUND

        The Company’s October 2019 Food Waste Technical Review concluded that the “only viable
         upgrade options available in the short term to improve [the Company’s] current food waste
         processing equipment capabilities are upgrades to the existing pulper systems47 (including
         installing dryers48) or the simpler and more environmentally-friendly option to install
         multiple food digesters.” Food Waste Technical Review at PCL_ECP00141157. The
         Review further found that “[f]rom the research conducted to date, digesters appear to be a
         good option” and “are a viable and effective means for [the Company] to enhance its food
         waste processing capability and related compliance obligations.” Id. at PCL_ECP00141157-
         58; CAM Third Annual Report at 112-13.

        A food waste digester is “essentially a mechanized steel version of a human stomach that
         partially digests food waste and separates the water component.” Food Waste Technical
         Review at PCL_ECP0014158. There are different designs and models, but digesters
         typically take the form of a large metal box with an opening on the top or front where food
         waste can be loaded. Microbes within the digesters partially digest the food waste and
         produce a liquid effluent. Once the effluent leaves the digester, it may be routed to different
         locations based on a ship’s design, such as a storage tank that discharges overboard. There is
         a screen over the digester’s effluent outflow point to prevent “undigested” non-food items,
         such as plastics and metals, from entering the effluent stream. Such items can be removed by
         hand when the digester is opened for cleaning or other maintenance. Therefore, if operated
         properly, digesters are designed to prevent plastics and other non-food items from being
         discharged to the sea as part of the food waste stream.

                b. JANUARY 2020 DIGESTER INSTALLATION PLAN

        Based on the Food Waste Technical Review recommendations, the Company “decided to
         optimize its food waste disposal systems and associated processes by installing food waste
         digesters on the vast majority of its ships.” Food Waste Optimization Plan at 2.

        In its January 2020 Food Waste Optimization Plan, the Company estimated:

            o Most ships would have between 7-12 digesters by 2023;49


    47
       A food waste pulper is akin to a large, industrial-scale version of the garbage disposal in a
    kitchen sink. Pulpers use blades to grind food waste into a pulp that can then be directed to other
    parts of the food waste system, such as a tank or an overboard discharge chute.
    48
      A food waste dryer is a large, industrial-scale dehydrator that processes wet food waste into a
    dried powdered residue that can be offloaded ashore. Removing the liquid from the food waste
    can significantly reduce its volume and mass.
    49
     The Company would not install digesters on some AIDA ships that use a combination of food
    waste dryers and offloads to handle food waste.

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           o Approximately 680 digesters would be installed on ships by the end of 2020, and
             approximately 900 would be installed by the end of 2023; and

           o It would spend more than $27 million on digester installations before the end of
             probation, which would surpass the Company’s obligation to commit at least $20
             million in capital expenditures to optimize food waste management. See CAM Third
             Annual Report at 113-14.

       The Company reported that the installations called for in the January 2020 plan “should
        result in ships processing 100% of their [soft] food waste via digesters,” excluding the AIDA
        ships that use food waste dryers. See CAM March 2020 Quarterly Report at 108 (quoting
        Company Draft Report Comments).

               c. CURRENT DIGESTER INSTALLATION PLAN

       The Company’s Pause Priorities Plan establishes a commitment to allocate $10 million to
        purchasing digesters in Fiscal Year 2020, and to install those digesters (as well as digesters
        that have already been purchased and are available for installation) on ships within 60 days
        of their return to guest service. See Pause Priorities Plan, PCL_ECP00177469 at 6. The
        Company still intends to meet its Probation Revocation Agreement obligation to commit at
        least $20 million in capital expenditures to optimize food waste management before the end
        of the ECP period. See id.

       The most recent version of the Pause Priorities Plan removes the long-term goal of installing
        the full set of additional digesters called for in the January 2020 plan, due to “COVID-19
        impacts.” See id.; Coming Back Stronger “Pause Priorities Plan” [Redline] (Nov. 30,
        2020), PCL_ECP00177470 at 3. The CAM Team understands that these impacts include
        the limited availability of equipment, parts, and personnel (including third-party vendors and
        contractors) needed to install, commission, and/or operate the systems. In addition, the CAM
        Team understands that, even before the pause, the Company was achieving reductions in the
        amount of food waste generated onboard, indicating that fewer digesters may be needed than
        originally anticipated. See Employee Interview/Call Notes; see also Certifications Pursuant
        to the Oct. 21, 2020 Order.

       As of December 2020, the Company reports that:

           o Digester installations are being prioritized for those ships that are expected to resume
             passenger cruises in the next four to six months, while installations on other ships are
             on hold until there is greater clarity about their restart dates. See Employee
             Interview/Call Notes;

           o At least 10 ships have a full set of digesters installed onboard as of November 30,
             2020. See Maritime Operations Monthly Dashboard November 2020 (Dec. 17,
             2020), PCL_ECP00177552 at 22; and

           o As with the January 2020 plan, the Company intends for each ship to eventually have
             enough digesters to process 100% of its food waste (excluding those that rely on food

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               waste dryers). Some pre-existing food waste processing equipment, including
               pulpers, will be maintained on the ships for redundancy purposes, to be utilized only
               when necessary due to failure of a digester system. See Employee Interview/Call
               Notes.

               d. REGULATION OF FOOD WASTE DIGESTER EFFLUENT

       There is uncertainty within the maritime industry on the regulatory status of digester
        effluent—in particular, whether it should be categorized as “food waste,” which is regulated
        as “garbage” under MARPOL Annex V, or as “grey water,” which is not regulated under
        MARPOL. See CAM Third Annual Report at 115-16. In the absence of clear guidance from
        international regulatory bodies, the Company has sought determinations from flag states
        and/or classification societies on the regulatory status of digester effluent. See id.

       The Pause Priorities Plan sets a goal of working with flag states to “determine the proper
        waste water classification for digester effluent.” See Pause Priorities Plan,
        PCL_ECP00177469 at 7. The Company reports that this effort has been completed. The
        Company consulted with several flag states, who differed on whether to classify digester
        effluent as food waste or grey water. See Employee Interview/Call Notes.

       In the absence of a consensus from flag states, the Company has decided to classify digester
        effluent as food waste across its fleet. See id. Accordingly, in October 2020, the Company
        published a new procedure requiring that “[f]ood waste biodigester effluent must be
        classified as food waste and disposed of in compliance with food waste discharge
        requirements at sea or ashore.” See ENV 1304 – Food Waste Biodigester Effluent
        Requirements (“ENV 1304”) (internal citation omitted).

       The ENV 1304 procedure creates an exception for certain ships that are currently configured
        to treat their digester effluent as grey water. These ships have until June 30, 2023, to come
        into compliance with the new procedure. See id. The Company reports that only a small
        number of ships fall under this exception. See Employee Interview/Call Notes.

               e. DISCHARGES THROUGH GREY WATER SYSTEMS

       Even if ships have enough digesters to process all of their food waste, plastics and other non-
        food items may still be discharged overboard through the grey water system. The grey water
        system processes waste water coming from various sources on the ships, including galleys,
        laundries, and showers. If those sources do not have adequate filtration devices (such as
        drain and/or scupper covers), plastics and other non-food items may end up entering the grey
        water system and getting discharged overboard. See CAM Third Annual Report at 117. As
        noted above, the Company has reported in its food waste dashboards that non-food items
        continue to be found during inspections of grey water systems. See, e.g., Fleet Dashboard:
        Food Waste and Grey Water System Contamination (Jan. 6, 2021), PCL_ECP00178359 at 4.

       Following a June 2019 TPA audit finding that missing drain/scupper covers were causing
        non-food items, including plastics, to drain into a ship’s grey water system and potentially


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        overboard, the Company performed a fleetwide review which found that a similar issue
        existed on other ships. See CAM March 2020 Quarterly Report at n.89.

       In December 2019, the Company issued an internal procedure to “reduce the risk of plastic or
        other foreign material from entering the ship’s grey water and overboard drainage systems by
        ensuring appropriate scupper covers are secured in place and that there are methods in place
        to capture any debris.” DER 2005 Grey Water and Downstream Filtration (Rev. Aug. 2020)
        (“DER 2005”) at § 1. Among other things, DER 2005 sets time frames for installing
        drain/scupper covers on various systems that drain into the grey water system and for
        performing assessments of additional levels of filtration at certain grey water system pre-
        discharge locations. See id. at §§ 2.1-2.4.

       As of January 1, 2021, the DER 2005 requirements are not complete on all ships.
        Approximately 31 ships are reported to be “fully compliant” with DER 2005, while the
        remaining 61 ships are reported to have one or more items outstanding, with completion
        deadlines ranging from January 2021 to February 2021, where provided (several ships have
        no completion deadline provided for one or more requirements). See Fleet Dashboard:
        Food Waste and Grey Water System Contamination (Jan. 6, 2021), PCL_ECP00178359 at 5.

       The Pause Priorities Plan sets a goal of completing the pending drain/scupper cover
        installations required by DER 2005 before ships return to guest service, as well as a goal to
        “try to” complete installations of additional down-stream filters required by DER 2005
        before ships return to guest service. See Pause Priorities Plan, PCL_ECP00177469 at 7.

               f. PREVENTING PROHIBITED DISCHARGES IN THE ABSENCE OF A FULL SET OF DIGESTERS

       If ships do not have enough digesters to handle all (soft) food waste generated onboard, other
        measures must be in place to prevent the prohibited discharge of plastic and other non-food
        items. The CAM Team understands that the Company will continue to rely primarily on its
        food waste sorting and pulper systems for these ships, to the extent digesters are not installed
        or not capable of processing all (soft) food waste. See Employee Interview/Call Notes.

       However, the Company’s food waste dashboards indicate that food waste sorting and pulpers
        alone may not be fully effective at preventing prohibited discharges. Despite significant
        improvement over time since the dashboards began in July 2019 (including improvement that
        was underway before the pause), non-food items continue to be found during inspections of
        food waste and grey water systems. See, e.g., Fleet Dashboard: Food Waste and Grey
        Water System Contamination (Jan. 6, 2021), PCL_ECP00178359 at 2-4. Although
        overboard discharges are stopped upon discovery of such items, it remains a possibility that
        undetected items are going overboard in-between inspections, or because they may be missed
        during inspections. To the extent ships must rely on food waste sorting and pulpers to handle
        their food waste, should there be evidence that these methods did not prevent the discharge of
        non-food waste in violation of MARPOL Annex V or U.S. law, there is a risk of both




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         corporate and individual liability, including for corporate managers with knowledge of these
         efforts.50

         5. Implementation of Recommendations from Food Waste Workload Assessment

                a. BACKGROUND

        As required by the Probation Revocation Agreement, the Company retained a third-party to
         perform a Food Waste Workload Assessment, which was completed in April 2020. The
         assessment provided observations and recommendations on a range of issues, including:
         culture; workload and staffing; workplace design; and waste reduction efforts. Overall, it
         identified over 35 global best practices and over 50 global recommendations. See CAM
         Third Annual Report at 118-19.

        In response to these findings, the Company submitted its Food Waste Workload Assessment
         Response Plan in June 2020. Overall, the response plan sets out a “two phase plan that takes
         into account the pause in operations associated with Covid-19 and the resumption of service
         thereafter.” Food Waste Workload Assessment Response Plan at PCL_ECP00165685.

        Phase One of the response plan is to occur during the pause, and calls for implementing three
         overarching recommendations from the assessment:

            o Management of Change: Determine whether a management of change process
              exists in another department (such as IT or Marine Operations) that has sufficient
              guidance to support food waste reduction efforts;

            o Communications (ECP Messages): Update onboard ECP messages periodically to
              keep the culture message alive, including successes and progress; and

            o Communications (Videos/Infographics): Create videos or infographics on the food
              waste separation process from the first stage of separation through to
              discharging/offloading “to illustrate one’s influence on others’ workload.” CAM
              Third Annual Report at 120-21 (quoting Food Waste Workload Assessment Response
              Plan).

        Phase Two of the response plan is to occur as ships resume passenger cruises. The Company
         plans to provide “a revised plan to address additional recommendations from the
         [assessment]” once it has “clarity, regarding when and which ships resume operations.”
         Food Waste Workload Assessment Response Plan at PCL_ECP00165685.



    50
       See, e.g., United States v. Hong, 242 F. 3d 528, 531 (4th Cir. 2001) (“The gravamen of liability
    as a responsible corporate officer is not one’s corporate title or lack thereof; rather, the pertinent
    question is whether the defendant bore such a relationship to the corporation that it is appropriate
    to hold him criminally liable for failing to prevent the charged violations of the [Clean Water
    Act].”).

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               b. UPDATES

       For Phase One, the Company reports that all three recommendations noted above were
        implemented by September 2020. See Pause Priorities Plan November 30th Updates,
        PCL_ECP00178297-339 at PCL_ECP00178302.

           o On management of change, the Company’s review identified some potentially useful
             processes in other departments at the brand level (e.g., Carnival Cruise Line
             procedures for dry/wet dock planning). These findings have been shared with the
             Health/Safety/Security Corporate Compliance Manager, who is leading the
             Company’s broader effort to develop a corporate-wide management of change
             procedure, as discussed above in Part III.C.3.b. See Employee Interview/Call Notes.

           o On ECP messaging, the Company’s efforts have included updating existing policies
             and procedures to ensure consistent messaging, as well as providing regular updates
             on food waste management practices and achievements in the Chief Maritime
             Officer’s monthly Environmental Excellence Newsletter. See, e.g., Environmental
             Excellence Newsletter #4-2020 at 3, 5-7 (highlighting, among other items, examples
             of individual crew members demonstrating leadership and creativity in approaching
             food waste management challenges, such as coming up with innovative ways to
             record daily food waste data).

           o On videos/infographics, the Company engaged a third-party vendor to produce a
             video that shows the flow of food waste onboard, from generation to sorting to
             disposal, while highlighting the impacts that failing to follow procedures can have on
             fellow crew members’ workloads. The video will be incorporated into the shipboard
             environmental compliance training, known as “TRG 2302” training, discussed in Part
             III.I.4 below. See Employee Interview/Call Notes.

       For Phase Two, the Company is currently reviewing the additional recommendations from
        the Food Waste Workload Assessment to identify further measures that may be achievable
        during the pause. See Employee Interview/Call Notes.

        6. Other Food Waste Management Initiatives

       The Company has undertaken additional food waste management initiatives not discussed
        above, including:

           o Developing new, standardized signage to be installed onboard ships for operating
             food waste pulpers, digesters, and chutes. See October 2020 Probation Supervision
             Report, Attachment 5, PCL_ECP00175649-52 at PCL_ECP00175650; Pause
             Priorities Plan, PCL_ECP00177469 at 7;

           o Equipping ships with color-coded and plastic liner-free waste bins and associated
             signage to facilitate waste sorting. Pause Priorities Plan, PCL_ECP00177469 at 7;




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            o Developing a new Hotel Food Waste Compliance Self-Assessment form to be
              completed by ships before resuming passenger cruises “to make sure food waste
              procedures are properly implemented at restart.” Id.;

            o Developing both computer based and “on-the-job” training materials for food waste
              digesters. See November 2020 Probation Supervision Report, Attachment 5,
              PCL_ECP00177593-94 at PCL_ECP00177594; and

            o In coordination with the European Food Banks Federation, donating over 7,300 kg of
              food and 60,000 liters of mineral water from two AIDA ships to food banks in
              Europe. See Environmental Excellence Newsletter #4-2020 at 6.

        In addition, the Company has updated its Top 5 campaign51 to include “ensur[ing] food waste
         is properly separated” as a critical environmental focus area. Carnival Corp., Health,
         Environmental, Safety and Security (HESS), Technical Regulatory and Sustainability Report,
         Third Quarter, FY2020 (Oct. 2020), PCL_ECP00176441-535 at PCL_ECP00176512.

         7. Ongoing CAM Team Examination

        The CAM Team will continue to monitor the Company’s implementation of its food waste
         management program, including: the Food Waste Workload Assessment Response Plan and
         food waste management-related aspects of the Pause Priorities Plan; food waste management
         procedures; the procurement and installation of food waste digesters and/or other equipment
         or technology designed to improve food waste management onboard, including the treatment
         and regulation of food waste digester effluent; and weekly food waste dashboard
         performance.

        The CAM Team recognizes that COVID-19 will continue to have substantial impacts on
         onboard food waste management, the nature and extent of which is not yet known. Key areas
         of focus will be COVID-19-related changes to food preparation, service/delivery, and waste
         management practices onboard, including changes to ship design, staffing, equipment, and
         procedures and processes.

        In addition, the CAM Team is continuing its examination of the Company’s processes for
         selecting and vetting shoreside waste vendors, including food waste vendors, as discussed in
         Part III.H below.




    51
      The Top 5 program is an initiative, begun in ECP Year One, through which the Company
    “identified 5 key areas of environmental concern/risk” and “commenced an initiative to reduce
    the number of issues and further alleviate those risks.” See CAM First Annual Report at 20
    (quoting April 2018 Probation Supervision Report, Attachment 3); CAM Third Annual Report at
    Appendix B.

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         H. Waste Vendor Assessments

         1. Background

        The Company acknowledged in 2019, following multiple RAAS and TPA audit findings, that
         it was not following its internal procedures requiring it to assess third-party waste vendors.52
         See CAM Third Annual Report at 201-11. Not only was the Company failing to follow its
         own procedures, but it was also acting contrary to statements in its public Sustainability
         Reports assuring the public that “shoreside waste facilities are evaluated prior to offloading
         the waste from the ships where they are reused, recycled, incinerated, or landfilled.”53 CAM
         Third Annual Report at 204 (quoting Sustainability Reports for Fiscal Years 2013 through
         2017).

        Although the Company’s 2018 and 2019 Sustainability Reports “tout[] the Company’s goal
         to ‘[f]urther develop and implement [waste] vendor assurance procedures,’” see CAM
         December 2019 Quarterly Report at 61 (discussing revisions to the Company’s 2018
         Sustainability Report), these reports do not correct the inaccurate assurances of waste vendor
         vetting from prior years.

        In March 2020, the Company launched a revised waste vendor assessment program,
         publishing an updated procedure and associated materials. See CAM Third Annual Report at
         202, 06-10; ENV 1004 Environmental Management of Waste Vendors (“ENV 1004”). The
         Company describes its current program as a “three-step process” relying on:


    52
       This Report uses the term “waste vendor” to refer generally to entities or facilities that receive
    or handle wastes offloaded from the Company’s ships at the ports it calls upon around the world.
    Waste streams that may be offloaded include: black water/sewage; food waste; garbage/solid
    waste; hazardous waste (including medical waste); grey water; and oily wastes (e.g., sludge,
    bilge water, and other oily waste or residues). Waste vendors may include barges that dock
    alongside the ship, trucks that remain ashore, or other types of reception facilities. Waste may be
    transferred from the ship to the waste vendor manually (such as by hand or via a forklift or other
    machinery, for solid waste streams), via a hose connection (for liquid waste streams), or other
    means depending on the waste stream. Before the pandemic, the Company had a working list of
    approximately 600 different waste vendors and visited approximately 900 ports around the
    world, although it did not offload waste in every port. See Employee Interview/Call Notes.
    53
       Companies across industries routinely make similar public assurances about waste vendor
    vetting. See, e.g., CenterPoint Energy, Inc., 2020 Corporate Responsibility Report,
    https://www.centerpointenergy.com/en-us/Documents/CNP_CRR_report_18_%20full.pdf at 75
    (stating that “we maintain a robust environmental audit program on all solid waste disposal
    vendors”); Marathon Petroleum Corp., 2019 Sustainability Report,
    https://sustainability.marathonpetroleum.com/Reader/page/28 at 28 (stating that “[w]e carefully
    screen our vendors to ensure they meet our rigorous standards for recycled and disposed waste”);
    Southwest Airlines, 2019 One Report, http://investors.southwest.com/financials/company-
    reports/one-reports at 93 (stating that “we . . . audit[] our environmental vendors to verify their
    operations are compliant and they demonstrate commitment to environmental stewardship”).

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           o (1) Waste vendor self-assessments, in which the Company sends forms to each
             vendor requesting basic (but unverified) information that the vendor fills out and
             returns to the Company;

           o (2) Searches of commercial databases for public negative media reports involving the
             vendor; and

           o (3) Internal “red-flag” reviews of information collected during the first two steps. See
             Status Conf. Tr. at 30 (Oct. 16, 2020). Relevant factors considered during internal
             reviews include: past violations; insurance and licensing; facility accessibility and
             visitation permissibility; waste removal methodologies; and third-party audits. See
             ENV 1004 A3 Waste Service Compliance Decision Tree.

       At the end of ECP Year Three, the CAM observed that the Company’s updated program
        improves upon its previous practice (which, in some instances, was nonexistent), but still
        appears to be inadequate. See CAM Third Annual Report at 201-11. The vetting process
        relies almost exclusively on reviewing self-reported (but unverified) information from the
        vendor and performing searches for negative media reports. See id. at 202, 09-10. This is
        the type of “check-the-box” approach that DOJ has cautioned is often inefficient and
        ineffective. Id.

        2. Recent Program Updates

       In October 2020, the Company revised its ENV 1004 waste vendor assessment procedure and
        associated materials. Among other changes, the revisions remove the requirement to assess
        Port Authority Mandated Waste Vendors. See ENV 1004 § 2.1. A Port Authority Mandated
        Waste Vendor is one the Company is required to use by a Port Authority, as opposed to one
        chosen by the Company. Under the prior version of the ENV 1004 procedure, the Company
        was required to assess both Port-Mandated and Company-selected vendors. Under the
        revised procedure, only Company-selected vendors must be assessed. See id.

       Additionally, as part of its Pause Priorities Plan, the Company committed to assess each
        waste vendor on a ship’s itinerary (including non-U.S. ports) before the ship resumes guest
        service, with priorities on locations where ships are in layup or have planned early itineraries.
        See Pause Priorities Plan, PCL_ECP00177469 at 11; see also Employee Interview/Call
        Notes. The Company reports that, due to the pandemic, it has experienced some delays in
        receiving responses to the waste vendor self-assessment forms, and that some waste vendors
        may no longer be in operation. See Employee Interview/Call Notes.

       The Company has been reporting on the status of its waste vendor assessments for Covered
        Vessels returning to U.S. Waters in its disclosure certifications submitted pursuant to the
        Court’s Order of October 21, 2020, discussed in Part III.B.2-3 above.

        3. CAM Team Observations on Current Program

       Throughout ECP Year Four, the CAM Team has continued to share with the Company
        observations on its third-party waste vendor assessment program. These include:

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                 a. LIMITED VETTING DUE DILIGENCE

         As DOJ notes in its guidance on evaluating corporate compliance programs, a well-designed
          program should apply risk-based due diligence to its third-party relationships. See DOJ
          Corporate Compliance Program Guidance at 7-8.

         The Company’s waste vendor assessment program, however, consists of a limited form of
          due diligence that relies almost exclusively on reviewing basic information from waste
          vendor self-assessment forms and conducting negative media reviews. It does not appear
          that the Company verifies the accuracy of the information on the self-assessment forms
          unless a “red flag” is identified, such as a lack of liability insurance or government
          enforcement actions. See Employee Interview/Call Notes.

         The Company’s procedure generally contemplates that site visits may be used as a form of
          due diligence to develop a vendor’s risk profile, but does not provide instruction as to when
          such visits are advisable or how to conduct them.54

         In addition, as noted above, the Company’s revised ENV 1004 procedure exempts Port
          Authority Mandated Waste Vendors from the waste vendor assessment process. According
          to the Company, “[t]he port authority selects and assesses these vendors based on their
          local/national regulatory requirements. Therefore, [the] Company cannot
          select/modify/influence which port authority mandated vendor the ship must use.” ENVC
          1004 Company - Environmental Management of Waste Vendors at § 2. While it may be true
          that the Company “cannot select/modify/influence which port authority mandated vendor the
          ship must use,” the Company can select the ports where it visits and can choose not to visit a
          port where a Port Authority Mandated Waste Vendor is inadequate in the Company’s view.
          The CAM Team will seek to learn more about the Company’s use of Port Authority
          Mandated Waste Vendors and reliance on the vetting performed by port or other third-party
          authorities. See Company Comments on Draft Report.

                 b. ONGOING ASSESSMENT AND ACCOUNTABILITY

         The Company’s revised ENV 1004 procedure requires waste vendors to be assessed “before
          signing or renewing a contract, or every three years from the date the vendor is approved . . .
          , or [w]here there are reports of consistent poor service or known reported incidents.” ENV
          1004 at § 2.1. However, the procedure does not establish a process for tracking reports of
          “consistent poor service,” a category that includes incidents which may not be reportable
          under the Company’s internal HESS event reporting procedure,55 or otherwise establish a

    54
         The CAM Team recognizes that site visits may not be practical or necessary in all instances.
    55
      That procedure generally only requires the reporting of waste vendor incidents or near misses
    involving discharges or potential discharges during offload operations. See COM 1101-A1 HESS
    and Operational Events and Near Misses to be Reported from Ship to Shore (“COM 1101”). It
    does not, for instance, explicitly require the reporting of issues or concerns related to the
    vendor’s management, treatment, or transportation of wastes after offload operations are
    complete.

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         process for conducting ongoing waste vendor assessments based on newly-acquired
         information from the ships.56

        The ENV 1004 procedure also does not appear to establish any formal, standardized
         mechanisms for: shipboard personnel to receive training on how to investigate waste vendor
         issues or concerns; shipboard personnel to report issues or concerns about waste vendors; or
         shoreside personnel to track or follow-up on such reports.57

                c. ANTI-BRIBERY & CORRUPTION ASSESSMENTS

        The CAM Team understands that the Company began assessing its third-party waste vendors
         for anti-bribery and corruption purposes in May 2020. See id. However, aspects of the
         relationship between the Company’s third-party waste vendor assessment process and its
         third-party anti-bribery and corruption review process are unclear. For example, there is no
         clear process or requirement addressing what to do if issues with an approved waste vendor
         are identified during an anti-bribery and corruption review of the same vendor. See ENV
         1004; Employee Interview/Call Notes.

                d. OFFLOADS TO UNASSESSED WASTE VENDORS

        In recent audit reports, the TPA has identified incidents where ships in layup locations have
         appeared to offload wastes to unassessed waste vendors. See TPA Audit Reports. The CAM
         Team notes that the Company’s current ENV 1004 procedure appears to create a loophole
         that allows for such offloads to occur. While a ship must issue a Self-Reported Non-
         Conformity58 if it uses an unapproved waste vendor,59 it is not required to do so if it uses an
         unassessed waste vendor. Instead, if using an unassessed waste vendor, the ship must notify
         shoreside personnel, who then send the vendor a self-assessment form and begin the
         assessment process only after the offload has occurred. See id. at § 2.3; Employee
         Interview/Call Notes.




    56
       When evaluating a company’s compliance program, DOJ considers whether a “company
    track[s] red flags that are identified from due diligence of third parties.” See DOJ Corporate
    Compliance Program Guidance at 8.
    57
      In practice, the CAM Team understands that some shipboard personnel may send an informal
    email to shoreside to report inadequacies with a waste vendor (and, at times, have refused to use
    a vendor because of concerns about how the vendor would handle the ship’s waste), but there
    appears to be no standardized process for such reporting or for following up on such reports. See
    Employee Interview/Call Notes.
    58
     Since January 2019, ships have been required to self-report instances where they are unable to
    meet the requirements of Company procedures. See HMP 1106 Self Reported Non-Conformities.
    59
       An unapproved waste vendor is one whose “waste handling practices are unacceptable from a
    risk standpoint and the environment.” ENV 1004 at § 2.2.

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               e. WASTE VENDOR INCIDENTS

       During ECP Year Four, the Company has continued to report incidents or near misses
        involving its waste vendors, including discharges or potential discharges of wastes, including
        sludge and other oily wastes, into the sea during waste offload operations due to an error or
        equipment failure attributable to the vendor. See Internal Incident Log.

       As discussed in the CAM Third Annual Report, the number of reported incidents “likely
        paints an incomplete picture” because “the Company’s internal reporting procedure, COM
        1101, does not require internal reporting of [all] inadequacies with waste vendor facilities,”
        such as those that do not result in a discharge or potential discharge during offload
        operations. See CAM Third Annual Report at 204-06. Further, as noted above, the
        Company’s current ENV 1004 procedure for waste vendor assessments does not establish a
        mechanism for shipboard personnel to report issues or concerns about waste vendors that
        may exist outside of COM 1101 requirements, such as suspected or observed improper
        handling of waste at the port or the reception facility. As a result, ships could be observing
        problems with waste vendors but not reporting them through a formal channel. See id.

        4. Ongoing CAM Team Examination

       The CAM Team will continue to examine the Company’s development and implementation
        of its revised waste vendor assessment program, including its process for selecting, assessing,
        and approving waste vendors. This will include examining the extent to which the Company
        takes advantage of the pause to assess waste vendors currently in use, or likely to be used in
        early itineraries when ships resume passenger cruises.

        I. Training

        1. Background

       The Company has invested resources in environmental and compliance training throughout
        the period of probation, and has gone beyond that required by the ECP. This includes
        developing, conducting, and continuously revising: (1) training courses at its state-of-the-art
        CSMART facility in The Netherlands; and (2) instructor-led and computer-based training
        courses for shipboard and shoreside personnel. See id. at 123-27.

       A consistent highlight of these efforts has been the week-long Environmental Commitment
        and Environmental Excellence hybrid training/conference events for Environmental Officers
        held at CSMART. Feedback on these courses from participants, the CAM, and thevTPA has,
        in general, been overwhelmingly positive. See id. at 123-25.

       Other notable accomplishments, led by the Environmental Corporate Compliance Manager
        and his team, discussed in prior CAM reports include:

           o Launching a new Fleet Environmental Compliance Training Officer Program (“Fleet
             Environmental Officer Program”), as discussed in Part III.I.3 below. See id. at 123-
             27; and

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            o Establishing online forums—one for Environmental Officers (called “The
              Environmental Hub”) and one for hotel operations personnel—to interact, ask
              questions, and share best practices with one another, as well as shoreside compliance
              personnel. See id. at 123-24.60

        At the end of ECP Year Three, the CAM made a finding that “[s]ince ECP Year One, the
         Environmental Corporate Compliance Manager and his team have led efforts to provide
         increasing levels of support, resources, and training to onboard Environmental Officers . . .
         help[ing] to create a strong corps of Environmental Officers who have consistently impressed
         the CAM Team with their dedication, knowledge, energy, and commitment to helping the
         Company improve its environmental compliance performance.” Id. at 123.

        As the CAM has since observed, “the development of a strong, cross-brand [Environmental
         Officer] corps has been one of the Company’s most significant achievements over the course
         of the monitorship—supported by efforts from the Environmental Corporate Compliance
         Manager (‘CCM’) and his team, CSMART staff, the Corporate Training Manager, the
         Operating Line Training Managers (‘OLTMs’), and the Operating Line Compliance
         Managers (‘OLCMs’).” CAM/Company Communication Recap (August 21, 2020,
         CAM/CCM Call – Virtual Environmental Excellence CSMART Course Feedback) (Sept. 2,
         2020), attached as Appendix C, at 4. The success of the Environmental Officer program is
         an example of how strong, centralized management and support (through innovative training
         and communication tools, among other efforts) can create a high-functioning and integrated
         cross-brand group.

        An increasing CAM area of focus in ECP Years Four and Five will be the future of training
         after the ECP ends. This will include exploring the potential role of CSMART in supporting
         culture change within the broader organization. See CAM March 2020 Quarterly Report at
         116-17 (observing that “[w]hile it appears that great strides have been made to create a
         culture of trust, care, openness, and speaking up during CSMART trainings, the Company’s
         challenge is to carry and sustain that culture aboard the Company’s ships and in its shoreside
         offices”).61 As discussed below in Part III.I.7, the CAM Team understands that the Company
         is in the early stages of exploring the development of a corporate-wide training governance
         systems framework that would, among other goals, aim to bridge silos that currently exist
         between different training areas (e.g., compliance, operational, HR, and
         executive/management). Such an approach could also help support the use of training as a
         tool to transform corporate culture—including to carry lessons beyond the boundaries of
         CSMART.


    60
       At least one brand, Carnival Cruise Line, has been hosting weekly or bi-weekly Environmental
    Officer coffee chats during the pause, designed to give Environmental Officers the chance to talk
    freely and express concerns to shoreside personnel. Carnival Cruise Line also has a dedicated
    WhatsApp group for Environmental Officers to discuss different topics and concerns. See
    Employee Interview/Call Notes.
    61
      The Company states that “CSMART can help in culture,” but “its primary mission is focused
    on deck, tech, and environmental officer training.” Company Comments on Draft Report.

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        While this section of the Report focuses on environmental training, the Company has training
         efforts underway in other areas, including culture and investigations, as discussed above in
         Part III.D and Part III.F, respectively.

         2. CSMART Trainings

                a. OVERVIEW

        Around March 15, 2020, the Company suspended in-person trainings at CSMART until at
         least April 2021 due to the pandemic. During this period, CSMART staff, in coordination
         with the Environmental Corporate Compliance Manager team and training personnel across
         the broader corporation, have made significant efforts to transition training courses to a
         virtual format. See CAM Third Annual Report at 124-25.

        In mid-June 2020, CSMART announced significant staff reductions and other personnel
         changes as a result of the pandemic, affecting approximately 60% of CSMART staff. Id. at
         52, n.42. This included the departure of the recently appointed CSMART Director of
         Environmental Training.62 However, responsibility for environmental compliance trainings
         has been transitioned to a new CSMART team. See CAM/Company Communication Recap
         (August 21, 2020, CAM/CCM Call – Virtual Environmental Excellence CSMART Course
         Feedback) (Sept. 2, 2020), attached as Appendix C, at 5.

        Courses now being delivered virtually include:

            o Environmental Excellence and Environmental Officer 2 training for Environmental
              Officers;

            o New “Team Up” webinars that present an incident case study from three different
              perspectives, jointly presented by an environmental, a nautical, and an engineering
              trainer;

            o Advanced Air Quality System training for engineers; and

            o Other compliance-related trainings for environmental, deck, and technical officers,
              including “CSMART Talks,” which are TED-talk-styled videos focused on technical
              topics, as well as webinars on various marine and technical topics. See CAM Third
              Annual Report at 124-25; Employee Interview/Call Notes.

                b. ENVIRONMENTAL EXCELLENCE COURSE

        In August 2020, the CAM Team, as well as the TPA, attended the first virtual session of the
         week-long CSMART Environmental Excellence course for Environmental Officers.
         According to the Company, the course is designed to “enhance the [Environmental Officers’]

    62
      The CAM Team understands that staff reduction decisions were driven by Dutch law (which
    sets strict requirements regarding seniority/tenure) and are not a reflection of the capabilities of
    the affected individuals. See Employee Interview/Call Notes.

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        investigation skills and help them evolve their analytical and critical thinking skills.” See
        October 2020 Probation Supervision Report, Attachment 5, PCL_ECP00175649-52 at
        PCL_ECP00175649. Approximately 16 Environmental Officers from across the Company’s
        brands attended. The curriculum centered on investigations (including root cause analysis),
        with some sessions focused on culture. The lead instructor was an Incident Analysis Group
        investigator.

       Like prior in-person Environmental Excellence trainings, the course was designed to be
        challenge-based and interactive. The sessions typically consisted of lectures to introduce
        core concepts (often interspersed with brief discussions, brainstorming exercises, and/or
        polling questions to gauge participant engagement and comprehension), followed by break-
        out sessions in which groups of 3-4 participants worked together to complete exercise
        prompts based on case studies.

       The CAM provided the Company with feedback and observations on the course. See
        CAM/Company Communication Recap (August 21, 2020, CAM/CCM Call – Virtual
        Environmental Excellence CSMART Course Feedback) (Sept. 2, 2020), attached as Appendix
        C. Overall:

           o The CAM’s positives observations included: strong presenter skills by the lead
             instructor; a general tone of openness, collaboration, and support; presentation
             materials that generally contained good, clear content; positive messaging that
             emphasized the importance of a no-blame culture and a fair and just culture; and an
             important discussion around the tendency for investigations to superficially conclude
             that the root cause is lack of (effective) training, without performing a robust causal
             analysis to identify potential deeper or systemic causes. See id. at 2-3; and

           o The CAM’s observations about potential areas for improvement included: some
             ambiguous and inconsistent messaging around critical issues such as blame culture
             and root cause analysis, especially during group discussions; and insufficient
             opportunities for Environmental Officers to practice implementing new skills using
             specific examples, or to receive feedback from facilitators. See id. at 2-4.

       The CAM also observed that while, from a pedagogical standpoint, “the virtual environment
        appeared to allow for delivering course content and meeting learning objectives,” a
        significant part of the value of prior Environmental Officer CSMART courses and
        conferences “has been a social aspect that cannot be replicated in a virtual setting.” Id. at 5.
        This includes the opportunity for Environmental Officers “to get to know one another and
        exchange stories, ideas, and best practices in informal settings over coffee, meals, drinks, and
        other activities,” as well as the opportunity “to meet and share feedback, questions, or
        concerns directly with shoreside personnel.” Id. Such interactions are especially valuable
        for Environmental Officers, “who (unlike engineering and deck officers) are alone without a
        natural peer group on the ships.” Id. The CAM expressed hope that, “once the global
        pandemic situation allows for in-person travel to CSMART, the Company will provide the
        resources and support to resume in-person [Environmental Officer] courses and
        conferences.” Id.


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       At least four additional virtual sessions of Environmental Excellence have been held to date.
        The CAM Team has not attended these additional sessions, but plans to attend one or more
        course sessions in the coming year to assess changes and continuous improvement since the
        August 2020 session.

               c. LEARNING NUGGETS

       In addition to the formal CSMART courses, a new virtual training program for
        Environmental Officers, called “Learning Nuggets,” was launched around March 2020. The
        program consists of a series of short (approximately one hour) sessions rolled out on a
        roughly bi-weekly basis. During each interactive session, one or more subject matter experts
        leads a discussion on a compliance-related topic, using tools such as presentation slides,
        videos, quizzes, and other activities. Participation is voluntary, and Environmental Officers
        from across all of the Company’s brands are able to join, whether on a ship or ashore. See
        Employee Interview/Call Notes.

       At least 17 sessions have been held to date. Recent topics have included: the international
        regulatory regime for maritime investigations; recordkeeping and performing checks of
        technical records; waste vendor assessments; waste management and waste offloads; and best
        practices for performing Environmental Officer handovers. See October 2020 Probation
        Supervision Report, Attachment 5, PCL_ECP00175649-52 at PCL_ECP00175649;
        September 2020 Probation Supervision Report, Attachment 5, PCL_ECP00174216-18 at
        PCL_ECP00174216-17.

               d. CAM FEEDBACK SESSIONS WITH ENVIRONMENTAL OFFICERS

       At each session of the Environmental Excellence course held to date (in-person and virtual),
        the CAM has been invited to host an interactive, question-and-answer session with the
        Environmental Officer attendees. The CAM has been consistently impressed by the
        thoughtfulness and engagement of the Environmental Officers during these sessions, as
        demonstrated by their many insightful questions, concerns, and observations.

       Some recurring themes from these discussions have included: the role of an investigations
        program as a learning tool, including the importance of identifying root causes; concerns
        about a continuing blame culture; the importance of a strong compliance culture to support
        continuous improvement; concerns about staffing and workload, including the administrative
        burdens associated with onboard trainings; concerns about the lack of management of change
        processes; and reflections on the Company’s capacity for continuous improvement after the
        ECP ends. See Event Notes.

        3. Fleet Environmental Officer Program

               a. BACKGROUND

       In January 2020, the Company hired a Director of its new Fleet Environmental Officer
        Program, who reports to the Environmental Corporate Compliance Manager. Under this
        program, a group of Fleet Environmental Officers from across the Company’s brands “travel

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        across the fleet to provide guidance, support, mentorship, and training to seagoing
        Environmental Officers,” as well as to “collect feedback (including potential best practices)
        from the fleet in order to improve and enhance the Environmental Officer position onboard.”
        CAM Third Annual Report at 124 (quoting February 2020 Probation Supervision Report,
        Attachment 8).

       The Fleet Environmental Officer program was launched around August 2020, during the
        pause. Currently, there are seven fleet officers, who report to the Director. Their primary
        role is “to provide assistance and mentoring” to shipboard Environmental Officers, as well as
        to assist and support other shipboard officers and crew “in implementing and complying with
        all environmental procedures.” ECP-MSM-A30 Fleet EO Program Announcement.
        According to the Company, the fleet officers “have undergone many hours of specialized
        training, including classes to hone their leadership, mentoring, and listening skills.” Id.

       Notably, this program is based on the Chief Maritime Officer’s Fleet Captain and Fleet Chief
        Engineer programs, both of which were eliminated as part of the COVID-19-related staff
        reductions announced in May 2020. See CAM Third Annual Report at 52, 124-26.

               b. SHIP VISITS

       Under the program, all ships returning to guest service are to receive a visit from a Fleet
        Environmental Officer who will provide support, including assisting the shipboard
        Environmental Officer and other crew “in completing all environmental training and the
        environmental compliance self-assessments designed to help ensure the ship is fully
        compliant with all environmental regulations upon returning to service.” Environmental
        Excellence Newsletter #4-2020 at 4. In addition, some ships are to receive visits (regardless
        of return to service status) if the shipboard Environmental Officer needs extra assistance. See
        Employee Interview/Call Notes.

       According to the Company, the fleet officer visits “have been well received by the ships’
        crew, and the [Environmental Officers] and [Captains] have provided positive feedback on
        the benefits of the program.” September 2020 Probation Supervision Report, Attachment 5,
        PCL_ECP00174216-18 at PCL_ECP00174217; see also Carnival Corp., Health,
        Environmental, Safety and Security (HESS), Technical Regulatory and Sustainability Report,
        Fourth Quarter, FY2020 (Jan. 2021), PCL_ECP00178205-292 at PCL_ECP00178268.
        Feedback to the CAM Team from shipboard officers, including Environmental Officers,
        Captains, and Chief Engineers, has been similarly positive. See Employee Interview/Call
        Notes.

       The Company recently reported that “it has become increasingly difficult to conduct in
        person” Fleet Environmental Officer ship visits due to the pandemic. November 2020
        Probation Supervision Report, Attachment 5, PCL_ECP00177593-94 at PCL_ECP00177593.
        However, the fleet officers “remain committed to providing each ship with an in person visit
        guidance as and when they are in preparation to return to operations.” Id. at
        PCL_ECP00177594.



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               c. MENTOR PROGRAM

       Fleet Environmental Officers also act as mentors to shipboard Environmental Officers, who
        can reach out to them for advice and moral support. See id.; August 2020 Probation
        Supervision Report, Attachment 5, PCL_ECP00172980-81. For instance, as part of a trial
        project, each shipboard Environmental Officer with less than two years’ experience is
        assigned a fleet officer “buddy” from whom they are encouraged to ask questions and seek
        advice. See ECP-MSM-A30 Fleet EO Program Announcement. Mentees are “provided with
        guidance such as, which subject matter expert to contact for procedural matters or how to
        work out a situation with colleagues on-board,” as well as general moral support. November
        2020 Probation Supervision Report, Attachment 5, PCL_ECP00177593-94 at
        PCL_ECP00177593-94. The Company reports that “this support has been very appreciated
        by the mentees and brands.” Id. at PCL_ECP00177593.

               d. OTHER ACTIVITIES

       On top of ship visits and mentoring, Fleet Environmental Officers “are involved in assessing
        and developing environmental training,” including shipboard trainings discussed below. Id.
        at PCL_ECP00177594. Fleet officers also support CSMART in developing the Learning
        Nuggets program, as well as by serving as subject matter experts for program sessions. See
        September 2020 Probation Supervision Report, Attachment 5, PCL_ECP00174216-18 at
        PCL_ECP00174217.

       The Director of the Fleet Environmental Officer program is also leading efforts to revise the
        professional development framework for Environmental Officers to expand the focus beyond
        the development of technical competencies. One goal is to create a career map for shipboard
        Environmental Officers, including a pathway for becoming a Fleet Environmental Officer.
        See Employee Interview/Call Notes; see also CAM December 2018 Quarterly Report at 19-
        21 (discussing concerns about the Environmental Officer position, including the lack of a
        clear career path).

       In addition, Fleet Environmental Officers are “consulted for procedural changes to
        environmental Global HESS procedures,” where, the Company reports, “their in depth
        knowledge of the practical side of the procedures has proven to be invaluable.” November
        2020 Probation Supervision Report, Attachment 5, PCL_ECP00177593-94 at
        PCL_ECP00177594.

        4. Shipboard Trainings

       Throughout the ECP, crew members have shared concerns with the CAM Team about
        onboard environmental compliance trainings, including: high administrative workloads for
        tracking and reporting training completion; short time frames in which to deliver ECP-
        required training; and a need for content that is better tailored to the work of those receiving
        the training. See CAM March 2020 Quarterly Report at 117, 32; CAM Third Annual Report
        at 243.



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       The Environmental Corporate Compliance Manager’s team has led efforts to utilize the pause
        to revise environmental compliance onboard trainings, including:

           o TRG 2302 (Shipboard Environmental Awareness Training): The ECP requires
             Environmental Officers to deliver onboard environmental awareness training, known
             as “TRG 2302” training, to newly joined crew members within seven days after the
             crew members begin their duties on the ship. Before the pandemic, this training was
             provided in-person in a classroom-like setting on the ship. In response to COVID-19,
             the Company developed a computer-based version of TRG 2302 training that allows
             crew members to complete it while in quarantine or isolation in their cabins. See
             CAM Third Annual Report at 125-26. The Company reports that this training was
             rolled out by July 2020, with “very positive feedback.” Pause Priorities Plan
             November 30th Updates, PCL_ECP00178297-339 at PCL_ECP00178321; and

           o TRG 2308 and TRG 2309 (Shipboard Environmental Workplace Training):
             Environmental Officers, as well as managers from other shipboard departments with
             environmental compliance-related responsibilities, also deliver and/or receive
             workplace-specific environmental trainings, known as “TRG 2308” and “TRG 2309”
             training. The Pause Priorities Plan sets a goal of revising these trainings by February
             1, 2021. See Pause Priorities Plan, PCL_ECP00177469 at 23. The revisions are
             driven by feedback from crew members that the trainings could be made more
             “effective, relevant, and fit for purpose,” including by reducing administrative
             burdens and making trainings “position/department-specific and risk based.” CAM
             Third Annual Report at 126 (quoting Draft Pause Priorities Plan).

                   To date, a series of virtual workshops have been held with both shipboard and
               shoreside stakeholders to solicit feedback on proposed revisions. See Employee
               Interview/Call Notes. The revised procedures will be piloted on a sample of ships
               before being finalized. See Pause Priorities Plan November 30th Updates,
               PCL_ECP00178297-339 at PCL_ECP00178322.

        5. Shoreside Trainings

       During the pause, the Company also revised the annual refresher training for shoreside
        Covered Personnel, known as “TRG 2307” training. The revisions, which were completed in
        July 2020, simplify the training, reducing it from three modules to a single module. Changes
        to the content include: a new Power Point presentation; a new video providing a recap of the
        ECP; and “more opportunity for employee engagement/discussion, and better flow of
        information.” Pause Priorities Plan November 30th Updates, PCL_ECP00178297-339 at
        PCL_ECP00178321. The revised content also includes: a summary of ECP Year Three
        TPA audit findings; an overview of the importance of conducting root cause analyses to
        prevent future incidents; information on environmental compliance priorities during the
        pause; and an overview of channels to report any environmental incident or concern. See
        October 2020 Probation Supervision Report, Attachment 5, PCL_ECP00175649-52 at
        PCL_ECP00175649-50.



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        6. IT Systems and Tools to Support Training

       As noted above, and as discussed in prior CAM reports, Environmental Officers and other
        crew members have consistently expressed frustration to the CAM Team over the high
        administrative workloads associated with tracking and reporting on the completion of
        shipboard trainings. See CAM March 2020 Quarterly Report at 117, 32; CAM Third Annual
        Report at 243.

       Before the pandemic, the Company had rolled out, or begun efforts to develop and roll-out,
        various IT tools to address some of these concerns, including:

           o The Global Learning and Development Information System (“GLADIS”), a learning
             management system designed to deploy and track computer-based training, including
             environmental training, which has been rolled out for over a year;

           o CrewTube, an application for smart phones and tablets that allows crew members to
             access some types of HESS information and communications before joining a ship,
             which has been rolled out for over two years;

           o Drill App, an offline, tablet-based application to assess training and drills using a
             competency-based assessment approach; and

           o An onboard instructor-led training attendance app that can create an electronic record
             of attendance at onboard trainings by scanning crew member IDs, as well as interface
             with GLADIS to automatically update a crew member’s training profile. See CAM
             Third Annual Report at 133-35; Company Comments on Draft Report.

       Development and implementation timelines for some IT initiatives, including the Drill App
        and the training attendance app, have been delayed due to the pandemic, as discussed in Part
        III.J below. Even before COVID-19, the Company had lagged on many IT efforts in support
        of compliance. See CAM Third Annual Report at 128.

        7. Training Governance Framework

       The CAM Team understands that the Company is in the early stages of exploring the
        development of a corporate-wide training governance framework that would approach
        training from a systems perspective. Such a framework would entail a more holistic and
        strategic approach to training—one that would aim to bridge silos that currently exist
        between different areas, such as compliance, operational, HR, and executive/management
        training. It would also aim to achieve a lifecycle approach to training to support the
        continual professional development of employees from cradle-to-grave. See Employee
        Interview/Call Notes.

       The CAM notes that many organizations have a C-Suite level Chief Learning Officer (or
        equivalent title). The role of a Chief Learning Officer can extend beyond “making skills-
        based and compliance-oriented courses available to employees and perhaps running
        leadership-development programs,” to “a more powerful role in which they reshape

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        capabilities and organizational culture.” See A. Lundberg and G. Westerman, The
        Transformer CLO, Harvard Business Review (Jan./Feb. 2020), available at
        https://hbr.org/2020/01/the-transformer-clo. These “transformer” Chief Learning Officers
        can drive changes in an organization’s:

           o Learning goals, “shifting the focus from the development of skills to the development
             of mindsets and capabilities that will help workers perform well now and adapt
             smoothly in the future.” Id.;

           o Learning methods, “making them more experiential and immediate, and atomizing
             content for delivery when and where it’s needed.” Id.; and

           o Learning departments, “making them leaner, more agile, and more strategic.” Id.

        8. Ongoing CAM Team Examination

       The CAM Team will continue to monitor the Company’s environmental and other
        compliance-related trainings, including:

           o Efforts to develop a corporate-wide training governance framework;

           o Compliance training for corporate leadership, including the Boards of Directors;

           o CSMART course development and delivery, both virtual and (eventually) in-person;

           o The potential role of CSMART in supporting culture change within the broader
             organization, including the “evolution of CSMART toward a hybrid training model”
             that provides training “onsite, online and onboard” as part of the larger initiative “to
             design and implement a Corporate-wide training strategy and organization in the
             years ahead.” Q4 2020 Safety, Environmental & Security Awareness Bulletin at 6;

           o Onboard trainings, including efforts to revise existing training to support a more
             sustainable and effective onboard environmental training program;

           o Training for the Company’s Global Talent Partner recruits;

           o Investigations and systemic (root) cause analysis training, including the investigations
             training provided to Environmental Officers in the Environmental Excellence
             CSMART course, as well as other investigations trainings for Incident Analysis
             Group, brand/operating group, and shipboard investigators;

           o Development of competency frameworks;

           o IT tools and systems in support of training; and

           o The respective roles of All Brands Group and brand/operating group training,
             operational, and HR personnel, CSMART personnel, and other relevant Company
             personnel in these and other training-related efforts.

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       The CAM Team’s examination will be guided by DOJ’s Corporate Compliance Program
        Guidance, which emphasizes that a “hallmark of a well-designed compliance program is
        appropriately tailored training and communications.” DOJ Corporate Compliance Program
        Guidance at 5. It is critical to assess “the steps taken by the company to ensure that policies
        and procedures have been integrated into the organization, including through periodic
        training and certification for all directors, officers, relevant employees, and, where
        appropriate, agents and business partners.” Id. It is also important to assess “whether the
        company has relayed information in a manner tailored to the audience’s size, sophistication,
        or subject matter expertise,” as well as whether the company has “evaluated the extent to
        which the training has an impact on employee behavior or operations.” Id. at 5-6.

        J. IT and Data Management

        1. Background

       The CAM has previously observed that the Company’s IT resources were generally: non-
        centralized, with different systems (or versions of systems) in use by different brands;
        outdated; and not able to support the collection and sophisticated analysis of environmental
        compliance data across the corporation, in contrast to the way the Company is able to analyze
        financial information. See CAM Third Annual Report at 127-37.

       The Company has recognized its need for more centralized, modern, and data-driven
        strategies. Throughout the ECP, the Company has made efforts to develop and implement IT
        systems and tools in support of compliance, and to enhance its data management and analysis
        capabilities. However, progress on these efforts has generally been slow, both before and
        after the pandemic. See id. at 128; Employee Interview/Call Notes.

       Now, following COVID-19-related disruptions, the Company’s IT resources (including
        staffing, budgets, software licenses, and contracts with outside service providers) have been,
        on average, halved, and several initiatives that were underway before the pandemic have
        been suspended. See Employee Interview/Call Notes.

       Notwithstanding these challenges, the Company continues to confirm its commitment to
        developing a “global, corporate-wide IT strategy,” which currently “remains under
        development.” Corporate Compliance Manager Quarterly Environmental Compliance
        Report (Q3 2020), PCL_ECP00176537-665 at PCL_ECP00176559. The Company has also
        continued to make progress on certain corporate-wide IT and data management initiatives
        designed to help improve both operations and compliance, as discussed in the following
        sections.

        2. Global IT Strategy

       Historically, the Company’s individual brands/operating groups have pursued brand-specific
        IT strategies and initiatives, which, as the CAM has observed, are “sometimes at odds or
        incompatible with other cross-brand efforts.” See CAM Third Annual Report at 128; CAM
        December 2019 Quarterly Report at 81. The Company’s Chief Information Officer, who was


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        appointed in December 2018, has proposed a global, corporate-wide approach to IT strategy.
        See CAM December 2019 Quarterly Report at 81.

       As noted above, the Company remains committed to developing a global IT strategy, and has
        taken steps to facilitate such an approach, including restructuring certain positions and
        reporting lines within All Brands Group. For instance, the All Brands Group Chief
        Information Officer has created a new All Brands Group Maritime IT Liaison position,
        reporting directly to him, to provide technical expertise on the development and
        implementation of corporate-wide maritime IT initiatives. This position works closely with
        the position (created in 2019) of Senior Director of Maritime IT, who provides substantive
        expertise on maritime operational data needs and reports directly to the Chief Maritime
        Officer. See Employee Interview/Call Notes.

       In addition, the operating group Chief Information Officers now report directly to the All
        Brands Group Chief Information Officer, which should enable better alignment and
        standardization of IT systems across the company. See id.

        3. Updates on IT Initiatives

               a. EMAIL AND VIDEO COMMUNICATIONS BETWEEN SHIP AND SHORE

       The pause in guest operations—and the resulting repatriation efforts and ship layups—
        created a need for new, enhanced methods of communication between shoreside and ships.
        In response, the Company accelerated its roll out of a single, global email and video
        collaboration system. See id.

       The Company reports that this tool has enabled shoreside management to maintain close
        contact with shipboard personnel, and to more easily share information with the ships. Ship
        and shore employees from across the Company’s brands/operating groups and departments
        have commented to the CAM Team that the ability to engage in more real-time and frequent
        communications, including the ability to video conference, during the pause has been one
        area of improvement during the pandemic. See id.

               b. VOYAGE PLANNING SOFTWARE (IN DEVELOPMENT)

       In response to voyage planning challenges, discussed in Part III.K.2 below and in CAM
        reports since ECP Year One, the Company executed a contract in late 2019 with a vendor to
        develop voyage and environmental planning software. The software would, among other
        things, integrate information about environmental boundaries and requirements into the
        electronic navigational charts used by ships, replacing the current analog approach that relies
        on the use of an Excel spreadsheet referred to as “the Matrix.” The project has been subject
        to delays, both pre- and post-pandemic. See CAM Third Annual Report at 130-31, 59-60;
        see also infra, Part III.K.2.c.

       In July 2020, the vendor delivered a beta version of the software to the Company for testing.
        According to the Company, its “testing team was unable to accept the software due to
        significant shortcomings related to both voyage planning and environmental content

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         requirements.” Court Appointed Monitor Communication – Requests for Documents and
         Information (Oct. 9, 2020), PCL_ECP00173536-40 at PCL_ECP00173537-38. The vendor
         is working on revisions to the software. The Company expects to continue to test additional
         versions, and reports that the “latest estimate for delivering software with the basic
         requirements is the spring of 2021, with full delivery of requirements later in 2021.” See,
         e.g., Certification Pursuant to the Oct. 21, 2020 Order (Jan. 4, 2021), PCL_ECP00177657-65
         at PCL_ECP00177662.

                c. MARINE ASSET STRATEGIES TRANSFORMATION (“MAST”) (IN DEVELOPMENT)

        The Company’s MAST initiative is an effort to develop a single, corporate-wide planned
         maintenance and spare parts management system. The Company believes that the new
         system will improve its ability to efficiently deliver spare parts to ships, including those that
         are needed to keep shipboard pollution prevention equipment in working order. The
         system’s functionality would, among other things, allow the Company to monitor the
         location and status of its spare parts inventory across the entire fleet. See CAM Third Annual
         Report at 130.

        The Company reports that the initial version of the MAST software is approximately 50%
         complete. However, completion and subsequent testing on ships has been delayed by
         approximately one year (until about December 2021) due to the pandemic. See id.63

        In the meantime, the Company is moving forward on efforts to develop standard
         nomenclature for pollution prevention equipment and related spare parts, as well as common
         maintenance plans, across the entire fleet—a process referred to as “data globalization” or
         “data normalization.” The data can be imported into each brand’s existing planned
         maintenance database, which should ease the eventual transition to MAST, when the data
         will be exported into a single, corporate-wide database. See ECP Critical Spare Parts
         Management CAM and TPA Workshop (Aug. 25, 2020), PCL_ECP00168725 at 44. The
         Company expects to complete this data globalization process for approximately 30 ships a
         year, with completion across the fleet to occur by the end of 2025. See Revised MAST
         Timeline, PCL_ECP00173011. This plan is based on a fleet size of 104 ships and “will be
         modified based on the size of the fleet post-COVID-19.” Court Appointed Monitor
         Communication – Requests for Documents and Information (Oct. 2, 2020),
         PCL_ECP00173251-54 at PCL_ECP00173252.

        Once the MAST system is in place, the next step (estimated for approximately 2025 and
         beyond) will be the creation and stocking of centralized spare part inventory warehouses to

    63
       RAAS’s recent Operational Pause Risk Assessment, discussed in Part III.C.4.b above,
    identified risk associated with the “[i]nability to timely source/deliver spares” due to “markets
    closed due to COVID, vendor viability, limited supply, [and/or] inability to meet payment
    terms.” Operational Pause Risk Assessment Presentation, PCL_ECP000174904 at 7. RAAS
    further observed that cross-brand communications on resource planning (i.e., sourcing and
    delivering good and services, including spare parts) is “somewhat limited.” Id. These
    observations underscore the critical need to complete the MAST project.

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        physically store and deploy parts. See CAM Third Annual Report at 130; see also Letter
        from CAM to Environmental Corporate Compliance Manager Regarding ECP Critical Spare
        Parts Management (Sept. 15, 2020), attached as Appendix E, at 4-5.

               d. GLOBAL HESS

       Global HESS is the Company’s corporate-wide electronic health, environmental, safety, and
        security management system. Global HESS contains, among other things, the Company’s
        HESS policies, procedures, and related communications, including newsletters, case studies,
        compliance notices, videos, RAAS and third-party audit reports, and CAM reports. It also
        contains modules (i.e., a part of a program that contains one or more individual functions)
        that allow for managing and tracking audit findings and corrective actions, managing tasks,
        and viewing a calendar of internal and external ship visits. See CAM Third Annual Report at
        128.

       The Company has continued to move forward on certain improvements to Global HESS. See
        id. at 128-29. Two notable initiatives to be rolled out during the pause are interrelated efforts
        to: (1) develop a rank (position)-specific dashboard to enable users to more easily view
        information in Global HESS relevant to their specific job duties, which has been rolled out;
        and (2) simplify environmental procedures to increase readability and usability, which
        “continue[s] to be rolled out in batches and will be complete by end of February 2021.”
        Pause Priorities Plan November 30th Updates, PCL_ECP00178297-339 at
        PCL_ECP00178306; see also CAM/Company Communication Recap (August 26, 2020,
        Global HESS Updates Demonstration) (Sept. 4, 2020), attached as Appendix D. Feedback
        from crew members to the CAM Team on these initiatives so far has been mixed. See
        Employee Interview/Call Notes.

       Other efforts continue to be on hold as a result of the pandemic, such as developing a mobile
        application for completing Global HESS electronic checklists and moving the weekly
        Environmental Officer checklist report into Global HESS as an electronic report. See CAM
        Third Annual Report at 129; Pause Priorities Plan November 30th Updates,
        PCL_ECP00178297-339 at PCL_ECP00178309.

               e. SEAEVENT

       SeaEvent is the Company’s new centralized, corporate-wide incident and near miss reporting
        and case management system. Rollout to all ships across the Company’s brands was
        completed in November 2019. SeaEvent has the potential to improve the consistency of the
        Company’s incident and near miss reporting, and enable better fleetwide information-sharing
        and tracking, trending, and analysis of incident and near miss data. See CAM Third Annual
        Report at 130.

       Efforts are underway to improve the Root Cause Analysis Map tool within SeaEvent to
        “better lead input through drop down menus,” as discussed in Part III.F.5.c above. See Pause
        Priorities Plan, PCL_ECP00177469 at 15. As also discussed in Part III.F.5.c above, the
        Incident Analysis Group implemented new software in December 2020 to track information


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         related to investigations reported via SeaEvent and other avenues, including root cause
         analysis findings, associated risks, and corrective and preventive actions.

         4. Updates on Data Management Initiatives

                a. DATA ANALYSIS FOR COMPLIANCE IMPROVEMENT OPPORTUNITIES (SUSPENDED)

        In ECP Year Three, the Company engaged a data science consulting firm to examine the
         Company’s analytical capabilities and assist in analyzing the Company’s existing data sets to
         identify “opportunities for improvement in processes, systems or training & communication
         as they relate to compliance.” See Carnival Corporation & plc’s Ethics & Compliance
         Strategic Plan: “Compliance Alliance 2020 and Beyond, (Oct.9, 2019),
         PCL_ECP00141400-35 at PCL_ECP00141423-24; CAM Third Annual Report at 131-32.
         As part of its efforts, the firm analyzed data sets from some of the Company’s brands to
         develop prototype models for analyzing three principal areas: (1) food waste management;
         (2) Oily Water Separator/Oil Content Meter work orders and failures; and (3) unplanned
         work orders. CAM Third Annual Report at 131.

        As a next step, the firm had proposed to rely on a technique called “data virtualization” to
         integrate the Company’s data that is siloed across the different brands (regardless of factors
         such as format or location), and provide a means for accessing, managing, and delivering the
         data in real time to end-use applications. This approach, in theory, would enable the
         Company to analyze its data holistically across the brands, and develop corporate-wide
         metrics and key performance indicators that would allow for a more targeted, informed, and
         proactive approach to addressing compliance challenges. Id.

        Since the onset of the pandemic, the Company has suspended its relationship with the
         consulting firm. However, the Company reports that it is implementing some of the
         learnings from the preliminary modeling—most importantly, the need to normalize its data
         across brands/operating groups, and to verify data accuracy so that it can reliably be used to
         identify trends. See Employee Interview/Call Notes.

                b. GLOBAL MARITIME DATA LAKE (IN DEVELOPMENT)

        The Company continues to work on a corporate-wide project to migrate data from various
         systems, including SeaEvent, into a “global maritime data lake,”64 which would enable more
         advanced analytics, such as correlating incident data with data on weather conditions,
         training records, or personnel onboard. Each brand would have access to its own data from
         the data lake for performing analytics in the software of its choice. Certain All Brands Group
         departments (e.g., Ethics & Compliance, Maritime Operations) and RAAS would have
         access to data across the entire fleet. See CAM Third Annual Report at 132; Employee
         Interview/Call Notes.



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      A “data lake” is a system or repository of data stored in its natural or raw format. It can
    include structured, semi-structured, unstructured, and binary data.

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               c. HOLLAND AMERICA GROUP DATA WAREHOUSE AND DASHBOARDS (IN DEVELOPMENT)

       One of the Company’s operating groups, Holland America Group, is developing a group-
        specific data warehouse, with the intent to expand the warehouse across the Company. The
        data warehouse would be comprised of multiple data streams, including SeaEvent incident
        and near miss data, as well as legacy data (such as pre-SeaEvent data stored in older
        systems). The Company’s goals for the warehouse include enabling enhanced automation of
        incident and near miss reporting, as well as more sophisticated data analysis, such as tracking
        of leading indicators that could help predict (and prevent) future incidents. See Employee
        Interview/Call Notes.

       In addition to the data warehouse, Holland America Group is developing automated
        analytical dashboards that would cover a range of areas, including planned maintenance,
        spare parts, layup and restart planning, and new build assessments. Currently, some of this
        reporting is being managed manually using Excel spreadsheets, while other reporting is being
        managed in native applications. With this new tool, Holland America Group would be able
        to analyze real-time information and assess trends across the fleet from multiple data sources
        together. See id.

               d. RAAS DASHBOARDS (IN DEVELOPMENT)

       RAAS is spearheading efforts to analyze and trend certain HESS metrics—including RAAS
        HESS audit findings, planned maintenance status, and crew experience and training—and
        develop dashboards to assist RAAS auditors in focusing their vessel audits on key issues.
        CAM/Company Communication Recap (October 1, 2020, RAAS Dashboards Walkthrough)
        (Nov. 11, 2020), attached as Appendix G. The CAM has expressed appreciation for “the
        efforts that RAAS has undertaken to use existing technology to leverage the deep bench of
        data the Company generates and maintains,” noting “the importance of developing strategies
        to collect, analyze, and use data to support the Company’s environmental compliance
        efforts.” Id. at 1.

       As part of these efforts, RAAS is developing three principal interactive dashboards: (1) a
        RAAS HESS audit findings dashboard, designed to track all RAAS HESS audit findings
        across the Company’s brands to, among other goals, enable auditors to identify problematic
        procedures to focus on before arriving on a ship; (2) a planned maintenance status dashboard,
        designed to track planned maintenance items, which can be grouped and analyzed in several
        ways, including by ship, by maintenance activity, by department, or by length of delay for
        overdue items; and (3) a crew experience and training dashboard, designed to track
        information about crew member experience and competencies, which can be overlaid with
        data on RAAS HESS audit findings to identify potential correlations. The CAM Team
        understands that RAAS expects to finalize these dashboards and roll them out for use by
        RAAS auditors in the first and second quarters of Fiscal Year 2021. See id. at 1-2; see also
        Letter from RAAS to CAM (Nov. 20, 2020) at 1-2.




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        5. Ongoing CAM Team Examination

       The CAM Team will continue to monitor the Company’s development and implementation
        of IT initiatives in support of compliance, as well as its efforts to enhance its data
        management and analysis capabilities. As the CAM has observed, “there are several
        disparate efforts underway across the Company to collect, analyze, and report on various
        HESS metrics that could benefit from enhanced cooperation.” CAM/Company
        Communication Recap (October 1, 2020, RAAS Dashboards Walkthrough) (Nov. 11, 2020),
        attached as Appendix G, at 3. The CAM Team will seek to learn more about individual
        initiatives, as well as efforts at cross-brand and cross-department collaboration and
        coordination to support the Company’s stated goal of achieving a global, corporate-wide IT
        strategy.

        K. Environmental and ECP Violations

        1. Overview

       Violations of the ECP and environmental laws persist, including recent upticks in incidents
        related to voyage planning and Advanced Air Quality System soot discharges, discussed in
        Parts III.K.2-3 below. See, e.g., January 6, 2021 Quarterly Issue Tracker (Jan. 6, 2021);
        Internal Incident Log. From the beginning of the ECP, the CAM has emphasized, both in
        conversations with Company personnel and in prior CAM reports, that it would be
        unreasonable to ever expect zero violations in the course of normal operations. See id.;
        Employee Interview/Call Notes. Mistakes and mishaps will occur. The central question is:
        how does the Company learn from them?

       The Company’s approach to learning from incidents still appears to be hamstrung by a
        longstanding practice and mindset of minimizing or deflecting chronic problems, rather than
        understanding them and addressing their root causes. See CAM Third Annual Report at 107.
        As an illustration of this mindset, the Company’s internal HESS reporting reflects a focus on:

           o Driving down incident numbers and rates, rather than on also understanding the
             underlying, systemic factors that may be driving incident trends. For example, the
             Company’s HESS Quarterly Reports for the Boards of Directors and Executive
             Management (“HESS Quarterly Reports”) present data on reported violations in a
             series of graphs showing trends across prior quarters, with limited if any analysis of
             potential underlying, systemic factors driving these trends. See, e.g., Carnival Corp.,
             Health, Environmental, Safety and Security (HESS), Technical Regulatory and
             Sustainability Report, Fourth Quarter, FY2020 (Jan. 2021), PCL_ECP00178205-292
             at PCL_ECP00178221-31. The reports do highlight and provide incident descriptions
             for significant individual incidents. However, these descriptions typically consist
             only of basic factual (and often dense, highly technical) accounts of the incident,
             without higher-level analysis of such things as: systemic (root) causes, lessons




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                learned, similar or repeat incidents, or—critically—associated risk factors. See, e.g.,
                id. at PCL_ECP00178222-33;65 and

            o Presenting data in a manner that appears designed to minimize prohibited activity by
              showing it as a tiny percentage of a larger universe of activity. For example, the
              HESS Quarterly Reports now include an Environmental Compliance Scorecard
              component66 that presents data on discharge violations in the form of a per-ship
              average (e.g., 0.3 violations per ship). See, e.g., id. at PCL_ECP00178220. Other
              metrics measure discharge and emission violations in terms of a small numerator on
              top of a large denominator, such as: “the volume of bilge, sewage and grey water
              violations as a percentage of total discharge volume to sea,” or the amount of time an
              Advanced Air Quality System is run non-compliantly as a percentage of total
              running hours. See id. at PCL_ECP00178221-22, 27 (emphasis added).

                    As discussed in prior CAM reports, and in conversations with the Company, a
                focus on how violations may be a small percentage of a larger pie is potentially
                misleading. See CAM March 2020 Quarterly Report at 55-56, n.38. For example,
                despite the fact that the illegal discharges on the Caribbean Princess were the basis
                for the Company’s criminal conviction in the current case, those discharges were
                likely a small percentage of the ship’s total volume of discharges. Merely reporting
                the small error rate of those illegal discharges would fail to capture the large
                consequences of those discharges. The Court has expressed its concern about
                presenting data in this manner. See Status Conf. Tr. at 117 (Jan. 8, 2020) (“I just ask
                that [the Chief Maritime Officer] not say: It’s only 0.00 because it comes across as
                you’re looking at it in a minimizing way.”).

        The CAM recognizes that there is value in identifying and tracking trends in incident
         numbers and rates over time as a potential marker of continuous improvement. The CAM
         also recognizes that there may be value in framing incidents (the things that go wrong) in the
         context of the many things that the Company does right.


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      While incident descriptions may reference such things as investigation findings (including
    causal factors), similar incidents, or corrective and preventive actions, this information tends to
    be buried within the text of the incident descriptions without being systematically presented or
    analyzed.
    66
       DOJ, the CAM, and the TPA critiqued an earlier version of the Scorecard. DOJ observed that
    “we do not think that it will be helpful in achieving the goals of compliance and continuous
    improvement,” in part because it is “superficial and overly simplistic,” “fails to adequately focus
    on and address issues related to management engagement as the Court has repeatedly instructed,”
    and some “proposed categories and metrics appear deliberately oriented toward minimizing
    criminal conduct.” See CAM March 2020 Quarterly Report at 55-56, n.38 (citations omitted).
    The CAM expressed similar concerns on behalf of the CAM Team and TPA during
    conversations with the Chief Ethics & Compliance Officer and other Company personnel. Id. at
    55. The basic design and approach of the Scorecard elements that have been incorporated into
    the HESS Reports appear to remain largely the same.

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       However, these approaches, alone, do not effectively manage risk. In particular, they may
        not effectively highlight the risks associated with low probability, high consequence events.
        The Company’s current approach to HESS data analysis and reporting does not appear
        designed to provide the following type of analysis: For the (significant) incidents that
        occurred, what are the underlying systemic (root) causes? What are the potential
        consequences? What are the associated risk factors? How should those risks be managed
        and addressed?

       As discussed in this Report and in prior CAM reports, the Company appears to be hampered
        in its ability to take a such a risk-based, learning approach by its longstanding lack of a
        mature compliance culture and robust systems for internal investigations (including root
        cause analysis), risk assessment, data management and analysis, and management
        accountability. Efforts are underway to enhance the Company’s capabilities in these areas.

        2. Voyage Planning Incidents

               a. OVERVIEW

       Before sailing on an itinerary, a ship must prepare a voyage plan that lays out the ship’s
        intended route, along with relevant conditions (e.g., weather, current, tides), restrictions, and
        potential problems or hazards. Each voyage plan includes an environmental plan, which
        identifies, among other things, when and where certain environmental operations can occur
        (such as discharging various waste streams or operating equipment that generates emissions
        or smoke), based on the ship’s location and applicable international, national, local, or
        Company restrictions, such as the special requirements that apply in U.S. marine sanctuary
        waters. See CAM First Annual Report at 41; Joint Glossary at 10.

       During ECP Year Four, the CAM Team identified at least 10 incidents on Covered or
        previously Covered Vessels occurring between April 19, 2020, and December 9, 2020, that
        appeared to be attributable at least in part to voyage planning and execution errors, such as
        miscalculations of environmental boundary lines, misunderstandings about applicable
        environmental requirements, or failures to configure back-up engine equipment to run on
        compliant fuel in the event of an engine shutdown or malfunction in areas where emissions
        are regulated. See Internal Incident Log; see also infra, Part III.K.2.c (providing examples of
        incidents throughout the ECP period).

               b. CASE STUDY TRAINING PROGRAM

       The Company has recognized that recent voyage planning and execution incidents are
        concerning. Around August 2020, after observing that “voyage planning and voyage
        execution errors have resulted in several Marpol and company environmental violations,” the
        Chief Maritime Officer and his team launched a case study training program. See Incident
        Analysis Group, Final Report IAG2020034 (Sept. 28, 2020) at 14.

       Under this program, all ship Captains were instructed “to implement a special voyage
        planning training session” that included a review of: (1) voyage planning requirements;
        (2) the broad range of voyage planning errors being made; and (3) lessons learned from

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        several case studies. Id. Following the training session, each Captain was required to send
        written feedback to the Chief Maritime Officer, relevant Maritime Executive Vice President,
        and the Environmental Corporate Compliance Manager on the training, as well as on the
        voyage planning process on the ship more generally. The All Brands Group Maritime Policy
        & Analysis/Marine Working Group is reviewing the responses received from the ships to
        “capture both the challenges and best practices for inclusion in future passage planning
        procedures.” Id.

       The CAM Team understands that the purpose of this training was to facilitate a thoughtful
        review of the voyage planning process by shipboard teams in a novel and collaborative way.
        The CAM Team further understands that it was an effort to take prompt action in response to
        a noted uptick in incidents, while longer-term solutions (such as the voyage planning
        software discussed in the following section) remain under development. See Employee
        Interview/Call Notes. The CAM does not doubt that this training exercise was well-
        intentioned, or that it may result in useful learnings for shipboard and shoreside staff alike.

       At the same time, the approach reflects a tendency—not unique to the Company—to attribute
        incidents to a lack of (effective) training, and to prescribe more training as the preventive
        action, without the type of robust causal analysis that could reveal potential deeper, systemic
        causes. As observed at the virtual CSMART Environmental Excellence course, incident and
        investigation reports often identify training as a root cause, but, in reality, training is rarely a
        root cause. See CAM/Company Communication Recap (August 21, 2020, CAM/CCM Call –
        Virtual Environmental Excellence CSMART Course Feedback) (Sept. 2, 2020), attached as
        Appendix C, at 3. The Company acknowledges that “most of the [voyage planning and
        execution] incidents have not been fully investigated so the root cause remains unknown.”
        Company Comments on Draft Report. Without an understanding of root cause, it may not be
        possible to know if the chosen corrective and preventive actions are the most impactful ones.
        For instance, is a training program a temporary band-aid (one that will need to be applied
        again and again) over deeper issues, such as ineffective processes or procedures?

                c. “THE MATRIX” AND VOYAGE PLANNING SOFTWARE

       As described in Part III.J.3.b above, and in prior CAM reports, the Company’s current
        process for communicating information for environmental voyage planning to the ships relies
        primarily on a large and complex spreadsheet, called “the Matrix,” that is periodically
        updated by shoreside personnel and uploaded in Global HESS. Based on information in this
        spreadsheet and related online links, deck officers in charge of voyage planning, in
        consultation with Environmental Officers, are responsible for developing the environmental
        plan portion of the ship’s overall voyage plan, including information about when and where
        discharges and emissions are permitted or restricted. The CAM has observed that this “time-
        consuming and labor-intensive approach is rife for potential human error (including, at times,
        incorrect information within the Matrix itself), and is a frequent source of complaints to the
        CAM Team by shipboard personnel across the Company’s brands.” CAM Third Annual
        Report at 130-31, 159-60.

       Incidents involving inaccurate, incomplete, or confusing information in the Matrix have
        occurred since the beginning of the ECP (and before). See, e.g., CAM First Annual Report at

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       41, 54-55 (discussing voyage planning-related incidents on Covered Vessels); CAM
       December 2018 Quarterly Report at 10-11 (same); CAM March 2020 Quarterly Report at
       141-42 (same). For example:

          o Between 2015-2017, multiple ships discharged various waste streams in the Greater
            Farallones and Cordell Bank National Marine Sanctuaries, in violation of U.S. federal
            regulations, as a result of voyage planning errors and inadequate shoreside support—
            including the failure to notify ships that the marine sanctuary boundaries had
            expanded, or to timely incorporate information about the expanded boundaries into
            the Matrix. See CAM March 2020 Quarterly Report at 141-42;

          o In September 2018, a ship used its incinerator for approximately 3.5 hours inside
            Swedish Territorial Waters, where the use of incinerators is prohibited, because this
            restriction “had not been correctly copied across into the appropriate decision support
            tools.” See CAM December 2018 Quarterly Report at 10-11 (quoting Carnival
            Corporation & plc HESS Weekly Flash Report (Sept. 12, 2018));

          o Between May and August 2019, two ships discharged biomass in Canadian waters, in
            violation of Company requirements, due to “confusion and ambiguity” regarding
            Global HESS requirements, including a diagram of the baselines of the relevant area
            in an appendix to the Matrix that had “no legend or text guidance to describe the
            various lines illustrated” and “did not effectively communicate” the relevant baseline.
            See Incident Analysis Group, Final Report IAG2019043 (Jan. 27, 2020) at 4, 13;

          o In November 2019, a ship discharged Advanced Air Quality System washwater in the
            Florida Keys National Marine Sanctuary, in violation of U.S. federal regulations, due
            to “a misunderstanding of what the sanctuary limits were.” Investigation Report
            HAGNSDMENV201900019S at 2. The Company’s brand/operating group-led
            internal investigation concluded that the root cause “was complexity of [the Matrix],
            which is not designed in a way to mitigate human error and contains information
            in multiple locations, which can be missed by users.” Id. (emphasis added). The
            investigation also found that: “Misunderstanding of [the Matrix] is a repeat cause
            for environmental incidents in the fleet.” Id. (emphasis added);

          o In December 2019, a ship discharged approximately 150 cubic meters of untreated
            ballast water while underway from Key West to Port Everglades, Florida, in violation
            of U.S. federal regulations, due in part to a misinterpretation of requirements in the
            Matrix. Incident Analysis Group, Final Report IAG2020008 (Aug. 6, 2020) at 1.
            The Company’s Incident Analysis Group-led internal investigation noted that the
            Matrix “required users to check multiple places to get all of the information required
            for ballast operations for Florida,” and that the Matrix “contains a large volume of
            information that is frequently amended and, if the instructions are not followed, is
            open to misinterpretation and facilitates human error.” Id. at 12 (emphasis added).
            In addition, “officers interviewed stated that the environmental restrictions matrix
            was difficult to use,” including that it “contained too much information and
            required too much scaling and manipulation.” Id. at 1, 7 (emphasis added);


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           o In May 2020, a ship discharged treated bilge water, grey water, and treated sewage in
             Panamanian waters in violation of Company requirements, in part because the Matrix
             “was misread” after the Voyage Planning Officer “missed an asterisk, which
             instructed the reader to review a second document.” Incident Analysis Group, Final
             Report IAG2020034 (Sept. 28, 2020) at 2-3; and

           o Between approximately July/August and September 2020, a ship operated its
             incinerator in the Italy Ecological Protection Zone, where the use of incinerators is
             prohibited, on multiple voyages over a two-month period because relevant
             coordinates and boundaries had not been properly carried over from the Matrix to the
             ship’s electronic navigation charts. See Carnival Corporation & plc HESS Weekly
             Flash Report (Oct. 7, 2020), PCL_ECP00173285-95.

       As discussed above, and in prior CAM reports, the Company has long promised a software
        solution designed to automate aspects of the voyage planning process and address challenges
        presented by the Matrix. See supra, Part III.J.3.b. However, this project has been subject to
        numerous delays. Before COVID-19, the Company had reported that full roll-out was
        expected by mid- to late 2020. See CAM Third Annual Report at 160, n.105. After a series
        of delays, both before and after the pandemic, see id., the Company now reports that the
        “latest estimate for delivering software with the basic requirements is the spring of 2021,
        with full delivery of requirements later in 2021.” See, e.g., Certification Pursuant to the Oct.
        21, 2020 Order (Jan. 4, 2021), PCL_ECP00177657-65 at PCL_ECP00177662.

       In the absence of a software solution, an alternative means of preventing the voyage planning
        incidents that continue to occur is required. The questions that should be asked in response
        to incidents are not (only): Why do ship officers continue to make mistakes when using the
        Matrix? Do they need further training? Rather, the necessary questions include:

           o Why is information in the Matrix sometimes inaccurate or difficult to find (e.g., the
             Matrix is designed and updated by individuals who are different than those
             responsible for using it; the Matrix exists in a cumbersome Excel spreadsheet)?

           o Why aren’t onboard cross-checks and/or shoreside checks effective at catching all
             errors (e.g., lack of familiarity with relevant procedures; insufficient time and/or
             resources)?

           o For each answer to the first “why” question, another “why” question should be asked
             until root cause is ascertained.

       Such questions are designed to lead to an understanding of root causes at a systems or
        process level that might reveal more efficient—and more permanent—solutions than
        approaching every incident as a training issue.




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        3. Advanced Air Quality System Incidents

               a. OVERVIEW

       The Company experienced multiple incidents related to its Advanced Air Quality Systems
        during ECP Year Three, including emission exceedances, prohibited washwater discharges,
        and equipment failures or malfunctions. See January 6, 2021 Quarterly Issue Tracker (Jan.
        6, 2021); Internal Incident Log.

       Advanced Air Quality Systems, also called Exhaust Gas Cleaning Systems or “scrubbers,”
        are a type of pollution prevention equipment that removes sulfur oxide compounds from a
        ship’s engine and boiler exhaust gases. See CAM Third Annual Report at 216-17 (citations
        omitted). The Company’s Advanced Air Quality Systems use an open loop design, in which
        seawater drawn from the ocean is used as washwater that is sprayed onto engine exhaust
        gases, causing a chemical reaction that removes sulfur oxide compounds from the exhaust.
        The washwater is filtered and mixed with sea water before being discharged back into the
        sea. Id. at 217.

               b. SOOT DISCHARGES AND WASHWATER FILTERS

       The Company’s reported incidents include several discharges of soot particles from
        Advanced Air Quality Systems into the sea. The CAM Team identified approximately 10
        such incidents on Covered or previously Covered Vessels occurring between August 18,
        2020, and November 18, 2020. See Internal Incident Log. The Company has also noted “an
        increase in reports regarding soot, discoloration and other surface effect events throughout
        the pause in guest operations.” Q4 2020 Safety, Environmental & Security Awareness
        Bulletin at 12.

       Discharges of soot particles into the sea from Advanced Air Quality Systems occur when
        “accumulated soot is dislodged into the exhaust stream and washed out when the [Advanced
        Air Quality System] is running.” IN ENV/02/2020 Advanced Air Quality System (AAQS) /
        Exhaust Gas Cleaning System (EGCS) Washwater Filter Requirement in Port
        (“ENV/02/2020”). Extended low engine load operations during the pause have resulted in
        increased soot build-up in Advanced Air Quality System components, such as economizers
        and exhaust gas piping. See Carnival Corp. Special Condition 13(a) Reports; Carnival Corp.
        HESS Weekly Flash Reports. During maneuvering, this soot can become “dislodged into the
        exhaust stream” and discharged into the sea when “no washwater filter is installed,” or if the
        installed washwater filter is in bypass mode, non-operational, or “not able to capture the full
        volume of soot.” Q4 2020 Safety, Environmental & Security Awareness Bulletin at 12; see
        also ENV/02/2020; Carnival Corp. Special Condition 13(a) Reports; Carnival Corp. HESS
        Weekly Flash Reports. These discharges can result in surface effects, such as discoloration
        of the water, which “can occur even when operating parameters are within compliant limits.”
        ENV/02/2020 at 1.

       Although Advanced Air Quality System soot discharges are not regulated by MARPOL, an
        increasing number of coastal states and ports around the world (including in Asia, Europe,
        the Middle East, and the U.S.) have enacted local regulations that restrict or prohibit the use

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        of open loop Advanced Air Quality Systems in port due to concerns about potential harm to
        the marine environment from washwater discharges. See Gard, Beware of local restrictions
        before discharging washwater from exhaust gas scrubbing (Updated Nov. 24, 2020),
        http://www.gard.no/web/updates/content/26939066/beware-of-local-restrictions-before-
        discharging-washwater-from-exhaust-gas-scrubbing.

       In an effort to minimize the chance of “discoloration and other surface effects” from
        Advanced Air Quality System washwater discharges, including those attributable to soot, the
        Company issued an Instructional Notice to its ships on January 11, 2020, that required ships
        to “have operating washwater filters installed and in use in order to be run in port.” See
        CAM Third Annual Report at n.148; ENV/02/2020. Since the issuance of ENV/02/2020, the
        Company has continued to report incidents involving surface water effects and/or
        discoloration near Advanced Air Quality System washwater discharge points as a result of
        inoperable or ineffective washwater filtration systems. See Carnival Corp. Special Condition
        13(a) Reports; Carnival Corp. HESS Weekly Flash Reports. As noted above, approximately
        10 such incidents occurred on Covered or previously Covered Vessels between August 18,
        2020, and November 18, 2020. See Internal Incident Log.

       The Company has revised the Instructional Notice several times since it was issued in
        January 2020, including as follows:

           o On June 11 and 30, 2020, the notice was revised to permit ships, in certain situations,
             to use Advanced Air Quality Systems without washwater filters as long as the
             discharge point is visually checked “to verify that there are no significant and unusual
             visual effects in the water like oil sheen, soot or significant discoloration.” See
             ENV/02/2020 (Rev. June 30, 2020);

           o On November 20, 2020, and December 9, 2020, the notice was revised to require
             “inspections of washwater filter(s) every two hours when in use,” and for ship
             personnel “to complete training on surface effect events, water and fuel
             emulsification and low load engine operations” by December 31, 2020. See
             ENV/02/2020 (Rev. Dec. 9, 2020). “Until training is completed, ships that have
             reported recent soot incidents while docked alongside or anchored . . . must use [low
             sulfur marine gas oil] when docked alongside or anchored.” Id. (emphasis in
             original).

       On January 13, 2021, the TPA issued an observation “regarding systemic issues related to the
        operations” of Advanced Air Quality Systems, which “remains a recurring issue on
        [Company] vessels with the result being the repeated discharge of soot into oceans and
        navigable waterways.” Letter from TPA to Environmental Corporate Compliance Manager,
        Systemic Exhaust Gas Cleaning Systems Soot Discharges (Jan. 13, 2021) at 1. The TPA
        identified over 60 such incidents on both Covered and Non-Covered Vessels between June
        2017 and October 2020. While recognizing “that the Company has acknowledged that soot
        discharges are an issue,” the TPA recommended that the Company “more fully investigate
        and evaluate the reliability, availability, and maintainability” of Advanced Air Quality
        Systems “from design through operations,” including equipment design and “the efficacy of


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        any mitigation measures (e.g., washwater filters) to determine the underlying causes of the
        recurring soot discharges and gain some measure of control over their occurrence.” Id. at 2.

            The TPA also expressed concern that the “frequent changes” to ENV/02/2020 since it
        was issued in January 2020 “may have impacted the ability of crews onboard to implement
        these instructions effectively.” Id.

               c. TRAINING WEBINAR

       As with voyage planning incidents, the Company has recognized that recent soot discharge
        incidents are concerning. In response to the noted uptick in incidents during the pause, the
        Chief Maritime Officer and his team developed and presented a virtual training webinar in
        August 2020 on Advanced Air Quality System surface effects. The webinar provided
        training on recently updated procedures, and “used recent events as case studies and
        discussed causes, remedial actions and lessons learnt, with a series of polling questions.” See
        August 2020 Probation Supervision Report, Attachment 5, PCL_ECP00172980-81 at
        PCL_ECP00172980. Three sessions were held, with several hundred overall attendees, ship
        and shore. See id.; Employee Interview/Call Notes.

       Similar to the response to voyage planning and execution incidents, this approach was an
        attempt to respond quickly to an issue. It was undoubtedly well-intentioned and may well
        prove beneficial. But, again, any training solution is likely to provide only a temporary fix at
        best until the Company has mature investigations/root cause analysis and risk assessment
        processes in place.

        4. Ongoing CAM Team Examination

       The CAM Team will continue to monitor and track the Company’s violations of the ECP and
        environmental laws, and to report to the Interested Parties as required by the ECP. See ECP
        §§ III.D.6, VI.F.6.

           o These include incidents related to: air emissions, such as leaks of ozone-depleting
             substances from refrigerant gas systems or exceedances of sulfur cap limits for
             Advanced Air Quality Systems; discharges to the sea of various liquid and solid
             wastes, including oily wastes; pollution prevention equipment maintenance and
             operation, including incidents where equipment has been out of service for more than
             24 hours; and recordkeeping, including incidents of apparent intentional falsifications
             of ship records in violation of legal and/or Company requirements.

           o Other events tracked by the CAM Team, which do not typically involve violations of
             the ECP or environmental laws, include: bilge leaks/overflows; emissions of non-
             ozone-depleting refrigerant gases; Environmental Control System program (i.e., the
             seal/lock/weld program to control vulnerable points on ships that could be used for
             overboard discharges) issues, such as broken or missing seals with no evidence of
             intentional tampering; and near misses.




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         o These incidents and events are identified to the CAM Team through formal and
           informal mechanisms, including: audit findings (both internal and external); CAM
           Team visit findings; weekly internal Flash Reports; Environmental Open (Hotline)
           Reports; Special Condition 13 Reports required under the Probation Agreement;
           notices to the Office of Probation; and other notifications.

     The CAM Team will also continue to track and assess issues associated with these incidents
      and events, such as issues related to: shoreside support, such as concerns related to
      workload/staffing, IT systems, waste vendors, spare parts, training, or policies and
      procedures; and workplace/culture, such as concerns related to blame culture, retaliation,
      discrimination, harassment or bullying, or unsafe working conditions.

     In particular, the CAM Team will continue to focus on Advanced Air Quality System issues
      during ECP Years Four and Five. This will include monitoring the Company’s compliance
      with the new global marine fuel sulfur cap, as well as with local and Company restrictions on
      the use of Advanced Air Quality Systems in port. The CAM Team also plans to continue
      exploring workload and staffing issues related to Advanced Air Quality Systems, and intends
      to attend the CSMART training course on Advanced Air Quality Systems (either virtually or
      when the facility reopens for in-person courses).

     In addition, the CAM Team will continue to monitor impacts from COVID-19 on the
      Company’s ability to comply with certain ECP requirements, as discussed in Part III.A.5
      above.

      L. Other Ongoing Areas of Focus

     The CAM Team continues to monitor the following areas of interest and intends to report
      further on these issues in future reports. These examinations will occur in the context of the
      Company’s ongoing response to the COVID-19 pandemic.

      1. Staffing and Other Personnel Issues

     The CAM Team will continue to examine the hiring, staffing, workload, and employment
      conditions of officer and non-officer crew. This will include not only technical, deck, and
      environmental personnel, who have been the greatest focus of the CAM Team to date, but
      also hotel and food and beverage personnel. See CAM Third Annual Report at 244-45.

     One area of focus will be employee perceptions about how compliance is supported by their
      management (both ship and shoreside), including comments the CAM Team has received
      regarding a lack of ownership and support for compliance by hotel and food and beverage
      departments, although there have been indications of improvements in connection with the
      heightened focus on food waste management. See Employee Interview/Call Notes.




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       2. Integration of Compliance Considerations into Ship Design, including New Builds and
          Dry/Wet Docks

      From the beginning of probation, the CAM Team has inquired of Company personnel about
       whether or how compliance concerns were reflected the design or re-design of the
       Company’s ships, and how and in what ways compliance demands were impacting dry/wet
       dock processes. As to ship design, it was noted that the multi-year process of getting a ship
       built means that the design of ships being built, or about to be built, had long ago largely
       been set. See Employee Interview/Call Notes.

      Now, more than three years of probation have illuminated a range of compliance challenges
       related at least in part to ship design, including: food waste management; other (non-food)
       waste management; human error in monitoring and/or inputting commands and settings in
       Engine Control Room displays; alarm fatigue/flooding; cross-contamination of waste streams
       from piping and tank arrangements; design of piping (e.g., piping being routed behind other
       piping or machinery) that inhibits the ability to perform repair and maintenance outside of
       dry/wet docks; and leaks from deteriorated or corroded piping and other equipment or
       components.

      The Company has, at times, recognized the role that ship design can play in promoting or
       forming a barrier to compliance, including the impact that ship design has on the ease with
       which compliant operations can be carried out in an efficient manner. See Employee
       Interview/Call Notes; Holland America Group Workload Study, PCL_ECP00149393-602.
       The CAM Team understands that, prior to the onset of COVID-19, design changes were
       either being considered, or in the process of being implemented, to: (1) improve food waste
       separation; (2) redesign piping to avoid cross-contamination between waste streams;
       (3) eliminate leaks and redesign piping to minimize bilge water accumulation; and
       (4) reconfigure piping arrangements to allow for more routine maintenance and more
       efficient bilge water offloads on select ships. See Employee Interview/Call Notes.67

      The CAM Team intends to learn more about the Company’s efforts to integrate compliance
       considerations into re-design of ships during new build and dry/wet dock processes. The
       Court has expressed particular interest in how the Carnival Corp. Chairman of the Boards,
       who is recognized for his leadership role in new ship design, is “making concrete design
       changes to make sure that the new ships that are coming online are able to address some of
       the failures in the past.” Status Conf. Tr. at 69-70 (Jan. 8, 2020).

      As discussed in the CAM Third Annual Report, the pandemic has only increased the
       importance of this area of focus. Not only will the Company need to address any backlog of
       projects resulting from postponed drydocks and delayed new build progress, but the
       Company will also need to consider the impact of ship design on the management of a new,
       highly infectious disease. The CAM Team intends to evaluate the Company’s decisions

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    The Company has also made significant investments in liquefied natural gas propulsion
  technology for new ships, which can reduce toxic air pollutants associated with traditional
  maritime fuel oils. See CAM Third Annual Report at 83-84.

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      regarding both: (1) guest-facing design issues, which may be crucial to regaining customers;
      and (2) behind-the-scenes design issues, which are critical to compliance. See CAM Third
      Annual Report at 245-47.

      3. Other Support for Operations and Compliance

     The CAM Team will continue to assess the Company’s efforts regarding:

         o Review and improved management of the various pathways of shore/ship
           communication that exist across the organization, as discussed in Part III.C.3.c above;

         o Financial resources for HESS compliance, including: Ethics & Compliance
           Department and Program budgets; Operating Line Compliance Manager Annual Plan
           (Budget) Certifications; and the integration of HESS compliance into annual financial
           and strategic planning processes;

         o Purchasing and procurement processes for spare parts; and

         o Shoreside support for ships, including the extent to which shoreside has adequate
           resources to provide the support needed by the ships (e.g., superintendent workloads),
           including in light of COVID-19-related staff reductions. See id. at 247-48.

      4. Company Response to Internal and External Findings

     The CAM Team will continue to monitor the Company’s response to findings from CAM,
      TPA, RAAS, and other internal and external studies, assessments, and reports, such as:

         o The recent Outside Counsel Report on Incident Analysis Group Issues, as well as its
           supplemental report;

         o The Environmental Compliance Culture Assessment;

         o The Food Waste Workload Assessment;

         o The RAAS Operational Pause Risk Assessment;

         o RAAS focus reviews, including the cross-brand ship superintendent review;

         o The ECP-mandated Fleet Engineering Survey;

         o The Holland America Group Human Factors Study and the Holland America Group
           Workload Study; and

         o The participant feedback surveys and reports from Operational Excellence,
           Environmental Excellence, and other CSMART compliance training courses
           (including virtual courses). See CAM March 2020 Quarterly Report at 116-17; CAM
           Third Annual Report at 248.



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      5. Post-2022: Compliance Beyond the ECP

     During the remainder of ECP Year Fours and Five, the CAM Team will continue to engage
      with the Company on efforts to revise provisions of the ECP that have proven to be
      inefficient or ineffective in practice, and that may not be practical in the long-term. See
      CAM Third Annual Report at 248-49; CAM Second Annual Report at 27-31 (discussing
      joint efforts by the Company, CAM Team, and TPA to revise ECP provisions, including
      provisions related to Environmental Officer workload). The CAM’s goal is that, when the
      ECP comes to an end in 2022, no changes to the Company’s compliance program are needed
      or desired because the ECP requirements have become fully internalized and integrated into
      the Company’s operations, and have become just how work is done.

     In addition, during ECP Year Five, the CAM will perform the review of the Company’s
      capacity for continuous improvement required under the ECP. See ECP § VI.F.5 (requiring
      the CAM to “conduct a review . . . to assess the implementation of [the Company’s] internal
      audit process and determine if a continual improvement process is in place to establish Best
      Practices and assess potential technological improvements”).

                                                      Respectfully Submitted,




                                                      STEVEN P. SOLOW
                                                      Court Appointed Monitor

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      Appendix A: Operating Company Ethics & Compliance Officer and Operating Line
                               Compliance Manager Bios


  CARNIVAL CRUISE LINE

     Operating Company Ethics & Compliance Officer (Senior Vice President, Ethics &
      Compliance Officer and Company Designated Person Ashore): The individual in this
      position has spent more than 40 years in the maritime industry, most of it with the Company,
      holding various positions both shipboard and shoreside, including as a ship Captain, Vice
      President Maritime Compliance for Carnival Cruise Line, Vice President Safety and
      Environmental Operations for Carnival Cruise Line, and Vice President and Chief
      Compliance Officer for Carnival Cruise Line. He was the Operating Line Compliance
      Manager for Carnival Cruise Line from the beginning of the ECP until his appointment as
      Senior Vice President, Ethics & Compliance Officer in mid-2020. In addition to that role, he
      is the Designated Person Ashore for Carnival Cruise Line. Outside of the Company, he
      serves as Vice Chairman of the Bahamas Ship-owners Association Board and is a member of
      the CLIA Technical and Environmental Committee. See Ethics and Compliance Officers
      and Deputies BIOs, PCL_ECP00178149-53 at PCL_ECP00178149.

     Deputy Operating Company Ethics & Compliance Officer (Senior Vice President, Chief
      HR Officer & Deputy, Ethics & Compliance Officer): The individual in this position has a
      20+ year career in management and HR in a diverse array of industries, including prior
      positions as the chief HR executive with the Society for Human Resource Management
      (“SHRM”), the City of Alexandria, VA, the Washington Nationals Baseball Club, and the
      National Association of Social Workers. She is an SHRM Senior Certified Professional and
      a certified Senior Professional in Human Resources and DEI. As Carnival Cruise Line’s
      Deputy Ethics & Compliance Officer, she is “mostly focused on Culture and DEI.” Id. In
      addition to her Deputy role, she is the Senior Vice President, Chief Human Resources Officer
      for Carnival Cruise Line, responsible for both shipboard and shoreside HR functions.
      Outside of the Company, she serves as a member of SHRM and as an active, voting member
      of a United States delegation to an international body that develops international HR
      Standards. In addition, she is a frequent speaker and presenter, and “has been heavily quoted
      on various media outlets,” including the Wall Street Journal, Bloomberg BNA, and Diversity
      Women Magazine. Id. She is also a published novelist. See id. at PCL_ECP00178149-50.

     Operating Line Compliance Manager (Senior Director, Environmental Compliance and
      ECP Operating Line Compliance Manager): The individual in this position has been with
      Carnival Cruise Line since 2006, holding various shipboard and shoreside positions,
      including as an onboard Engine Environmental Supervisor, onboard Assistant Housekeeping
      Manager, onboard Environmental and Occupational Safety Officer, Traveling Environmental
      Superintendent, shoreside Environmental Manager, and shoreside Director, Environmental
      Compliance. He began his current role as Senior Director, Environmental Compliance and
      Operating Line Compliance Manager for Carnival Cruise Line in September 2020. See Bio,
      PCL_ECP00178400-04.


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  CARNIVAL UK

     Operating Company Ethics & Compliance Officer (Vice President, Ethics & Compliance
      Officer): The individual in this position has been with Carnival UK for 13 years. She has a
      legal background, having qualified as an English Solicitor at a commercial law firm in the
      United Kingdom before joining Carnival UK as Legal Counsel in 2007. She has since
      moved up the ranks, including serving as Senior Legal Counsel and Director Ethics &
      Compliance for Carnival UK. She assumed her current position as Vice President Ethics &
      Compliance Officer for Carnival UK in December 2019. See Ethics and Compliance
      Officers and Deputies BIOs, PCL_ECP00178149-53 at PCL_ECP00178150.

     Deputy Operating Company Ethics & Compliance Officer: The individual in this
      position joined P&O/Princess in 1994, serving as an Electrical Technical Officer on a
      number of ships, before moving to a shoreside position for the Corporate Newbuild
      Department in 2002. In 2004, he transitioned to a Maritime Policy and Compliance role
      “supporting EU funded projects which the Corporation had agreed to participate in, risk
      assessment decision support, policy evolvement and event trending.” Id. He then spent 12
      years in the Carnival UK Safety & Environmental Department, where his responsibilities
      included reviewing HESS procedures, risk assessment administration, and acting as a subject
      matter expert for various Safety/Technical Working Groups. He joined the Carnival UK
      Ethics & Compliance team in January 2020. See id. at PCL_ECP00178150-51.

     Operating Line Compliance Manager (Vice President Governance Carnival UK
      Maritime/ISM Code Designated Person Ashore/ECP Operating Line Compliance
      Manager): The individual in this position spent over 24 years in the Royal Navy before
      joining the Company in 2015, where he “has been employed in a variety of maritime roles
      within Carnival UK (Southampton) and Carnival Maritime (Hamburg) focusing on
      investigations, operational safety, governance, crisis management, nautical operations,
      operational quality assurance, operational support, and risk management.” Bio,
      PCL_ECP00177362. He assumed his current role in September 2020. Outside of the
      Company, he serves as a Fellow of the Royal Geographical Society and an Associated
      Fellow of the Nautical Institute. He is also pursuing a part-time PhD in crisis management.
      See id.

  COSTA GROUP

     Operating Company Ethics & Compliance Officer (Senior Vice President, Chief
      Financial Officer and Ethics & Compliance Officer): The individual in this position has a
      financial and accounting background and has been with the Company since 2001, holding
      various shoreside positions, including as Senior Vice President and Chief Financial Officer
      of AIDA, Senior Vice President Shared Services of Costa Group, and Senior Vice President
      and Chief Financial Officer of Carnival Maritime Group. He currently serves as Senior Vice
      President, Chief Financial Officer and Ethics & Compliance Officer for Costa Group. See
      Ethics and Compliance Officers and Deputies BIOs, PCL_ECP00178149-53 at
      PCL_ECP00178151.


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     Deputy Operating Company Ethics & Compliance Officer (General Counsel and Deputy
      Ethics & Compliance Officer): The individual in this position has a legal background and
      was admitted to the Italian Lawyer Bar. She has been with the Company since 1991,
      beginning as a Corporate Matters Manager, with a focus on mergers, acquisitions, acquisition
      financing, and corporate law. In 2005, she became the Head of Legal Matters for the Costa
      Crociere Legal Department, where her duties included managing “all the legal matters
      regarding the Costa fleet,” including litigation and the purchase and sale of vessels. Id. at
      PCL_ECP00178151-52. She took over responsibility of the newly created Compliance
      Department for Costa Group in 2013, as Costa Group Corporate Ethics & Compliance
      Director. In this role, she was tasked with “disseminating a culture of rigorous Ethics &
      Compliance in all business areas.” Id. at PCL_ECP00178152. In 2015, she also took over
      responsibility for the Carnival Maritime Legal Department. Id.

     Operating Line Compliance Manager (Director Environmental): The individual in this
      position began his maritime career in 1999 as a Project Manager of the Marine Pollution
      Prevention Service for the Italian Ministry of the Environment. He has worked for the
      Company since 2001 in various shipboard and shoreside positions, including as an onboard
      inventory officer (i.e., hotel controller), onboard Environmental Officer, shoreside
      environmental superintendent and quality standards compliance auditor, shoreside
      environmental management system coordinator, and shoreside environmental management
      director. He assumed his current role as Director Environmental in January 2017 and has
      served as the Operating Line Compliance Manager for Costa Group since the beginning of
      the ECP. See Bio, PCL_ECP00177530-33.

  HOLLAND AMERICA GROUP

     Operating Company Ethics & Compliance Officer (Vice President, Ethics & Compliance
      Officer): The individual in this position is a Chartered Engineer (UK), specializing in
      Marine Engineering. He began his career as a Merchant Naval Engineer Cadet sailing
      onboard Naval Auxiliary vessels. His early career also included eight years sailing as an
      Engineer with P&O Cruises and Princess Cruises, during which time he obtained a Chief
      Engineer’s Certificate for both steam and motor vessels. He then left sea for further studies,
      obtaining an Engineering Council Part II/BSc Hons eq. degree. Next, he worked in various
      positions at Lloyd’s Register, a classification society, for approximately 20 years. He joined
      Holland America Group in February 2017 as Vice President, Environment. In that role, he
      served as the Operating Line Compliance Manager for Holland America Group from the
      beginning of the ECP until he assumed his current position as Vice President, Ethics &
      Compliance Officer in December 2019. See Ethics and Compliance Officers and Deputies
      BIOs, PCL_ECP00178149-53 at PCL_ECP00178152-53.

     Deputy Operating Company Ethics & Compliance Officer (Director, Ethics &
      Compliance, Deputy Ethics & Compliance Officer): The individual in this position has
      been with the Company since April 2005, spending seven years onboard Holland America
      Line vessels as a Deck Officer. She joined the shoreside Ethics & Compliance team at
      Holland America Group in 2013. In her current role, she oversees Holland America Group’s
      Ethics & Compliance program, including the Economic Sanctions Program and

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      Sustainability Reporting Program. She also manages the Anti-Corruption Program, Hotline
      Program, and Anti-Money Laundering Program. She has a Master of Business
      Administration with a focus in Sustainability, in addition to certifications as a Certified
      Compliance & Ethics Professional and Certified Compliance & Ethics Professional –
      International. See id.

     Operating Line Compliance Manager: The individual in this position joined Holland
      America Line in 2007. He started as a shipboard Nautical Officer and rose through the ranks
      to Staff Captain before transferring to a shoreside position with RAAS. From 2013-2017, he
      worked in the RAAS Maritime Department. He then joined the Environmental Compliance
      team at All Brands Group in 2017 as Senior Manager, and, later, Director. He assumed his
      current position as Operating Line Compliance Manager for Holland America Group in
      December 2019. See Bio at PCL_ECP00178154.




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     August 19, 2020




     Via Email




     Re:      CAM/Company Communication Recap (August 6, 2020 Bi-Weekly CAM/CECO
              Call)



     Given the Company’s request to have more frequent substantive communications about issues
     related to compliance, we thought it would be helpful to provide a recap of our discussions from
     the last time we spoke before our call tomorrow.

     Our August 6, 2020, call included a discussion of the following substantive items:

          Exit Interviews by the Ethics & Compliance Team: During a discussion about the CAM’s
           confidential discussions with departing or former Company employees,       stated that
           had not conducted exit interviews of employees who recently departed the Company during
           the COVID-19-related staffing changes, including members of senior shoreside management

                                                               .       also stated that currently there is no
           formal role for the Ethics & Compliance team in exit interview processes, but that establishing
           such a role is (or should be) part of the culture change efforts underway. We suggested that
           departing employees are valuable sources of information and that         should try to speak with
           departing employees who might be able to identify opportunities for improvement at the
           Company.          indicated that     agreed that exit interviews could be valuable, and that
           thought        would proceed by contacting certain former employees for interviews. These
           interviews would likely be conducted by         and 1-2 others from         team with familiarity
           of the specific issues that may be discussed. We will be interested to learn about       progress
           on this effort since we spoke.

          Communication Streams with Current Employees: In addition to exit interviews,
           expressed a desire to enhance ongoing communication streams with current employees on
           compliance issues and concerns, including developing new HESS surveys for the ships.
           expressed the concern that the critique of senior management in various reports (including
           CAM reports) made it harder           to earn the trust of employees and obtain their candid
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         assessments.        suggested that        chances of doing so would be improved if CAM reports,
         in particular, did not include critical observations about senior management. As we discussed,
         the critical observations in CAM reports are rooted in the observations of the Company’s
         employees. Failing to raise these observations would not make them go away, and would
         undercut our ability to receive candid reports, as individuals would come to see that their
         concerns did not find expression in the CAM reports. Moreover, the CAM has an obligation
         to the Court to accurately report on information and observations of the Company’s employees.
         Finally, we agreed that it is crucial for       to find a means to learn about the concerns of the
         Company’s employees. Some of that information is contained in the CAM, TPA and RAAS
         reports, as well as in the          culture survey report, and in the reports of other third parties
         (such as                                  ) that the Company has hired during this period of
         probation. As we’ve discussed on numerous occasions,                  also surrounded by talented
         and knowledgeable colleagues, who have significant insights. We cannot reduce the
         difficulties      have by changing our reports because the underlying issues would remain
         unresolved. We also recognize that the current pandemic creates extraordinary barriers to
         communication as well. However, we are confident that                 can find a methodology to
         establish           as someone within the Company with whom people can and will speak
         candidly, and look forward to further conversations on this important issue.

        Accountability Exercise:           stated that            involved in the All Brands Group
         “accountability exercise” being led by the new Chief Operating Officer.        also stated that
         in the next couple of weeks, there would be an effort to look at All Brands Group versus
         Operating Company Ethics & Compliance Officer accountabilities. We suggested that a
         management of change process could help with the effort to enhance accountability, as it
         requires an assessment of how changes in processes, materials, budgets, and staffing impact a
         range of pre-existing obligations. Again, we will be interested to know about the status of the
         management of change process when we speak again.

        Voyage Planning Software: We discussed the August 5, 2020, Special Condition 13 report,
         which included two voyage planning incidents. I shared that a recent update we received from
         the Company (on July 15, 2020, during the TPA audit of All Brands Group) on the status of
         the new voyage planning software indicated that the software could be piloted on the ships by
         October 2020. I observed that having the software on ships by the October 16, 2020, Status
         Conference would be a very positive development to be able to report for an issue that has been
         an ongoing struggle throughout the probationary period. Please provide an update on the status
         of this effort when we next speak.

     Regards,




     Steven P. Solow
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     September 2, 2020



     Via Email




     Re:    CAM/Company Communication Recap (August 21, 2020, CAM/CCM Call - Virtual
            Environmental Excellence CSMART Course Feedback)



     This letter provides a recap of the CAM Team’s feedback on the virtual Environmental Excellence
     CSMART training course for Environmental Officers (“EOs”) held from August 10-14, 2020.
     This feedback was provided orally to the Company on the weekly CAM/CCM call held on August
     21, 2020.

     Background

     This course was the first session of the new EO3/EO4 Environmental Excellence training course.
     Due to the temporary closure of the CSMART facility to in-person trainings as a result of COVID-
     19, the five-day training was delivered virtually via the     platform. We understand that the
     Company plans to continue delivering the course virtually while the CSMART facility remains
     closed.

     Approximately 16 EOs attended from across the Company’s operating groups. Members of the
     CAM Team also attended, splitting the sessions among them so that 1-2 CAM Team members
     covered each session. In addition, I provided CAM remarks and held a question-and-answer
     session with the EOs on Day 3 of the course. A final assessment was administered on Day 5; the
     CAM Team did not participate in this portion of the course.

     The lead instructor for the course was                                                        . The
     course curriculum was designed to provide investigations training to EOs (including training in
     root cause analysis and the 5 Why methodology), with some sessions focused on culture. Like
     prior EO3 CSMART trainings, the course was designed to be primarily challenge-based and
     interactive, rather than lecture-based. The sessions typically consisted of introductory lectures to
     introduce core concepts (often interspersed with brief discussions, brainstorming exercises, and/or
     polling questions to gauge participant engagement and comprehension), followed by break-out
     sessions in which groups of 3-4 participants worked together to complete exercise prompts based
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     on case studies. On Day 3 of the course, the CAM Team requested access to the break-out sessions
     (as silent observers) because a significant part of the learning appeared to occur in these sessions—
     from formal mock exercises to informal brainstorming discussions among the EOs. The Company
     declined to provide the CAM Team with access to these sessions out of a pedagogical concern that
     the CAM’s Team’s presence would interfere with the desired learning atmosphere. I hope that we
     can re-visit this issue before the CAM Team’s next observation of the course. When the CAM
     Team has attended prior Environmental Excellence courses in-person at CSMART, we have
     remained physically present in the room during break-out sessions, observing from a distance
     without participating in the exercises. I am not aware of any feedback from EOs or course
     facilitators that our presence has had a dampening effect or otherwise interfered with the learning
     atmosphere.

     In addition to the CAM Team, a representative from the TPA attended and performed a “pre-audit”
     of the course. We understand that the TPA has separately provided its feedback and preliminary
     findings to the Company.

     CAM Team Feedback and Observations

     The CAM Team’s feedback and observations on the course include:

        Course Facilitation: Overall,                appeared to be a strong presenter in terms of
         maintaining participant engagement and keeping energy levels high. Along with the CSMART
         staff course facilitators,   established a general tone of openness and support in which EOs
         appeared to be engaged and comfortable sharing candid thoughts and questions, including
         pushing back when they disagreed with or had questions about a conclusion. However, there
         was room for improvement, particularly in the leading of group discussions. Notably, there
         was a tendency for discussions to be cut short without resolving key areas of confusion or
         concern. In some instances, this led to ambiguous and inconsistent messaging around critical
         issues such as blame culture and root cause analysis, as discussed further below. This may
         have been an artifact of the nature of the remote learning structure, and the natural tendency to
         want to move a class along to keep within a desired time frame. As we are learning in other
         circumstances, expectations for the required time to complete various efforts may need to be
         revised when interacting in these remote settings.

             Separately, during discussions,            tended to respond to incorrect responses with a
         variation of “yes, but . . .” There is a risk that a person providing an incorrect response will
         come away thinking they were correct when they first word they hear back is “yes,” without
         fully appreciating the corrections or clarifications that follow.

        Course Content: The slides generally appeared to provide good, clear content that introduced
         core concepts related to investigations and culture. At times, however, contradictory or
         muddying information was given during discussions—particularly around issues of blame
         culture and root cause analysis:
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           o Blame Culture: Many sessions included positive messaging that emphasized the
             importance of a no-blame culture and a fair and just culture, in which the goal of an
             investigation is not to identify individuals to blame but to identify root causes to prevent
             recurrence. Despite this messaging, in some group discussions,                   would ask
             participants who was to blame or who was at fault for an incident. In addition, one of
             the slides in a session on “just and fair” culture used an example involving a waitress
             who was found not to be sorting food waste properly because she was new and had not
             received proper training. The discussion of the slide focused on the individual waitress,
             rather than potential systemic or root causes, making the choice between whether the
             waitress should be disciplined or retrained without also asking broader questions to
             explore potential systemic issues (e.g., Were there others who also were not trained?
             Why was the training not conducted? Was high workload a factor? Scheduling
             challenges?). Furthermore, the range of potential actions to be taken for “behavior that
             falls below expectations” on the slide consist of: “investigation,” “possible disciplinary
             hearing-gross misconduct,” “possible disciplinary hearing-misconduct,” “consider
             informal action,” and “coaching/training.” No actions are listed that might address
             systemic issues identified when assessing the situation; this also was not part of the
             discussion during the course.

           o Root Cause Analysis: Similarly, there was inconsistent and confusing messaging on
             the 5 Why methodology.              walked the EOs through at least two hypothetical
             examples to show how the methodology is applied. In both examples, the analysis
             appeared to stop short of getting to the final “why” and identifying root cause. For
             example, one hypothetical involved a prohibited AAQS washwater discharge.
             Participants were asked to identify the root cause between two options: failure of an
             AAQS system, or failure of an engineer to act on an AAQS alarm. In the CAM Team’s
             view of this hypothetical, neither of these is a root cause. Nonetheless,        stated
             that the root cause was the AAQS system failure, and a contributing cause was the
             failure to act on the alarm.          made the point that neither option appeared to be
             a root cause because you could keep asking “why.” Based on the CAM Team’s
             observations, there was no clear resolution to this discussion. It did not appear that
             participants would come away with a firm grasp of root cause or the 5 Why method.

                   At one point,      stated that he was not a big fan of the 5 Why method. This is
              a risky and perplexing message to send to EOs, who may reasonably question why the
              Company is training them in a method that its                           investigators
              do not believe in.

                  On a positive note,          emphasized that there is a tendency for investigations
              to conclude the root cause was lack of (effective) training, and that the preventive action
              should be more training.            explained that training is rarely the root cause.
                            remarked that      often made this conclusion in his own investigations,
              and that now appreciated the need to go deeper in future investigations.
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        Practical Skills Development: Both the slide content and most of the group exercises focused
         on high-level concepts. We understand that this was an introductory course designed to be
         more basic than the training provided to Incident Analysis Group investigators. Even for an
         introductory course, however, there did not appear to be sufficient opportunities for EOs to
         practice implementing new skills using specific examples, or to receive feedback from
         facilitators. Only one break-out session (Case Study 3 – Planning an Interview) appeared to
         give EOs the chance to practice investigation skills in a mock exercise while receiving real-
         time trainer feedback.

             As noted above, the CAM Team was denied access to the break-out sessions. To the extent
         that additional opportunities for real-time practice and feedback were provided in those
         sessions, the CAM Team was not able to observe it.

             The general lack of practical skills development opportunities—combined with the
         inconsistent messaging on blame culture and root cause analysis discussed above—raises
         concerns that EOs will not leave the course with the tools and understandings necessary to
         perform effective investigations

        CAM Remarks: As always, I valued the opportunity to speak directly with the EOs and hear
         their feedback, questions, concerns, and other observations. In my remarks, I shared my team’s
         observation that the development of a strong, cross-brand EO corps has been one of the
         Company’s most significant achievements over the course of the monitorship—supported by
         efforts from the Environmental Corporate Compliance Manager (“CCM”) and his team,
         CSMART staff, the Corporate Training Manager, the Operating Line Training Managers
         (“OLTMs”), and the Operating Line Compliance Managers (“OLCMs”). I also recognized the
         individual efforts of many EOs to improve culture and compliance through their role onboard
         the ships. In addition, I discussed my team’s observations since the beginning of the ECP
         about the weaknesses in the Company’s internal investigations program, citing the Diamond
         Princess EO training record falsification incident from ECP Year One as an example of an
         investigation in which blame was placed on an individual without an attempt to conduct a root
         cause analysis, an approach that was apparently accepted by the Company’s leadership as
         sufficient. During the question-and-answer session that followed, a number of issues were
         discussed, including: areas of improvement and areas of in need of ongoing focus; the
         importance of a strong compliance culture to support continuous improvement; the importance
         of a learning organization approach to incidents and findings; EO concerns about shoreside
         delays in actioning on            incident reports; and the CAM’s focus on how the Company
         incorporates management of change principles into both (i) corrective and preventive actions
         from investigations; and (ii) balancing the enhanced role of EOs in investigations against their
         other duties.

        Technology: The course appeared to run smoothly from a technological standpoint, apart from
         occasional minor connection issues. The video and audio files were of a high production
         quality and were a useful complement to the slides. The CAM Team appreciates the significant
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         efforts by those involved in course development and delivery, including IT personnel, behind
         the scenes to make this so.

             Although adequate for content delivery, the         platform did not appear to be optimal
         for a course designed to be interactive and challenge-based, compared to other available
         platforms like                  and          that allow for more dynamic group views and
         interactions. However, we understand that other considerations, including IT and licensing
         considerations, may have been involved in selecting the platform.

        Limitations of the Virtual Environment: From a pedagogical standpoint, the virtual
         environment appeared to allow for delivering course content and meeting learning objectives.
         However, as I emphasized on the call, a significant part of the value of prior EO courses and
         conferences at CSMART has been a social aspect that cannot be replicated in a virtual setting.
         This includes the opportunity for EOs to get to know one another and exchange stories, ideas,
         and best practices in informal settings over coffee, meals, drinks, and other activities. It also
         includes the opportunity for EOs to meet and share feedback, questions, or concerns directly
         with shoreside personnel, including the CCM, Corporate Training Manager, OLTMs, and
         OLCMs. Such interactions are especially valuable for EOs, who (unlike engineering and deck
         officers) are alone without a natural peer group on the ships. I expressed on the call my hope
         that, once the global pandemic situation allows for in-person travel to CSMART, the Company
         will provide the resources and support to resume in-person EO courses and conferences.

     We understand that this was the first iteration of a first-of-its-kind EO training course, in terms of
     both content (investigations) and delivery (all-virtual). We also recognize the tremendous efforts
     of CSMART staff, course facilitators, IT personnel, and others within All Brands Group and the
     operating lines to develop and deliver the course in the midst of unprecedented challenges from
     COVID-19. We look forward to observing the evolution of Environmental Excellence in future
     sessions—virtually for now, and, hopefully one day, in-person once again. As I’ve shared with
     you and others, I was saddened to learn of the recent departure of the CSMART Director of
     Environmental Training and CSMART EO Trainers due to COVID-19-related staffing changes.
     We understand that responsibility for the Environmental Excellence course has transitioned to a
     new CSMART team, and we look forward to engaging with these individuals and learning more
     about their vision and plans for the course and other environmental and compliance trainings.

     We also understand that the Company may adapt the course to provide similar investigations
     training to other onboard ranks/positions who conduct investigations (such as Staff Captains,
     Security Officers, and Safety Officers). During the question-and-answer session with the CCM
     held near the end of the course,

                                            The CCM stated that there would be no expectation for EOs
     to begin conducting all Level 1 or Level 2 investigations. He also stated that there are plans to
     provide investigations training to other shipboard officers. However, there is no clear timeframe
     for when this might occur. We look forward to learning more about the Company’s efforts to
     develop and provide investigations training to EOs, as well as other shipboard officers, that builds
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     upon the computer-based root cause analysis training rolled out in December 2019. As discussed
     at length in CAM Quarterly and Annual Reports, and in numerous formal and informal
     communications with the Company, the weaknesses in the Company’s internal investigations
     program has been a critical area of concern for the CAM, TPA, and the Court throughout the
     monitorship. Effective training of shipboard and shoreside investigators, including in root cause
     analysis, will be an essential component of any improved investigations program.

     Regards,




     Steven P. Solow
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     September 4, 2020



     Via Email




     Re:      CAM/Company Communication Recap (August 26, 2020, Global HESS Updates
              Demonstration)



     This letter provides a recap of the virtual meeting held on August 26, 2020, in which the Company
     provided a demonstration and overview to the CAM and TPA of two forthcoming changes to
     Global HESS: (1) simplified and streamlined environmental (ENV) procedures; and (2) updated
     rank-specific Global HESS dashboards to provide users with more tailored position-specific
     information. The Company described these as separate, but complementary and interrelated,
     initiatives.

          Simplification and Streamlining of Environmental Procedures: The Company (led by
                                                           ) provided members of the CAM and TPA teams
           with a status update on the Company’s efforts designed to simplify and streamline ENV
           procedures, a process that began in late 2019.1 The Company explained that one goal was to
           simplify language and increase readability, without altering substantive requirements,
           including efforts to: (1) replace the passive voice with the active voice; (2) increase readability,
           as measured by the Flesch-Kincaid Readability Score; (3) lower the reading grade level; and
           (4) reduce word count. Another goal was to make it easier for end-users (e.g., shipboard



     1
       Prior CAM reports have noted concerns from crewmembers about “unclear or unworkable policies and
     procedures.” See CAM September 2018 Quarterly Report at 18; see also CAM Second Annual Report at 50 (citing
     Holland America Group Human Factors Study finding that “complex and ambiguous” Company procedures are a
     latent condition contributing to non-compliant discharges). The TPA has also identified issues related to policies
     and procedures as a common source of audit finding in each of its annual reports to date. See TPA First Annual
     Report at 15-17; TPA Second Annual Report at 15; TPA Third Annual Report at 21-25. In ECP Years One and
     Two, the TPA recommended that the Company “[r]eview all Policies and Procedures” and “update incomplete or
     vague policies and procedures.” TPA First Annual Report at 5; TPA Second Annual Report at 5. In ECP Year
     Three, the TPA recommended that the Company “[p]rovide a more robust QA/QC system which assures that the
     procedures are clear, complete, measurable, and easily understood by shipboard, with better implementation
     oversight/management to ensure effectiveness.” TPA Third Annual Report at 25.
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         officers and crew) to identify the procedural requirements that apply to them by creating
         discrete procedural sections that consolidate the requirements applicable to each relevant
         rank/position.

             The Company stated that it has shared the draft revised ENV procedures with several
         working groups, including a working group composed of Chief Engineers, Environmental
         Officers, and Captains that convened in early 2020. The shoreside Environmental Working
         Group has also finalized its review of the procedures, which are now undergoing a process of
         fine-tuning and incorporation of any recent updates.

        Global HESS Rank-Specific Dashboards: The Company provided a demonstration of the
         rank-specific dashboards that will be introduced to Global HESS. Once the simplified ENV
         procedures are finalized for roll-out, each ENV procedure will be tagged with rank-specific
         designations. When a specific user (e.g., an Environmental Officer) signs into Global HESS,
         the new rank-specific dashboard will prominently display the primary procedures designated
         to their rank/position, as well as recent procedure updates (i.e., those within the last four
         months). The dashboard will also display additional rank/position-specific information,
         including: assigned tasks for the position (e.g., regular weekly/monthly checks); assigned tasks
         for the position’s direct reports, if any; assigned HESS Action Items for the position from
         investigations, inspections, and audits; self-reported non-conformities submitted by the
         position or with action items assigned to the position; and HESS procedure suggestions
         submitted by the position.

             Other current Global HESS features and functionalities will be retained, including the
         ability to search for and access: policies and procedures; Instructional Notices; Global HESS
         tutorial videos; and other ECP and compliance-related information, including audit,
         investigation, and inspection reports, Must See Messages, Environmental Compliance Notices,
         Chief Maritime Officer Newsletters, ECP case studies, Safety & Environmental Awareness
         Bulletins, SoundWaves podcasts, and CAM and TPA reports.

        Timeline for Implementation: The Company plans to roll out both Global HESS updates
         concurrently, starting around late September/early October 2020. The roll-out will be
         staggered by brand, beginning with Carnival UK, followed by Carnival Cruise Line, Costa
         Group, and Holland America Group. Fleetwide roll-out is expected to be complete by October
         7, 2020. The Company also plans to distribute training material to accompany the roll-out,
         which will be accessible in Global HESS, although the format of the training material (e.g.,
         Environmental Compliance Notice) has not yet been determined.

             The Company offered to hold a follow-up meeting approximately 30-45 days after the roll-
         out is complete to provide the CAM and TPA teams with updates and to share feedback from
         the ships. The Company also stated its interest in hearing any feedback provided by the ships
         to the CAM or TPA teams during virtual visits and/or audits.
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        HESS Owners: We inquired about the Company’s process for updating ENV procedures in
         Global HESS, including the designation of rank/position-specific requirements. The Company
         explained that there are several layers of review and approval, and that each operating line has
         a HESS Owner                                                                                who
         is responsible for approving the ENV procedure designations in Global HESS.

           In response to a request from the TPA, the Company agreed to provide a list of the HESS
         Owners at each operating line.

     As noted above, and as we have discussed, the complexity of some Global HESS procedures is an
     issue the CAM and TPA teams have routinely heard identified as a concern of shipboard personnel,
     throughout the period of the monitorship. We agree that these Global HESS updates are an
     important effort and look forward to engaging in further discussions with both shipboard and
     shoreside personnel during and after the roll-out.

     Regards,




     Steven P. Solow
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     September 15, 2020




     Via Email




     Re:



     We are writing to relate some observations and questions after attending the presentation set up
     by the Company to provide an overview of ECP critical spare parts management.
     Representatives from the Company and its external consultant,            , gave a presentation to
     the CAM and TPA teams via video conference on August 25, 2020. The slide deck was
     provided shortly after the presentation concluded.

     Background

     As detailed in the CAM Third Annual Report, “[s]ince the beginning of the ECP, issues related
     to pollution prevention equipment and spare parts have been a frequent and ongoing source of
     findings from TPA and RAAS audits, incident reports, and the Company’s internal and external
     studies and assessments.” CAM Third Annual Report at 143. In addition, “throughout the ECP,
     crew members from across the Company have expressed frustration to the CAM Team over
     difficulties they face in obtaining spare parts, including delivery delays and cancelled purchase
     orders.” Id. at 90. The TPA has also identified spare parts as a critical area of audit finding in all
     three of the TPA Annual Reports to date. See id. at 144-46.

     On July 30, 2020,       sent an email to the CAM and TPA stating that         had “spent a lot of
     time over the last few weeks assessing and evaluating the spare parts process across the groups in
     response to [CAM and TPA] feedback in the annual reports.” Email
                                         , Proposed Workshop on Carnivals Spare Parts Process,
     Journey and Next Steps (July 30, 2020).         observed that “[a] lot has been accomplished in
     this area, driven mostly by the ECP and the story over the last 3 years is quite interesting . . . The
     story going forward with MAST is also an interesting one.” Id.          proposed “a 2 hour virtual
     workshop towards the end of August for us to walk through the journey and evolution of spares
     parts from the last 3 years and what the future will look like.” Id. The CAM and TPA agreed
     that this could be a valuable exercise, and the presentation was held on August 25, 2020.
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     CAM Team Observations and Follow-Up Questions

     While the CAM Team appreciates the time and effort of the many individuals involved in
     preparing and presenting the material, we note at the outset that much of the information
     presented was not new, particularly with respect to the management of spare parts at each of the
     operating lines and the plans for MAST. We thank you for organizing the presentation as it
     provided a useful starting place for further discussion and inquiry. Specific observations and
     follow-up questions are detailed below.

        Section 1 (Slides 2 to 17) – Identification of ECP Critical Spare Parts: The first section of
         the presentation, led by                                    recapped the work the Company
         undertook in the first year of the ECP to identify ECP critical spare parts. The information
         was consistent with what the CAM Team understood was the Company’s approach, based on
         our previous vessel and shoreside visits and other interactions with the Company.

         The CAM Team has the following questions and requests for additional information:

            o Slide 3: Please provide a spreadsheet listing the critical spare parts and minimum
              restock levels for each critical spare part across the entire fleet.

            o Slides 6-12: To what extent did the Company analyze legal risk as part of the
              analysis in making its criticality determinations for ECP critical spare parts? Was any
              attempt made to adapt the                      analysis to the heightened compliance
              requirements imposed on the Company as a part of its criminal probation and/or to
              the goal of ensuring that the Company operates legally in the future? For example,
              was there an analysis on whether failure of a part (including a part required for
              “redundant” equipment) could result in (1) an increased risk of non-compliance with
              the ECP or environmental laws; or (2) other compliance risks (such as risks related to
              increased workloads and time/attention/resource demands associated with frequent
              equipment breakdowns, even if the breakdowns would not themselves constitute a
              violation)? If so, how did this affect the criticality determination and the minimum
              restock levels?

         We appreciate that the                 standard the Company used considers
         system/equipment redundancy as part of the criticality determination. Nonetheless, the CAM
         Team views this as an example of the Company’s approach to redundant systems that
         weakens foundational support for compliance.

         As the Government and the CAM have emphasized, “the failure of such [‘redundant’]
         components had systemic consequences and played a significant role in the [conduct on the
         Caribbean Princess] leading to conviction.” CAM April 2019 Quarterly Report at 11 (citing
         Letter from           to Company Outside Counsel, United States v. Princess (Case 1:16-cr-
         20897) (Mar. 27, 2018) (“DOJ Letter”)). The Government has also noted that ships are
         required to carry certificates which “identify the equipment and procedures used to handle
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         pollutants and their waste streams” and that the “inoperability of this equipment is
         unquestionably a very significant event” which “generally results in the detention of a ship.
         33 U.S.C. § 1904(e)(2) (stating the Secretary of Homeland Security ‘shall’ detain ships
         ‘whose condition or whose equipment’s condition does not substantially agree with the
         particulars of the certificate aboard.’); and MARPOL, Art. 5.” Id. (citing DOJ Letter)
         (emphasis in original). The Government further observed that the Company’s position
         “appear[s] to reflect an antagonistic corporate culture where management prizes avoiding
         adverse findings more than achieving actual compliance and progress.” Id. at 12 (citing DOJ
         Letter). The CAM has similarly observed that “[g]iven the role that non-working pollution
         prevention equipment played in the felony convictions in this matter, it would seem more
         appropriate for the Company to provide ships with the support and resources needed to keep
         all pollution prevention equipment on board in good operating condition,” rather than to
         dispute whether failures of “redundant” pollution prevention equipment should rise to the
         level of an ECP or regulatory violation. See id. at 14.

         Defining critical spare parts using a standard that deems spares not critical if a redundant
         system is onboard makes compliance harder for those onboard the ships for at least three
         important reasons: (1) crew may have to improvise and deviate from established procedures
         to compensate for the lack of a spare part, making mistakes or errors in judgment more
         likely; (2) crew who already face heavy workloads may have to spend additional time
         addressing an equipment failure in the absence of a spare part, adding to their workloads and
         limiting the time available for their many operational and maintenance requirements (and
         again, fatigue and excessive workload increase the likelihood of mistakes or errors in
         judgement); and (3) there is a heightened potential consequence of any subsequent failure of
         a second (or third) “redundant” pollution prevention equipment system—i.e., that there
         would be no onboard means of processing the relevant waste stream, as was the case on the
         Caribbean Princess.

        Section 2 (Slides 18 to 34) – Overview of Operating Line Activities: The second section
         of the presentation, led by operating line representatives, focused on summarizing what each
         operating line has done since the beginning of the ECP to address ECP critical spare parts
         issues. Much of this information was again consistent with what the CAM Team had learned
         through prior visits and interactions with Company personnel.

         The CAM Team has the following questions and requests for additional information:

            o Have there been any analyses of the trends shown in Slides 19, 25, 26, 27, and 32 that
              provides actionable lessons learned (regarding “Improved Stock Out Performance,”
              “Critical Spare Growth,” “PPE Incident Impact,” and “% Env Critical Spares Below
              Min”)? By Year Four of the ECP, we would expect there to be a meaningful analysis
              of the data now that there is preliminary alignment between operating lines on the
              designation of ECP critical spare parts. For example, what is the significance of the
              increase of ECP critical spare parts? Is the rate increasing solely based on the MAST
              globalization review, or are there other contributing factors? Are the factors
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                contributing to increased ECP critical spare parts the same or different for each
                operating line? What is driving the improvements in stockout performance for each
                operating line? What are the remaining barriers to achieving a 100% compliance
                with min stock levels for ECP critical spare parts for each operating lines? Have any
                root cause analyses been done for components or parts that have a high failure rates?
                If not, why not?

            o It appears that each operating line implemented a different set of initiatives to address
              critical spare parts issues. See, e.g., Slides 20, 23, and 29. To the extent the operating
              line initiatives differ, why? Were efforts made to coordinate approaches? Have the
              operating lines been sharing best practices throughout this process, as well as key
              trends or findings? If so, how have those learnings been incorporated by each
              operating line?

        Section 3 (Slides 35 to 46) – MAST Initiative Update: The final section of the
         presentation, led by representatives of the MAST team from All Brands Group and the
         operating lines, focused on the MAST program’s scope and history, revised project plan due
         to COVID-19 impacts, next steps, and timelines. From this presentation, as well as prior
         visits and interactions with Company personnel, we understand that a primary goal of MAST
         is to harmonize the different approaches the operating lines have historically taken to the
         management of spare parts and planned maintenance activities. The CAM agrees that this is
         a vitally important project.

         The CAM Team has the following questions and requests for additional information:

            o We understand the Company has delayed certain aspects of MAST due to the pause
              in operations caused by COVID-19. As a result, full implementation with fleetwide
              rollout is now targeted for the fourth quarter of 2024. See Slide 45. The only
              remaining parts of the initiative scheduled for completion before the end of the ECP
              in April 2022 are: system build/execution, data globalization, and initial pilot testing
              of the MAST software. Since full implementation of MAST appears to be at least
              four years away, well beyond the end of the ECP, what strategies does the Company
              intend to implement to meet its compliance obligations prior to MAST’s full
              implementation? This question relates to the questions regarding analyses of critical
              spare parts trends discussed in the comments on Section 2 above.

            o We understand that MAST will not only help achieve environmental compliance but
              would also allow the Company to negotiate more economically favorable sourcing
              agreements. Given the importance of the MAST initiative, have there been any
              discussions about the feasibility of moving up the schedule for completing MAST
              development and pilot testing? If it has been determined that implementation of
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                MAST cannot be moved up, why is that? If no such discussions have taken place, are
                those discussions planned in the future, and if so, when?

            o Slide 44: Does the Maintenance Review Acceptance Board (MRAB) have a charter
              or other document laying out the scope of its duties and the criteria it applies during
              its review process? If so, please provide a copy.

            o Slide 44: What are the barriers to the use of          to accelerate implementation of
              data virtualization?

            o Slide 45: What is the timeline for globalization of non-environmental parts?


     Again, thank you for organizing the presentation. Please let me know in what manner, and in
     what time frame, can we expect to receive responses to the questions above. We look forward to
     continued engagement with the Company on the issue of critical spare parts management.

     Regards,




     Steven P. Solow
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                                                       700 K STREET, N.W.     AUSTIN        LONDON
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     October 8, 2020




     Via Email




     Re:       Incident Analysis Group (IAG) and Recent Hotline Complaints Assessment



     I am writing to provide observations and relay questions regarding the assessment conducted by
     the Company’s outside counsel with respect to Environmental Open Reports
           These two hotline complaints alleged
     undue influence on the investigations function



     On September, 25, 2020, the Court Appointed Monitor (“CAM”) received the final investigation
     report, prepared by the                 law firm and provided to             and               ,
     regarding the         hotline complaints. See Hotline Complaints: Report and Recommendations
     (Sept. 24, 2020) (“                Report” or “Report”). As detailed below, the CAM Team found
     the                   Report deficient in numerous respects, including that it appears narrowly
     scoped, internally inconsistent, and to contain unsupported assertions.

     Narrow Scope of Review

     First, the Report’s conclusions appear to be based on a narrow scope of review, focused primarily
     on interviews with management or executive-level personnel and limited documents. This limited
     review seems inadequate to address the allegations in the hotline complaints, and insufficient to
     support the Report’s broad conclusions.

     Concerningly, the Report does not directly or meaningfully address serious questions about the
     structure of the IAG, which were raised by the          hotline complaints. Instead, it reads as a
     recitation of the views             in part by casting aspersions on the Incident Analysis Group
     (“IAG”) investigators, without fully supporting these conclusions with evidence gathered during
     the investigation. For example:

              Both       hotline complaints allege                                             . The
                             Report does not investigate this allegation in any meaningful way.
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           Open Report #41-2020 states that: “Investigations are not independent
                                                                                   In response, the
            Report concludes that no IAG reports were “improperly changed.” Report at 3. However,
            whether an IAG report was “improperly changed” does not address the structural question
            as to whether the IAG is operating independently.

           In addition, we note that the former head of IAG was selected, in part, by      . Based
            on the Report, the investigation by                does not appear to have meaningfully
            analyzed the IAG supervisory structure,



     Internal Inconsistencies

     Second, the                     Report is internally inconsistent. It is unclear whether the Report’s
     inconsistencies are attributable to                    or to revisions by subsequent reviewers. For
     example, the Report states: “Noteworthy is that only one of the individuals interviewed (
              ) asserted that IAG is entirely independent.” Id. at 4 (emphasis added). Yet, the Report also
     asserts that the interviews “confirmed that no one outside of the IAG has had a role shaping or
     influencing the contents of any reports.” Id. at 3. How can the latter statement be true if only one
     interviewee asserted that IAG is fully independent?

     Unsupported Assertions

     Third, the Report makes unsupported assertions. For example, the Report states that: “Some of the
     perceived loss of independence is a direct result of some investigations not being the quality and
     caliber expected of IAG, thus necessitating oversight and input from individuals outside of IAG,
                               .” Id. at 6 (emphasis added). The Report does not explain or support the
     basis for this conclusion. Even if the first conclusion was true (i.e., assuming that investigations
     are not “the quality and caliber expected of IAG”), it does not support the second conclusion that
     “oversight and input” is necessary from                    other individuals outside the Ethics &
     Compliance Department structure that includes IAG. The Report does not directly address or
     acknowledge that IAG leadership, including the IAG head or the Chief Ethics & Compliance
     Officer (to whom the IAG head continues to report), is, or should be, primarily responsible for
     oversight and input into the quality and caliber of investigations.

     As noted above, the Report also makes opinion-based statements about the competency of IAG
     investigators that do not appear to be the result of a rigorous or comprehensive analysis of IAG’s
     work product. Even if IAG work product could be improved, the Report’s repeated focus on IAG
     investigator competency evades the question of
     Instead of investigating this structural concern, the Report makes a personalized finding regarding
     IAG investigators, stating that: “Frankly, IAG needs to earn               respect and gain     full
     confidence.” Id. at 8. Such statements do not further the goals of an independent investigations
     function and only serve to undercut investigators’ efforts.
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     New IAG Head

     As you know, the Company’s investigations function has been an area of concern since before the
     end of the first year of the ECP.1 The Company recently selected                  as the newest
     person to head IAG. The CAM Team is looking forward to seeing                    plans for IAG,
     including how he plans to support and improve the function’s efficacy and independence.

                       job title, however, is the SVP, Deputy Chief Ethics and Compliance Officer, and
     he does not hold a formal title as the head of IAG.2                        official role also includes
     responsibility for assisting the Chief Ethics and Compliance Officer in the implementation of the
     overall E&C Program and direct oversight for the compliance risk function. It remains to be seen
     whether                      other responsibilities will impact his ability to fully focus on and lead
     IAG’s operations, and to promote IAG’s independence.

     Moreover,                   assumed his new position on September 25, 2020―the day after the
                      Report was officially issued. Based on that timeframe, it appears that
                did not have a meaningful opportunity, before stepping into his new role as head of
     IAG, to consider the Report’s conclusions, including its judgements about the IAG investigators
     and the appropriate role of          in the investigation process. The CAM Team welcomes
                 feedback regarding the Report and its conclusions.

     CAM Information and Document Requests

     To better understand the scope of the                         review, the CAM Team makes the following
     information and document requests:

            How many individuals were interviewed?

                  o IAG investigators?

                  o Investigators at operating lines?

                  o Management- or executive-level personnel?




     1
       See CAM First Annual Report at 5, 33-40; CAM Second Annual Report at 43-46; CAM Third Annual Report at
     180-201.
     2
       The CAM Team has reviewed his job description, which lists his title as SVP, Deputy Chief Ethics and
     Compliance Officer. While the job description states that he has “full authority to carry out independent
     investigations throughout the corporation that involve the maritime Health, Environmental, Safety and Security
     areas,” as well as authority and responsibility for “overseeing the planning and progress of independent HESS
     investigations that are conducted or overseen by the Incident Analysis Group,” it does not appear to officially
     designate him as the head of IAG.
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           Did the law firm review any investigation reports other than                ? For instance,
            were all IAG reports involving the Worldwide Cruising Environmental Standards Matrix
            reviewed to determine whether the persistence of discharge incidents across brands, despite
            training, suggests that the Matrix is flawed?

           What other evidence was reviewed?

           Did individuals outside of                 edit or revise the Report?

     Finally, the CAM Team requests the following records:

           All emails related to the          investigation, including:




           All preliminary IAG reports since April 2019.

     Conclusion

     The CAM Team continues to have concerns and questions regarding the Company’s willingness
     to build and support an investigations function that can independently conduct investigations,
     provide recommendations for corrective and preventive actions, and effectively inform the
     Company’s continuous improvement process.

     Over the past few weeks, before the                Report was released, the CAM Team engaged
     in extensive conversations with members of the investigation teams at both the operating lines and
     IAG. These professionals demonstrated a great deal of engagement with, and enthusiasm for, their
     work.

     Importantly, however, the Company does not appear committed to adequately supporting the
     independence of the investigations conducted by these teams. The Company’s approach to the
           hotline complaints, evidenced in the                    Report, leaves unaddressed the
     concerns raised in the       hotline complaints. This implicates the CAM Team’s continuing
     concern that the Company is not taking the steps needed to protect the independence and
     completeness of internal investigations, which are so necessary to promote continuous
     improvement.

     We look forward to hearing back in response to the concerns and requests raised above. Please let
     me know if you have any questions or would like to discuss further.
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     November 11, 2020

     Via Email




     Re:      CAM/Company Communication Recap (October 1, 2020, RAAS Dashboards
              Walkthrough)



     This letter provides a recap of the virtual meeting held on October 1, 2020, in which the Company
     provided a demonstration and overview to CAM and TPA team members of RAAS’ efforts (led
     by                ) to analyze and trend certain HESS metrics—including RAAS HESS audit
     findings, planned maintenance status, and crew experience and training—and develop dashboards
     to assist RAAS auditors in focusing their vessel audits on key issues. Over the course of the
     Monitorship, we have noted the importance of developing strategies to collect, analyze, and use
     data to support the Company’s environmental compliance efforts, and we appreciate the efforts
     that RAAS has undertaken to use existing technology to leverage the deep bench of data the
     Company generates and maintains.1

     As we understand it, RAAS is currently developing three principal interactive dashboards: RAAS
     HESS Audit Findings Dashboard; Planned Maintenance Dashboard; and Crew Experience &
     Training Dashboard.

          RAAS HESS Audit Findings Dashboard: RAAS has developed a dashboard that tracks all
           RAAS HESS audit findings fleetwide, which builds upon the basic statistics that RAAS
           previously managed manually. This dashboard provides greater insight into the different HESS
           procedure groupings (e.g., ENV, TRG, EMR); audit finding trends year-over-year within each



     1
       The CAM has previously reported that the Company’s non-centralized and differing technological resources has
     hindered its ability to collect and analyze environmental compliance data across the Company. See CAM Third Annual
     Report at 127-28; see also CAM Second Annual Report at 36-39, 82-83, 110; CAM September 2019 Quarterly Report
     at 82-85; CAM December 2019 Quarterly Report at 75-76; CAM March 2020 Quarterly Report at 120-25.
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         brand and across brands; and audit finding trends related to every HESS procedure audited
         (e.g., year-over-year or repeat findings relating to ENV-1204: Environmental Control
         Systems). As a result, comparisons are limited to those within the same HESS procedure group
         or category. Within the dashboard itself, RAAS is capable of reviewing severity of findings or
         even improvements related to the finding over time. The intended benefits of these enhanced
         reports are: (1) quick identification of problematic procedures before RAAS auditors arrive
         onboard a vessel; and (2) identification of potential root causes that may be contributing to
         HESS RAAS audit findings.

        Planned Maintenance Dashboard: RAAS has also developed a dashboard that tracks and
         highlights planned maintenance items, which can be group and analyzed in several ways
         including by vessel, by department or area, or by length of delay. This dashboard interfaces
         directly with the brands’ and/or operating lines’ planned maintenance systems (i.e.,
         or        ), so the updates are real-time and capture planned maintenance jobs that were either
         postponed or suspended. The goal of this dashboard is to provide RAAS auditors with a
         focused approach while onboard and assist with the identification of risk areas or potential
         causes for non-compliance. In addition, the dashboard has a built-in Gantt chart that visually
         displays planned maintenance items, along with any delay cycles.

         We understand that RAAS is unable to compare trends across certain brands and/or operating
         lines at this time because there is no globalization of parts and maintenance fleetwide yet. To
         date, we understand the globalization process has been completed with respect to ECP critical
         spare parts only. Further, we understand that the globalization process is still underway as part
         of the Company’s ongoing MAST efforts, but other portions of this project have been stayed
         during the pause in operations resulting in an estimated delay in full implementation of MAST
         until the Q4 of 2024. Thus, the Company will not be able to fully analyze data across its entire
         fleet using this dashboard until the MAST globalization process is complete. Had more rapid
         progress been made on this effort, it appears that it would have been helpful in managing the
         accumulation of planned maintenance items as the a result of the pause in passenger-carrying
         activity.

        Crew Experience & Training Dashboard: Finally, we understand that RAAS is developing
         a dashboard that tracks crew experience and competencies. In particular, the dashboard
         highlights a vessel’s manning complement and identifies the relevant department, functional
         position, class of vessel, crew experience, and crew training. This information is pulled directly
         from the brands’ and/or operating lines’ relevant HR systems (e.g.,           ). The goal of this
         dashboard is to overlay the manning complements with RAAS HESS audit findings to identify
         potential root causes or correlations related to crew experience or competencies. We
         understand that RAAS is looking to include more details about crew experiences over time,
         including length of time at a brand; length of time on a given vessel class; and length of time
         in a particular position. Currently, the dashboard is only able to compare positions within a
         single brand due to inconsistent HR-related nomenclatures across the brands.
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     We understand that RAAS is expecting to finalize these dashboards over the next few months with
     an expectation to deploying them for use with RAAS auditors in Q1 2021. In addition, we
     understand that RAAS is planning to leverage additional analytical technology to assess free-form
     text associated with responses to RAAS HESS audit findings, such as root causes and corrective
     or preventative action plans. The CAM looks forward receiving updates on additional efforts to
     expand and improve RAAS’ dashboards and its overall analytical capabilities.

     We remained concerned, however, that there are several disparate efforts underway across the
     Company to collect, analyze, and report on various HESS metrics that could benefit from enhanced
     cooperation. In light of this concern, and in an effort to better understand the Company’s efforts
     to leverage RAAS’ great work, we would appreciate responses to the following questions:

               How and to what extent does RAAS share its analysis efforts throughout the Company,
                including within Maritime Operations? Are there any future plans to expand the sharing
                of these analyses?

               RAAS’ dashboards appear to pull information from many of the same databases that we
                understand are manually accessed to develop                    Maritime Operations
                Monthly Dashboard. Has there been any collaboration efforts between Maritime
                Operations at ABG or at the operating line level and RAAS to streamline or automate
                analysis of the same type of data?

               Is RAAS planning to incorporate other metrics into the dashboards, including TPA (during
                the remainder of probation) or other third-party audit findings, SeaEvent incidents, or IAG
                investigation findings and/or action items?

               How does the Company envision using these analytical efforts to identify “best practice”
                that will more “consistently and reliably prevent”2 HESS audit findings and incidents in
                the future, such as identifying trends to prevent predicted occurrences of non-compliance?
                What types of trend analysis of data across brands would help achieve this goal?

               What technologies or other advanced analytics is RAAS considering to better analyze
                metrics within these current and future dashboards, such as data virtualization to harmonize
                otherwise non-validated data elements? For example, we currently understand that RAAS
                is utilizing        to develop the dashboards and envisions using               to deploy the
                dashboards for use.

     As noted above, and as we have previously discussed, the Company’s ability to transform its data
     into actionable information to predict and prevent potential future non-compliance is critical to
     achieving and maintaining compliance, and consistent with the overriding purpose of the
     Environmental Compliance Plan. We commend RAAS for their initiative and look forward to



     2
         See, ECP § I.C. & D (“ Purpose” and “Definitions,” “Best Practices”) (June 3, 2019)
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     engaging in further discussions with the Company about the further development and
     implementation of this effort.

     Regards,




     Steven P. Solow
